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                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                        §
In re:                                                  §      Chapter 11
                                                        §
AMERIFORGE GROUP INC., et al.,1                         §      Case No. 17-32660 (DRJ)
                                                        §
                         Reorganized Debtors.           §      (Jointly Administered)
                                                        §

     NOTICE OF FILING THE FINAL FEE APPLICATION OF ALVAREZ & MARSAL NORTH
    AMERICA, LLC AS RESTRUCTURING ADVISOR FOR THE DEBTORS FOR ALLOWANCE
             OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                    THE PERIOD MAY 1, 2017 THROUGH JUNE 8, 2017

         PLEASE TAKE NOTICE that attached hereto is the Final Fee Application of Alvarez & Marsal

North America, LLC as Restructuring Advisor for the Debtors for Allowance of Compensation and

Reimbursement of Expenses for the Period May 1, 2017 through June 8, 2017.

         Respectfully submitted this 20th day of July, 2017.

                                                            JACKSON WALKER L.L.P.

                                                            By: /s/ Patricia B. Tomasco
                                                                    Patricia B. Tomasco
                                                                    State Bar No. 01797600
                                                                    1401 McKinney Street, Suite 1900
                                                                    Houston, Texas 77010
                                                                    Telephone: 713-752-4200
                                                                    Facsimile: 512-236-2002
                                                                    Email: ptomasco@jw.com

                                                            Co-Counsel to the Debtors




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Ameriforge Group Inc. (7053); 230 Bodwell Corporation (3965); Advanced Joining
Technologies, Inc. (6451); AF Gloenco Inc. (9958); AFG Brazil Holdings LLC (8618); AFG Brazil LLC (8720);
AFG Louisiana Holdings Inc (4743); Allpoints Oilfield Services LLC (8333); Ameriforge Corporation (1649);
Ameriforge Cuming Insulation LLC (0264); Century Corrosion Technologies LLC (8548); Cuming Corporation
(9782); Dynafab Acquisitions Corp. (1331); Flotation Technologies LLC (4572); FR AFG Holdings, Inc. (2623);
NRG Manufacturing Louisiana LLC (5823); NRG Manufacturing Inc (7544); Steel Industries Inc. (5154); Steel
Industries Real Estate Holding LLC (1298); and Taper-Lok Corporation (8833). The Debtors’ service address is:
945 Bunker Hill Road, Suite 500, Houston, Texas 77024.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    §
In re:                                                              §       Chapter 11
                                                                    §
AMERIFORGE GROUP, INC., et al.,1                                    §       Case No. 17-32660 (DRJ)
                                                                    §
                            Reorganized Debtors.                    §       (Jointly Administered)
                                                                    §

FEE APPLICATION COVER SHEET FOR FINAL FEE APPLICATION OF ALVAREZ
 & MARSAL NORTH AMERICA, LLC AS RESTRUCTURING ADVISOR FOR THE
 DEBTORS FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
      EXPENSES FOR THE PERIOD MAY 1, 2017 THROUGH JUNE 8, 2017


Application of: Final Application of Alvarez & Marsal North America, LLC (“A&M”),
restructuring advisor to Ameriforge Group, Inc., et al., (“Ameriforge”) and its affiliated debtors
and debtors-in-possession (collectively, the “Debtors”).

    Name of Applicant:                                             Alvarez & Marsal North America, LLC
    Applicant’s Role in Case:                                      Restructuring Advisor for the Debtors
    Date Order of Employment Signed:                               June 9, 2017, nunc pro tunc to
                                                                   May 1, 2017 [Docket No. 169]
                                                                   Beginning
                                                                   of Period                   End of Period
    Time period covered by this Application:                            May 1,                  June 8, 2017
                                                                        2017
    Time period(s) covered by prior Applications:                        N/A                         N/A
    Total amounts awarded in all prior Applications:                                                                   N/A
    Total fees requested in this Application:                                                                $563,187.50
    Total professional fees requested in this Application:                                                   $563,187.50
    Total actual professional hours covered by this Application:                                                   1,025.0

1
           The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number, are: Ameriforge Group Inc. (7053); 230 Bodwell Corporation (3965); Advanced Joining Technologies,
Inc. (6451); AF Gloenco Inc. (9958); AFG Brazil Holdings LLC (8618); AFG Brazil LLC (8720); AFG Louisiana Holdings Inc
(4743); Allpoints Oilfield Services LLC (8333); Ameriforge Corporation (1649); Ameriforge Cuming Insulation LLC (0264);
Century Corrosion Technologies LLC (8548); Cuming Corporation (9782); Dynafab Acquisitions Corp. (1331); Flotation
Technologies LLC (4572); FR AFG Holdings, Inc. (2623); NRG Manufacturing Louisiana LLC (5823); NRG Manufacturing Inc
(7544); Steel Industries Inc. (5154); Steel Industries Real Estate Holding LLC (1298); and Taper-Lok Corporation (8833). The
Reorganized Debtors’ service address is: 945 Bunker Hill Road, Suite 500, Houston, Texas 77024.
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    Name of Applicant:                                        Alvarez & Marsal North America, LLC
    Average hourly rate for professionals:                                                                $549.45
    Total paraprofessional fees requested in this Application:                                                N/A
    Reimbursable expenses sought in this application:                                                  $38,374.73
    Retainer balance:                                                                                  $42,726.74
    Total to be paid to priority unsecured creditors under the Plan:         Article III of the Joint
                                                                             Prepackaged Chapter 11 Plan of
                                                                             Reorganization for Ameriforge
                                                                             Group Inc. and its Debtor
                                                                             Affiliates, dated May 1, 2017
                                                                             [Docket No. 18] (the “Plan”)2 sets
                                                                             forth the proposed treatment for
                                                                             priority unsecured claims.
    Percentage dividend to priority unsecured creditors:                     Article III of the Plan sets forth
                                                                             the proposed treatment for
                                                                             unsecured claims.
    Total to be paid to unsecured creditors under the Plan:                  Article III of the Plan sets forth
                                                                             the proposed treatment for
                                                                             unsecured claims.
    Anticipated % dividend to unsecured creditors:                           Article III of the Plan sets forth
                                                                             the proposed treatment for
                                                                             unsecured claims.
    Date of confirmation hearing:                                            May 19, 2017
    Indicate whether plan has been confirmed:                                Yes [Docket No. 142]




2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan.

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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                        §
In re:                                                                  §      Chapter 11
                                                                        §
AMERIFORGE GROUP, INC., et al.,1                                        §      Case No. 17-32260 (DRJ)
                                                                        §
                              Reorganized Debtors.                      §      (Jointly Administered)
                                                                        §

              FINAL FEE APPLICATION OF ALVAREZ & MARSAL
        NORTH AMERICA, LLC AS RESTRUCTURING ADVISOR FOR THE
    DEBTORS FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
        EXPENSES FOR THE PERIOD MAY 1, 2017 THROUGH JUNE 8, 2017


          THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
          OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
          PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
          AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
          PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
          DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
          MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
          RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
          YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
          YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
          THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
          THE MOTION AT THE HEARING.

          REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY

TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

          COMES NOW Alvarez & Marsal North America, LLC, together with employees of its

affiliates (all of which are wholly-owned by its parent company and employees), its wholly

owned subsidiaries, and independent contractors (collectively, “A&M”), restructuring advisor to

1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number, are: Ameriforge Group Inc. (7053); 230 Bodwell Corporation (3965); Advanced Joining Technologies, Inc.
     (6451); AF Gloenco Inc. (9958); AFG Brazil Holdings LLC (8618); AFG Brazil LLC (8720); AFG Louisiana Holdings Inc
     (4743); Allpoints Oilfield Services LLC (8333); Ameriforge Corporation (1649); Ameriforge Cuming Insulation LLC
     (0264); Century Corrosion Technologies LLC (8548); Cuming Corporation (9782); Dynafab Acquisitions Corp. (1331);
     Flotation Technologies LLC (4572); FR AFG Holdings, Inc. (2623); NRG Manufacturing Louisiana LLC (5823); NRG
     Manufacturing Inc (7544); Steel Industries Inc. (5154); Steel Industries Real Estate Holding LLC (1298); and Taper-Lok
     Corporation (8833). The Reorganized Debtors’ service address is: 945 Bunker Hill Road, Suite 500, Houston, Texas
     77024.
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Ameriforge Group, Inc., et al.,      (“Ameriforge”) and its affiliated debtors and debtors-in-

possession (the “Debtors”) and files this Final Application for Allowance of Compensation and

Reimbursement of Expenses for the Period May 1, 2017, Through June 8, 2017 (the “Fee

Application”). In support of the Fee Application, A&M respectfully states:

                                      I. INTRODUCTION

          1.   Pursuant to sections 330 and 331 of Title 11 of the United States Code, 11 U.S.C.

§§101 et al. (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Bankruptcy Local Rules of the

United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local

Rules”), A&M seeks final approval for payment and allowance of its fees for professional

services rendered and reimbursement of expenses incurred for the time period from May 1, 2017

through June 8, 2017 (the “Application Period”). The Final Compensation and Reimbursements

includes $563,187.50 for fees and $38,374.73 for expenses incurred during the Application

Period.

          2.   The following Exhibits are attached in support of this Fee Application, and are

fully incorporated herein for all purposes:

                Exhibit         Description

                A               Billing Summary Per Professional

                B               Summary of Time Detail by Task

                C               Summary of Expenses

                D               Time Detail by Professional

                E               Expense Detail by Professional




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                            II. JURISDICTION AND VENUE

         3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and

157. This Fee Application involves a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                    III. BACKGROUND

         4.    On April 30, 2017 (the “Petition Date”), each of the Reorganized Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. On May 1, 2017, the

Court entered an order [Docket No. 37] authorizing the joint administration and procedural

consolidation of the Reorganized Debtors’ chapter 11 cases pursuant to Bankruptcy Rule

1015(b). No entity has requested the appointment of a trustee or examiner in these chapter 11

cases.

         5.    A description of the Reorganized Debtors’ businesses, the reasons for

commencing the chapter 11 cases, and the relief sought from the Court to allow for a smooth

transition into chapter 11 are set forth in the Declaration of Curtis S. Samford in Support of

Chapter 11 Petitions and First Day Motions, filed on May 1, 2017 [Docket No. 21] and

incorporated herein by reference.

         6.    Because of the prepackaged nature of these chapter 11 cases, the Reorganized

Debtors did not seek entry of an interim compensation order. Thus, A&M seeks approval in this

Fee Application of all fees and expenses incurred during the Fee Period on a final basis.

         7.    A description of the Debtors’ businesses, the reasons for commencing the chapter

11 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are

set forth in the the Declaration of Curtis S. Samford, President and Chief Executive Officer of

Ameriforge Group, Inc. in Support of Chapter 11 Petitions and First Day Motions [Docket No.

21] and incorporated herein by reference.

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                   IV. RETENTION OF A&M AND BILLING HISTORY

       8.      On May 25, 2017, the Debtors filed the Debtors’ Application for Entry of an

Order Authorizing the Retention and Employment of Alvarez & Marsal North America, LLC as

Restructuring Advisor for the Debtors Nunc Pro Tunc to the Petition Date (the “Employment

Application”) [Docket No. 149].

       9.      The Employment Application and Declaration of James M. Grady (the “Grady

Declaration”) specified the terms of A&M’s retention, including billing rates and expense

reimbursement policies, and the experience and qualifications of A&M’s professionals.

       10.     On June 9, 2017, the Court entered the Order Authorizing the Retention and

Employment of Alvarez & Marsal North America, LLC as Restructuring Advisor for the Debtors

Nunc Pro Tunc to the Petition Date [Docket No. 169].

       11.     A summary of the total fees incurred, including hourly rate and total hours

expended during the Application Period per professional, is attached hereto as Exhibit A, and is

fully incorporated herein for all purposes.

              V. SUMMARY OF PROFESSIONAL SERVICES RENDERED

       12.     In conjunction with its engagement as restructuring advisor for the Debtors and in

accordance with its internal billing procedures, A&M established the following categories

relating to the various subject matter categories of work performed (the “Categories”) by A&M’s

professionals in connection with these Bankruptcy Cases:




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               CODE                                   DESCRIPTION
           Category 1        Bankruptcy Support
           Category 2        Business Plan
           Category 3        Cash Management
           Category 4        Coordination & Communication with Creditor Constituents
           Category 5        Court
           Category 6        Fee Applications
           Category 7        Fresh Start Accounting
           Category 8        Initial and Monthly Operating Report and UST Report
           Category 9        Meetings
           Category 10       POR/Disclosure Statement
           Category 11       Post-Petition Financing
           Category 12       Travel Time
           Category 13       Vendor Management

            13.    During the Application Period, and in conjunction with the various and complex

     issues involved in the administration of the Bankruptcy Cases, A&M expended time and

     rendered services to the Debtors for each of the Categories that were both necessary and

     beneficial to the Debtors and their estates, creditors, and other parties-in-interest.     A&M

     professionals performed work and billed time for each of the Categories as set forth below and as

     shown in the attached Exhibit B. In further support of the Fee Application, a more detailed and

     itemized description of the services provided by A&M for each of the Categories is set forth in

     Exhibit D.

A.      Bankruptcy Support (Category 1)

            14.    A&M’s services performed relating to this Category included, among other

     things, assisting the Debtors with matters concerning operating the business under Chapter 11

     including accounting cutoff, development and execution of work plans, review of court

     documents and general case management, reporting requirements, and support counsel and

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     others for Chapter 11 related items; Complete analysis and assist the Debtors on first and second

     day motions, interim and final orders; development and distribution of interim and closing Funds

     Flow summaries; assist the Debtors with reporting requirements related to DIP facility; other

     general administrative tasks related to any Ch. 11 proceeding specific to Debtor's enterprise.. In

     conjunction with Category 1, A&M expended approximately 216.5 hours during the Application

     Period, for a total of $124,737.50.

B.      Business Plan (Category 2)

            15.     A&M services performed relating to this Category included, among other things,

     advising and assisting the Debtors with the development and implementation of long-range

     business plan, metrics, measurements and other tools to monitor and quantify the financial

     impact of various initiatives, and analyze other risks and opportunities that may exist. In

     conjunction with Category 2, A&M expended approximately 58.5 hours during the Application

     Period, for a total of $34,725.00.

C.      Cash Management (Category 3)

            16.     A&M’s services performed relating to this Category included, among other

     things, preparation of information and analyses required pursuant to the Debtors' financing;

     Identification and implementation of short-term cash management procedures; preparation of

     financial information for distribution to creditors and others, including, but not limited to, cash

     flow projections and budgets (including 13week and DIP), cash receipts and disbursement

     analysis, and analysis of proposed transactions for which Court approval is sought. Preparation,

     attendance, and review related to payment review meetings with client. In conjunction with

     Category 3, A&M expended approximately 268.5 hours during the Application Period, for a total

     of $134,412.50.



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D.      Coordination & Communication with Creditor Constituents (Category 4)

            17.     A&M’s services performed relating to this Category included, among other

     things, work with various Creditor constituents, including 1st Lien and 2nd Lien representatives,

     to discuss and fulfill various data request and motion noticing requirements; attendance at

     meetings and assistance in discussions.      In conjunction with Category 4, A&M expended

     approximately 23.0 hours during the Application Period, for a total of $11,350.00.

E.      Court (Category 5)

            18.     A&M’s services performed relating to this Category included, preparing for and

     attending court hearings. In conjunction with Category 5, A&M expended approximately 27.0

     hours during the Application Period, for a total of $15,762.50.

F.      Fee Applications (Category 6)

            19.     A&M’s services performed relating to this Category included, among other

     preparing and reviewing documents related to retention and preparing fee application data in

     compliance with court guidelines.        In conjunction with Category 6, A&M expended

     approximately 2.5 hours during the Application Period, for a total of $2,087.50.

G.      Fresh Start Accounting (Category 7)

            20.     A&M’s services performed relating to this Category included, among other

     things, providing valuation services for fresh start accounting to establish an emergence balance

     sheet that is related to fair value.      In conjunction with Category 7, A&M expended

     approximately 125.5 hours during the Application Period, for a total of $54,437.50.

H.      Initial and Monthly Operating Report and UST Report (Category 8)

            21.     A&M’s services performed relating to this Category included, among other

     things, assisting the Debtors with the preparation of the Initial Debtor Interview requirements,

     Monthly Operating Reports and any matters related for the US Trustee.        In conjunction with

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     Category 8, A&M expended approximately 25.0 hours during the Application Period, for a total

     of $14,050.00.

I.      Meetings (Category 9)

            22.       A&M’s services performed relating to this Category included, among other

     things, participating in meetings with Debtors' management, Board of Directors and/or advisors

     to present findings or discuss various matters related to the filing, reporting and/ or operating the

     business; excludes meetings with UCC and/or other Creditor constituents and their advisors. In

     conjunction with Category 9, A&M expended approximately 43.5 hours during the Application

     Period, for a total of $27,600.00.

J.      POR/Disclosure Statement (Category 10)

            23.       A&M’s services performed relating to this Category included, among other

     things, completing analysis and assisting the Debtors with the Plan of Reorganization and

     Disclosure Statement; assist the Debtors with preparation of the liquidation analysis.            In

     conjunction with Category 10, A&M expended approximately 9.5 hours during the Application

     Period, for a total of $7,175.00.

K.      Post-Petition Financing (Category 11)

            24.       A&M’s services performed relating to this Category included, among other

     things, assisting the Debtors with the development and securing of post-petition financing

     related to both Asset Based Loan ("ABL") and First Lien/Exit Term Loan facilities; participate in

     various meetings and calls to discuss and negotiate credit agreements; assess financial impact of

     various financial covenants; assist the Debtors with diligence requests from lenders and

     representatives, including borrowing base calculations and syndication materials; research,

     formulate, and populate all credit agreement and conditions precedent supporting schedules. In



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     conjunction with Category 11, A&M expended approximately 125.0 hours during the

     Application Period, for a total of $80,425.00.

L.      Travel Time (Category 12)

            25.     A&M’s services performed relating to this Category includes non-working travel

     time reflected at one-half time incurred. In conjunction with Category 12, A&M expended

     approximately 38.0 hours during the Application Period, for a total of $20,262.50.

M.      Vendor Management (Category 13)

            26.     A&M’s services performed relating to this Category included, among other

     things, assisting the Debtor's with post-petition vendor management including analyzing

     financial impact of supplier agreements, tracking supplier contraction and pre-petition payment

     activity, and attend supplier meetings to review and discuss supplier financial status. In

     conjunction with Category 13, A&M expended approximately 62.5 hours during the Application

     Period, for a total of $36,162.50.

              VI. BASIS FOR ALLOWANCE OF COMPENSATION AND EXPENSES

            27.     Section 331 of the Bankruptcy Code provides for interim compensation of

     professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code

     to govern the Court’s award of such compensation.          Section 330 of the Bankruptcy Code

     provides that a court may award a professional employed under section 327 of the Bankruptcy

     Code “reasonable compensation for actual necessary services rendered . . . and reimbursement

     for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria

     for the award of such compensation and reimbursement:

                    In determining the amount of reasonable compensation to be awarded, the
                    court should consider the nature, extent, and the value of such services,
                    taking into account all relevant factors, including—

                            1.      the time spent on such services;

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                        2.      the rates charged for such services;
                        3.      whether the services were necessary to the
                                administration of, or beneficial at the time at which
                                the service was rendered toward the completion of,
                                a case under this title;
                        4.      whether the services were performed within a
                                reasonable amount of time commensurate with the
                                complexity, importance, and nature of the problem,
                                issue, or task addressed; and
                        5.      whether the compensation is reasonable based on
                                the customary compensation charged by
                                comparably skilled practitioners in cases other than
                                cases under this title.
       11 U.S.C. § 330(a)(3).

       28.       In light of the above factors listed in §330, A&M submits that the fees and

expenses incurred for the Application Period were reasonable and necessary, and should be

allowed in their entirety.

       29.       A&M billed a total of 1,025.0 hours through June 8, 2017 in conjunction with

their engagement as the Debtors’ restructuring financial advisor. A summary of the hours

worked and total fees incurred during the Application Period for each Category is attached hereto

as Exhibit B, and a summary of the tasks performed in conjunction with each Category is set

forth in section “V.” above.      A more detailed itemization of the daily tasks performed is

submitted as Exhibit D to this Fee Application.

       30.       A&M additionally submits that the time it spent in conjunction with the matters

and issues addressed in each Category are commensurate with the importance, novelty and

difficulty of the issues and questions addressed.     The size of the Debtors’ businesses and the

large number of creditors and parties-in-interest in the Bankruptcy Cases contributed to the

complexity of the legal matters involved and the time and efforts required from A&M

professionals.


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       31.     Due to the size and complexity of the Bankruptcy Cases, the services performed

by A&M professionals on behalf of the Debtors during the Application Period have required the

services of skilled professionals with expertise and specialized background in complex chapter

11 bankruptcy cases.     Wherever possible, A&M utilized professionals at various levels of

seniority and experience as appropriate in relation to the complexity and requirements of the task

performed. At all times, A&M’s professionals rendered their services economically and without

unnecessary duplication of efforts.

       32.     A&M charged the Debtors at or below its customary fees for financial advisory

services provided to the Debtors in connection with these Bankruptcy Cases and as disclosed in

the Employment Application. A summary of the number of hours expended and fees incurred

per professional are attached hereto as Exhibit A.

       33.     The Bankruptcy Cases have presented many time-critical challenges and

deadlines, including, among others, preparation and prosecution of numerous “first day”

motions, preparation of Monthly Operating Reports, assisting the Debtors’ in the development of

their long term projections and cash forecasting, negotiating and preparing documents and other

pleadings and filings relating to matters that were critical to the Debtors’ Bankruptcy Cases.

       34.     A&M submits that the amount of compensation and reimbursement requested in

this Fee Application is consistent with the results obtained in the Bankruptcy Cases. A&M

assisted the Debtors in taking necessary actions to maintain the Debtors’ business operations

with as little interruption as possible, while working towards a prompt and successful

reorganization and emergence from bankruptcy, which the Debtors achieved on June 8, 2017.

       35.     A&M’s professionals are well qualified for the work performed on behalf of the

Debtors, and specialize in the areas of bankruptcy, finance, accounting, and other matters related



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to complex chapter 11 reorganizations. Accordingly, A&M has performed the services requested

by the Debtors skillfully and efficiently, to the collective benefit of the Debtors, creditors, and all

parties-in-interest in these Bankruptcy Cases.         In conjunction with its engagement in the

Bankruptcy Cases, and as indicated on Exhibit A, A&M has utilized the services of various

professionals with a range of experience to employ the proper level of experience – and billing

rate – for the specific work performed.

       36.     A&M was engaged by the Debtors prior to the Petition Date to provide financial

advisory services on various matters, including corporate and finance matters, pursuing strategic

alternatives, and matters involving financial restructuring and insolvency issues, and has utilized

its familiarity with the Debtors’ businesses to further provide services in a most efficient and

effective fashion.

       37.     A&M believes that the amount requested pursuant to this Fee Application is

consistent with fees charged by similarly skilled professionals for comparable services in other

complex chapter 11 bankruptcy cases. In addition, as set forth above, A&M submits that the

rates charged to the Debtors are at or below A&M’s customary and usual rates charged, and are

within the range of rates customarily charged by other firms with comparable expertise, skills

and reputation.

       38.     A&M incurred a total of $38,374.73 in expenses on behalf of the Debtors in

conjunction with financial advisory services during the Application Period. A summary of

expenses incurred by category is set forth in Exhibit C. A detailed itemization of the expenses

incurred is set forth in Exhibit E.

       39.     In conjunction with the reimbursement of expenses, and in accordance with

A&M’s policy for non-bankruptcy clients, A&M charged the actual cost of expenses paid,



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without any enhancement or other administrative charge. Accordingly, A&M submits that the

expenses it incurred were actual expenses and were necessarily incurred in conjunction with

A&M’s rendition of professional services to the Debtors in these Bankruptcy Cases.




       [Remainder of page intentionally left blank]




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       WHEREFORE, PREMISES CONSIDERED, A&M respectfully requests that the Court

enter an order: (a) approving A&M’s fees in the amount of $563,187.50; (b) allowing A&M’s

actual and necessary expenses in the amount of $38,374.73; (c) allowing A&M to apply the

unused retainer; and granting such other and further relief to which A&M may be entitled, both

at law and in equity.

Dated: July 20, 2017



Respectfully submitted,



                                           ALVAREZ & MARSAL NORTH AMERICA
                                           LLC

                                            By:


                                            Name:    James M. Grady
                                            Title:   Managing Director

                                           RESTRUCTURING ADVISOR TO THE
                                           DEBTORS




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                             CERTIFICATE OF COMPLIANCE

        I, the professional designated as the “Certifying Professional” with respect to this Fee
Application, hereby certify that (1) I have read the foregoing Fee Application, (2) to the best of
my knowledge, information and belief, formed after reasonable inquiry, the compensation and
reimbursement sought is in conformity with the Guidelines for Compensation and Expense
Reimbursement of Professionals provided in this District’s General Order in the Matter of
Procedures for Complex Chapter 11 Cases, and (3) the compensation and expense
reimbursement requested are billed at rates in accordance with practices no less favorable than
those customarily employed by Alvarez & Marsal North America, LLC and generally accepted
by clients of Alvarez & Marsal North America, LLC for similar services.




                                              Name:    James M. Grady
                                              Title:   Managing Director


                                             ALVAREZ & MARSAL NORTH AMERICA
                                             LLC
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                                    EXHIBIT A
                    SUMMARY OF TOTAL FEES BY PROFESSIONAL
                  FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                          May 1, 2017 through June 8, 2017
                                                           Total
Name of Professional           Position           Rate               Total Fees
                                                           Hours
Jeff Stegenga            Managing Director        $975         6.0        $5,850.00
Jim Grady                Managing Director        $800        97.5       $78,000.00
Brian Leahy              Senior Director          $725         5.0        $3,625.00
James Herr               Senior Director          $725        13.5        $9,787.50
Erin McKeighan           Director                 $650        40.0       $26,000.00
Taylor Atwood            Director                 $650       156.0      $101,400.00
Eloy Esobedo             Manager                  $375        49.0       $18,375.00
Sean Farrell             Senior Associate         $575       157.5       $90,562.50
Landon Kenworthy         Senior Associate         $525       251.0      $131,775.00
Anne Elder               Senior Associate         $450        31.5       $14,175.00
Raj Chilakapati          Senior Associate         $450        14.5        $6,525.00
Andrew Youngstrom        Associate                $375        30.0       $11,250.00
Nick Tammerine           Consultant               $425        16.0        $6,800.00
Sarah Margaret Pittman   Analyst                  $375       157.5       $59,062.50
Total                                                      1,025.0      $563,187.50
                         Blended Rate $549.45
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                                                                EXHIBIT B
                                       SUMMARY OF TOTAL FEES BY TASK CATEGORY
                                       FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                                             MAY 1, 2017 THROUGH JUNE 8, 2017
                                                                                                                           Total      Total Fees
            Task Code                                                   Description                                        Hours      Requested
Bankruptcy Support                      Advise and assist the Debtors on matters concerning operating the business           216.5      124,737.50
                                        under Chapter 11 including accounting cutoff, development and execution of
                                        work plans, review of court documents and general case management,
                                        reporting requirements, and support counsel and others for Chapter 11 related
                                        items; Complete analysis and assist the Debtors on first and second day
                                        motions, interim and final orders; Development and distribution of interim
                                        and closing Funds Flow summaries; Assist the Debtors with reporting
                                        requirements related to DIP facility; other general administrative tasks related
                                        to any Ch. 11 proceeding specific to Debtor's enterprise.
Business Plan                           Advise and assist the Debtors with the development and implementation of              58.5       34,725.00
                                        long-range business plan, metrics, measurements and other tools to monitor
                                        and quantify the financial impact of various initiatives, and analyze other
                                        risks and opportunities that may exist.
Cash Management                         Preparation of information and analyses required pursuant to the Debtors'            268.5     $134,412.50
                                        financing; Identification and implementation of short-term cash management
                                        procedures; Preparation of financial information for distribution to creditors
                                        and others, including, but not limited to, cash flow projections and budgets
                                        (incl. 13wk and DIP), cash receipts and disbursement analysis, and analysis
                                        of proposed transactions for which Court approval is sought. Preparation,
                                        attendance, and review related to payment review meetings with client.
Coordination & Communication with       Work with various Creditor constituents, including 1st Lien and 2nd Lien              23.0      $11,350.00
Creditor Constituents                   representatives, to discuss and fulfill various data request and motion noticing
                                        requirements; Attendance at meetings and assistance in discussions
Court                                   Prepare for and attend the Debtors’ hearings.                                         27.0      $15,762.50
Fee Applications                        Preparation of monthly and interim fee applications in accordance with Court           2.5       $2,087.50
                                        guidelines; prepare documents in compliance with Court retention
                                        requirements.
Fresh Start Accounting                  Provide valuation services for fresh start accounting to establish an                125.5      $54,437.50
                                        emergence balance sheet that is restated to fair value
Initial and Monthly Operating Report    Assist the Debtors with the preparation of Initial Debtor Interview                   25.0      $14,050.00
and UST Report                          requirements, Monthly Operating Reports and any related matters for the US
                                        Trustee.
Meetings                                Participate in meetings with Debtors' management, Board of Directors and/or           43.5      $27,600.00
                                        advisors to present findings or discuss various matters related to the filing,
                                        reporting and/ or operating the business; excludes meetings with UCC and/or
                                        other Creditor constituents and their advisors.

POR/Disclosure Statement                Complete analysis and assist the Debtors with the Plan of Reorganization and            9.5      $7,175.00
                                        Disclosure Statement; assist the Debtors with preparation of the Liquidation
                                        Analysis.
Post-Petition Financing                 Assist the Debtors with the development and securing of post-petition                125.0      $80,425.00
                                        financing related to both Asset Based Loan ("ABL") and First Lien/Exit Term
                                        Loan facilities; participate in various meetings and calls to discuss and
                                        negotiate credit agreements; assess financial impact of various financial
                                        covenants; assist the Debtors with diligence requests from lenders and
                                        representatives, including borrowing base calculations and syndication
                                        materials; research, formulate, and populate all credit agreement and
                                        conditions precedent supporting schedules.
Travel Time                             Non-working travel time (reflects 50% of time incurred).                              38.0      $20,262.50
Vendor Management                       Assist the Debtor's with post-petition vendor management including analyzing          62.5      $36,162.50
                                        financial impact of supplier agreements, tracking supplier contraction and pre-
                                        petition payment activity, and attend supplier meetings to review and discuss
                                        supplier financial status.

Total                                                                                                                       1,025.0    $563,187.50
                                        Blended Rate $549.45
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                                  EXHIBIT C
                     SUMMARY OF EXPENSES BY CATEGORY
                 FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                           May 1, 2017 through June 8, 2017
                  Expense Category                          Amount
Airfare                                                               $12,295.24
Lodging                                                               $17,060.26
Meals                                                                  $3,436.44
Miscellaneous                                                           $804.79
Transportation                                                         $4,778.00
Total                                                                 $38,374.73
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                          EXHIBIT D

                  TIME DETAIL BY TASK
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                           Ameriforge Group Inc., et al.,                                    Exhibit D
                        Time Detail by Activity by Professional
                          May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional           Date     Hours     Activity
Erin McKeighan       5/1/2017     0.5     Teleconference with A. Li (BCBS) and M. Suchetski (AFG) re:
                                          bankruptcy filing and process for first day motion being approved
                                          with respect to employee medical.
Erin McKeighan       5/1/2017     1.0     Multiple teleconferences with S. Oguschewitz (ADP) re: first post
                                          petition payroll.
Erin McKeighan       5/1/2017     0.5     Prepare summary reports for HL team related to relief in first day
                                          motions.
Erin McKeighan       5/1/2017     0.5     Participate in all employee update call with management and
                                          A&M team.
Erin McKeighan       5/1/2017     0.5     Teleconference with R. Worthington (ADP) re: first post petition
                                          payroll.
Erin McKeighan       5/1/2017     0.5     Discussion with C. Hayes (K&E) re: professional fee applications.

Erin McKeighan       5/1/2017     0.5     Teleconference with S. Rodriguez (BPAS) and M. Suchetski
                                          (AFG) re: bankruptcy filing and process for first day motion being
                                          approved with respect to employee flexible spending accounts.
Erin McKeighan       5/1/2017     0.5     Teleconference with C. Hayes (K&E) re: ADP payroll funding.

Erin McKeighan       5/1/2017     0.5     Review creditor matrix supplement provided from N. Tammerine
                                          (A&M) and transmit to claims agent.
Erin McKeighan       5/1/2017     0.5     Discussion with T. Atwood (A&M) re: payroll funding.

Erin McKeighan       5/1/2017     0.5     Update first day motion summaries schedule for wage motion.

Erin McKeighan       5/1/2017     0.5     Work with M. Suchetski (AFG) to collect remaining equity holder
                                          addresses.
Jim Grady            5/1/2017     0.5     Correspondence and follow-up discussions with M. Frahm (AFG)
                                          re the filed First Day Motions, including providing copies of same.
Jim Grady            5/1/2017     2.5     Review and analysis of the Company's First Day Motions in
                                          preparation for the First Day Hearing scheduled for 5/2/2017.
Jim Grady            5/1/2017     0.5     Review of requirements for establishment of Interim DIP draw
                                          from Deutsche Bank.
Landon Kenworthy     5/1/2017     0.5     Communication with J. Zarbock (K&E) and related research, in
                                          response to request by D. Lazarov (DB) for updated Committed
                                          Loan Notice.
Landon Kenworthy     5/1/2017     0.5     Discussion with B. McConn (AFG) regarding Committed Loan
                                          Notice in preparation for interim DIP loan funding.
Nick Tammerine       5/1/2017     0.5     Review updated AP file received from client to determine whether
                                          new parties need to be added to creditor matrix.
Nick Tammerine       5/1/2017     0.5     Format updated AP file for updating creditor matrix and reach out
                                          to Company for new parties missing address information.
Sean Farrell         5/1/2017     0.5     Review of on the Managed Pressure Operations share certificates.

Sean Farrell         5/1/2017     1.0     Compile support for the trade motion and provide to K&E.


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                           Ameriforge Group Inc., et al.,                                     Exhibit D
                        Time Detail by Activity by Professional
                          May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional           Date     Hours     Activity
Sean Farrell         5/1/2017     1.0     Revise the First Day motion summaries based on activity from the
                                          prior week.
Sean Farrell         5/1/2017     0.5     Compile information on the intercompany notes for the cash
                                          management motion.
Taylor Atwood        5/1/2017     0.5     All hands discussion regarding ch.11 filing with K&E, AFG, and
                                          Lazard teams.
Taylor Atwood        5/1/2017     1.0     Meeting with T. Giles (AFG), B. McConn (AFG) to discuss daily
                                          planning for T+1 activities.
Taylor Atwood        5/1/2017     1.5     Call with P. Sorenson (Lazard) to discuss ch. 11 filing, first day
                                          hearings, t+1 issues.
Taylor Atwood        5/1/2017     1.0     Call with Deutsche Bank, B. McConn, K. Bailey (AFG) to discuss
                                          bank account cutoff procedures, ch. 11 status update.
Taylor Atwood        5/1/2017     0.5     Follow up discussion with B. McConn regarding Deutsche Bank
                                          cutoff issues.
Taylor Atwood        5/1/2017     0.5     Discussion with E. McKeighan (A&M) re: payroll funding.

Taylor Atwood        5/1/2017     0.5     Discussion with W. Guerrieri (K&E) re: UST responses to trade
                                          motion.
Erin McKeighan       5/2/2017     0.5     Create summary schedule of payments due in the interim period
                                          to temporary staff and independent contractors as requested by
                                          UST.
Erin McKeighan       5/2/2017     2.0     Review and reply to questions from the UST regarding relief
                                          sought in first day motions.
Erin McKeighan       5/2/2017     0.5     Discussion with T. Giles (AFG) re: severance payees.

Erin McKeighan       5/2/2017     0.5     Respond to questions from the UST re: ADP prefund.

Erin McKeighan       5/2/2017     0.5     Discussion with B. Karpuk (Epiq) re: signed motions.

Erin McKeighan       5/2/2017     0.5     Teleconference with R. Worthington, S. Oguschewitz (Both ADP)
                                          and C. Hayes (K&E) re: first post petition payroll.
Erin McKeighan       5/2/2017     0.5     Review creditor matrix supplement provided from N. Tammerine
                                          (A&M) and transmit to claims agent.
Jim Grady            5/2/2017     1.5     Review and analysis of latest draft of funds flow for the interim
                                          DIP draw, including comments to J. Roberts (K&E) re: same.
Landon Kenworthy     5/2/2017     0.5     Call with J. Georgeadis (Houlihan) and L. Herbert (Jones Day)
                                          regarding interim DIP funding and funds flow for DIP fees and
                                          certain professional fees being deducted out of gross interim
                                          proceeds.
Landon Kenworthy     5/2/2017     1.0     Review of calculations in funds flow schedule prepared by Jones
                                          Day to compare DIP fees with those forecast in the DIP Budget.
Landon Kenworthy     5/2/2017     0.5     Modifications to DIP Order Exhibit and delivery of the same in
                                          response to T. Atwood (A&M) request.




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                           Ameriforge Group Inc., et al.,                                      Exhibit D
                        Time Detail by Activity by Professional
                          May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional           Date     Hours     Activity
Landon Kenworthy     5/2/2017     0.5     Analysis of DIP credit agreement language regarding requirement
                                          to pay 1st lien advisor invoices prior to initial DIP funding.
Landon Kenworthy     5/2/2017     0.5     Research in DIP credit agreement regarding Conditions
                                          Precedent to interim DIP funding.
Nick Tammerine       5/2/2017     1.0     Format load file containing updated AP parties and load to
                                          creditor matrix. Review creditor matrix after loading file to internal
                                          case management system to ensure load completed successfully.
Sean Farrell         5/2/2017     2.0     Meetings and discussions with AFGlobal (C. Samford, T. Giles,
                                          M. Frahm), and K&E team (W. Guerrieri, C. Hayes) re various
                                          First Day Motions relative to Employee Wages, Trade and
Sean Farrell         5/2/2017     1.5     Refine analyses around the all trade motion to prepare for the
                                          First Day hearings.
Sean Farrell         5/2/2017     1.5     Prepare agenda for meeting with accounting team to discuss the
                                          accounting post-filing procedures.
Sean Farrell         5/2/2017     1.0     Meeting with Crystal Ring (AFG) and Glen Wurm (AFG) to
                                          discuss the accounting cut off procedures and implementation of
                                          post-filing processes.
Taylor Atwood        5/2/2017     1.0     Follow up call with A. Munoz (DB), K. Bailey (AFG), B. McConn
                                          (AFG) to discuss bank account cutoff issues.
Taylor Atwood        5/2/2017     0.5     Discussion with W. Guerrieri (K&E) re: critical vendor relief
                                          amount in terms of necessary interim relief.
Taylor Atwood        5/2/2017     1.0     Review trade motion numbers/figures backup information in
                                          advance of discussions with W. Guerrieri (K&E).
Taylor Atwood        5/2/2017     0.5     Review draft Flow of Funds related to interim DIP funding from J.
                                          Roberts (K&E).
Taylor Atwood        5/2/2017     0.5     Draft email communication for AFG management team
                                          summarizing First Day Hearing results.
Erin McKeighan       5/3/2017     0.5     Respond to questions from C. Hayes (K&E) re: notices of
                                          appearance filed in the cases.
Erin McKeighan       5/3/2017     0.5     Correspondence with C. Hayes (K&E) re: severance motion.

Erin McKeighan       5/3/2017     0.5     Teleconference with C. Hayes (K&E) re: retained causes of action.

Erin McKeighan       5/3/2017     0.5     Teleconference with S. Jensen (A&M) re: retention papers.

Jim Grady            5/3/2017     0.5     Correspondence with E. McKeighan (A&M) re schedule for
                                          retained causes of action.
Jim Grady            5/3/2017     0.5     Discussions with E. McKeighan (A&M) and follow up with C.
                                          Samford (AFG) re: severance approval by the court and
                                          anticipated logistics for making the payments upon court approval.
Erin McKeighan       5/4/2017     0.5     Teleconference with S. Pittman and S. Farrell (Both A&M) re: cap
                                          tracker for first day relief.




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                               Ameriforge Group Inc., et al.,                                     Exhibit D
                            Time Detail by Activity by Professional
                              May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional               Date     Hours     Activity
Erin McKeighan           5/4/2017     0.5     Communications with J. Foster and L. Cerda (Both AFG) re:
                                              approved severance payments.
Jim Grady                5/4/2017     1.0     Review and analysis of correspondence from the office of the US
                                              Trustee concerning the Initial Debtor Interview and Initial Report.
Nick Tammerine           5/4/2017     1.0     Research mailing address of recipient that believes noticing
                                              information was sent to incorrect address.
Sarah Margaret Pittman   5/4/2017     0.5     Update AP Post-Petition Tracking file. Submit to S. Farrell.

Sarah Margaret Pittman   5/4/2017     0.5     Teleconference with E. McKeighan and S. Farrell (Both A&M) re:
                                              cap tracker for first day relief.
Sarah Margaret Pittman   5/4/2017     1.0     Discuss AP Post-Petition Tracker file with S. Farrell.

Sean Farrell             5/4/2017     0.5     Teleconference with E. McKeighan and S. Pittman (Both A&M) re:
                                              cap tracker for first day relief.
Erin McKeighan           5/5/2017     0.5     Discuss notice questions with T. Giles (AFG).

Erin McKeighan           5/5/2017     0.5     Discuss retained causes of action with C. Hayes (K&E) and send
                                              directions for compiling the schedules to N. Tammerine (A&M).
Jim Grady                5/5/2017     1.0     Review and analysis of documents (contracts and other
                                              agreements) relative to the proposed auction of di minimus assets
                                              at the Company's closed Greeneville, SC plant.
Jim Grady                5/5/2017     0.5     Correspondence with and follow-up discussions with T. Giles
                                              (AFG) and M. Frahm (AFG) re questions from parties involved in
                                              the scheduled and approved auction of di minimus assets at the
                                              Company's previously closed Greenville, SC plant.
Landon Kenworthy         5/5/2017     0.5     Research and response to T. Edgeller (AFG) e-mail regarding
                                              Consolidated Net Income definition.
Erin McKeighan           5/8/2017     0.5     Teleconference with N. Tammerine (A&M) regarding creation of
                                              Retained Causes of Action exhibits.
Erin McKeighan           5/8/2017     0.5     Review draft of exhibit for insurance retained causes of action
                                              prepared by N. Tammerine (A&M).
Landon Kenworthy         5/8/2017     0.5     Follow up communication with D. Lazarov (DB) regarding
                                              processing of adequate protection payment.
Landon Kenworthy         5/8/2017     0.5     Call with D. Lazarov (DB) regarding processing of adequate
                                              protection payment to remain in compliance with DIP agreement.
Landon Kenworthy         5/8/2017     0.5     Call with J. Roberts (K&E) regarding interpretation of 1st Lien
                                              forbearance agreement provision for timing of adequate
                                              protection payments.
Landon Kenworthy         5/8/2017     0.5     Communication with D. Setty (DB) regarding processing of 1st
                                              lien adequate protection payment.
Landon Kenworthy         5/8/2017     1.0     Discussions with B. McConn (AFG) and K. Bailey (AFG) regarding
                                              adequate protection payments.




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                           Ameriforge Group Inc., et al.,                                    Exhibit D
                        Time Detail by Activity by Professional
                          May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional           Date     Hours     Activity
Landon Kenworthy     5/8/2017     0.5     Follow up with V. Gopalan (DB) to correct DB error regarding
                                          interest calculation for 1st lien adequate protection payment.
Nick Tammerine       5/8/2017     0.5     Prepare and send data request emails for various retained causes
                                          of action exhibits to the Company.
Nick Tammerine       5/8/2017     1.0     Create draft of exhibit for insurance retained causes of action.
                                          Circulate internally to E. McKeighan for review.
Nick Tammerine       5/8/2017     0.5     Teleconference with E. McKeighan (A&M) regarding creation of
                                          Retained Causes of Action exhibits.
Taylor Atwood        5/8/2017     0.5     Discussion with T. Giles regarding corporate governance
                                          diligence questions from Jones Day.
Erin McKeighan       5/9/2017     0.5     Respond to S. Pittman (A&M) re: first day motion cap tracker.

Erin McKeighan       5/9/2017     0.5     Discussion with K. Bailey (AFG) re: information needed for
                                          retained causes of action schedules.
Erin McKeighan       5/9/2017     0.5     Follow up with B. Minch (AFG) re: utility company inquiry.

Erin McKeighan       5/9/2017     0.5     Provide feedback on retained causes of action exhibit prepared
                                          by N. Tammerine (A&M).
Erin McKeighan       5/9/2017     0.5     Review draft of exhibit for accounts receivable prepared by N.
                                          Tammerine (A&M).
Erin McKeighan       5/9/2017     0.5     Provide severance payouts for K&E team to clear with the UST.

Erin McKeighan       5/9/2017     0.5     Review list of parties missing addresses on the creditor matrix
                                          and follow up with various company contacts to request address
                                          research.
Erin McKeighan       5/9/2017     0.5     Teleconference with T. Atwood (A&M) re: noticing questions from
                                          client.
Jim Grady            5/9/2017     0.5     Review of materials transmitted by the Courts to suppliers,
                                          employees and other stakeholders relative to AFG's filing in
                                          preparation for various discussions with AFG's management.
Nick Tammerine       5/9/2017     0.5     Create draft of deposits retained causes of action exhibit and
                                          circulate for review.
Nick Tammerine       5/9/2017     0.5     Update draft of exhibit for accounts receivable retained causes of
                                          action.
Nick Tammerine       5/9/2017     2.0     Create draft of exhibit for accounts receivable retained causes of
                                          action. Circulate internally to E. McKeighan for review.
Nick Tammerine       5/9/2017     1.0     Research missing or incomplete addresses related to contract
                                          counterparties. Categorize each creditor by contract type to
                                          determine proper channel to obtain addresses.
Nick Tammerine       5/9/2017     0.5     Create draft of lien holder retained causes of action exhibit based
                                          on UCC lien search results previously reviewed.
Nick Tammerine       5/9/2017     0.5     Update accounts receivable retained causes of action exhibit
                                          based on feedback received from E. McKeighan (A&M).



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                            Ameriforge Group Inc., et al.,                                     Exhibit D
                         Time Detail by Activity by Professional
                           May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional            Date     Hours     Activity
Sean Farrell          5/9/2017     0.5     Compile First Day motion tracking report and provide to counsel.

Sean Farrell          5/9/2017     0.5     Participate in conference call with Jones Day, Carlisle and
                                           representatives from Jones Day and K&E regarding legal
                                           diligence.
Sean Farrell          5/9/2017     0.5     Participate in advisors only pre-call with Taylor Atwood and
                                           representatives from Jones Day and K&E.
Taylor Atwood         5/9/2017     0.5     Participate in advisors only pre-call with S. Farrell (A&M) and
                                           representatives from Jones Day and K&E.
Taylor Atwood         5/9/2017     0.5     Review draft of First Day Motion Relief payments tracker from S.
                                           Farrell (A&M).
Taylor Atwood         5/9/2017     0.5     Discussion with C. Hayes (K&E) regarding trade motion relief
                                           payments.
Taylor Atwood         5/9/2017     0.5     Teleconference with E. McKeighan (A&M) re: noticing questions
                                           from client.
Erin McKeighan       5/10/2017     0.5     Respond to follow up questions from C. Hayes (K&E) re: retained
                                           causes of action exhibits.
Erin McKeighan       5/10/2017     0.5     Work with N. Tammerine (A&M) to prepare additional schedules
                                           requested from C. Hayes (K&E).
Erin McKeighan       5/10/2017     0.5     Review and provide comments to the retained causes of action
                                           section of the plan supplement from A. Smith (K&E).
Erin McKeighan       5/10/2017     1.5     Review final drafts of the retained causes of action exhibit and
                                           send to C. Hayes (K&E) for his review.
Erin McKeighan       5/10/2017     0.5     Discussion with T. Giles (AFG) re: liens the Debtors may have
                                           asserted against third parties.
Landon Kenworthy     5/10/2017     1.5     Discussion with T. Edgeller (AFG) and B. McConn (AFG) to help
                                           prepare retained causes of action schedules in response to E.
                                           McKeighan (A&M) request.
Landon Kenworthy     5/10/2017     0.5     Review and analysis of tax motion and order regarding authority
                                           to make pre-petition tax payments and follow up correspondence
                                           with T. Atwood (A&M).
Landon Kenworthy     5/10/2017     0.5     Follow up correspondence with E. McKeighan (A&M) regarding
                                           retained causes of action schedule.
Nick Tammerine       5/10/2017     0.5     Update contracts retained causes of action exhibit for internal and
                                           external circulation.
Nick Tammerine       5/10/2017     0.5     Review source file for customers retained causes of action file for
                                           data discrepancies.
Nick Tammerine       5/10/2017     0.5     Update litigation retained causes of action exhibit for internal and
                                           external circulation.
Nick Tammerine       5/10/2017     1.5     Format various vendor files received from Company and create
                                           retained causes of action exhibit for AP vendors.




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                            Ameriforge Group Inc., et al.,                                     Exhibit D
                         Time Detail by Activity by Professional
                           May 1, 2017 through June 8, 2017


Bankruptcy Support
Professional            Date     Hours     Activity
Nick Tammerine       5/10/2017     1.5     Review various vendor files received from Company to determine
                                           population of vendors paid within the last year for inclusion on
                                           retained causes of action exhibit.
Sean Farrell         5/10/2017     0.5     Compile information on retained causes of action.

Sean Farrell         5/10/2017     0.5     Review of and provide comments on bridge between First Day
                                           motion tracking and cash report.
Erin McKeighan       5/11/2017     1.5     Review RCoA schedule for points C. Jun (K&E) raised.

Erin McKeighan       5/11/2017     1.0     Provide feedback on retained causes of action exhibit prepared
                                           by N. Tammerine (A&M).
Erin McKeighan       5/11/2017     0.5     Teleconference with C. Hayes (K&E) re: upcoming service on the
                                           full matrix.
Erin McKeighan       5/11/2017     0.5     Teleconference with T. Atwood (A&M) re: upcoming service on
                                           the full matrix.
Jim Grady            5/11/2017     1.5     Review and analysis of schedules for AFGlobal's retained causes
                                           of action and correspondence with E. McKeighan (A&M) re
                                           certain questions on same.
Jim Grady            5/11/2017     0.5     Preparation for and participation in a conference call with T.
                                           Atwood (A&M) and E. McKeighan (A&M) re schedule of retained
                                           causes of action for AFGlobal and next steps required to prepare
                                           management for its dissemination.
Jim Grady            5/11/2017     0.5     Correspondence with C. Sanford (AFG) re updated closing
                                           schedule and required assistance/support the Company will need
                                           from A&M.
Landon Kenworthy     5/11/2017     0.5     Call with J. Roberts (K&E) to discuss variance report and
                                           associated compliance certificate.
Landon Kenworthy     5/11/2017     0.5     Correspondence with S. Pittman (A&M) regarding coordination
                                           with K. Bailey (AFG) to correct DB errors.
Landon Kenworthy     5/11/2017     0.5     Discussion with B. McConn (AFG) regarding delivery of financial
                                           statements to maintain compliance with DIP covenants.
Landon Kenworthy     5/11/2017     0.5     Discussion with T. Giles (AFG) regarding compliance certificate
                                           associated with variance report.
Landon Kenworthy     5/11/2017     2.0     Coordination with J. Roberts (K&E) on development of
                                           supplemental schedule to compliance certificate to demonstrate
                                           financial covenant compliance.
Landon Kenworthy     5/11/2017     1.0     Research and analysis of DIP agreement language regarding
                                           delivery of comparative financial statements to maintain
                                           compliance with DIP covenants.
Landon Kenworthy     5/11/2017     1.5     Correspondence and discussion with T. Edgeller (AFG) regarding
                                           DIP covenants for delivery of financial statements.
Nick Tammerine       5/11/2017     0.5     Review various accounts receivable files received from Company
                                           to determine population of customers that have paid within the
                                           last year for inclusion on retained causes of action exhibit.


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Bankruptcy Support
Professional            Date     Hours     Activity
Nick Tammerine       5/11/2017     0.5     Investigate utilities exhibit questions received from Kirkland and
                                           Ellis. Liaise with the Company to determine correct responses to
                                           inquiries.
Nick Tammerine       5/11/2017     0.5     Create accounts receivable retained causes of action exhibit
                                           based on feedback received from Company regarding
                                           discrepancies found in the source data.
Taylor Atwood        5/11/2017     0.5     Teleconference with E. McKeighan (A&M) re: upcoming service
                                           on the full matrix.
Taylor Atwood        5/11/2017     0.5     Preparation for and participation in a conference call with J. Grady
                                           (A&M) and E. McKeighan (A&M) re schedule of retained causes
                                           of action for AFGlobal and next steps required to prepare
                                           management for its dissemination.
Erin McKeighan       5/12/2017     0.5     Discussion with C. Jun (K&E) re: outstanding items on retained
                                           causes of action schedule.
Erin McKeighan       5/12/2017     0.5     Discussion with S. Farrell (A&M) and follow up email after re:
                                           notice to creditors.
Erin McKeighan       5/12/2017     0.5     Review documentation on Mexican tax matter and send to A.
                                           Smith (K&E) with comments.
Erin McKeighan       5/12/2017     0.5     Discussion with T. Giles (AFG) re: Mexican tax matter.

Erin McKeighan       5/12/2017     1.5     Review updated retained causes of action schedules and provide
                                           comments to C. Jun (K&E)
Erin McKeighan       5/12/2017     0.5     Discussion with T. Edgeller (AFG) re: open items on retained
                                           causes of action schedule.
Landon Kenworthy     5/12/2017     0.5     Discussion with B. McConn (AFG) regarding GS Swap agreement
                                           termination in response to request from J. Weber (K&E).
Landon Kenworthy     5/12/2017     0.5     Call with T. Atwood (A&M), S. Farrell (A&M), C. Chilakapati
                                           (A&M), D. Cash (A&M) and T. Edgeller (AFG) to discuss fresh
                                           start accounting.
Landon Kenworthy     5/12/2017     0.5     Research and analysis regarding terminated GS Swap agreement
                                           in response to request from J. Weber (K&E).
Sean Farrell         5/12/2017     0.5     Correspondence with Kelly Bailey regarding the auto debits and
                                           bank related issues.
Sean Farrell         5/12/2017     0.5     Discussion with E. McKeighan (A&M) and follow up email after re:
                                           notice to creditors.
Sean Farrell         5/12/2017     0.5     Call with T. Atwood (A&M), L. Kenworthy (A&M), C. Chilakapati
                                           (A&M), D. Cash (A&M) and T. Edgeller (AFG) to discuss fresh
                                           start accounting.
Taylor Atwood        5/12/2017     0.5     Call with S. Farrell (A&M), L. Kenworthy (A&M), C. Chilakapati
                                           (A&M), D. Cash (A&M) and T. Edgeller (AFG) to discuss fresh
                                           start accounting.
Taylor Atwood        5/12/2017     1.0     Meeting with T. Edgeller (AFG), B. McConn (AFG) to discuss ch.
                                           11 emergence planning.



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Professional                Date     Hours     Activity
Landon Kenworthy         5/14/2017     0.5     Correspondence with B. McConn (AFG) regarding master
                                               agreement with GS for the terminated swap and review of the
                                               same.
Landon Kenworthy         5/15/2017     2.0     Review of comparative Q1 financial statements with T. Edgeller
                                               (AFG) and B. McConn (AFG) to remain in compliance with DIP
                                               agreement.
Landon Kenworthy         5/15/2017     0.5     Preparation of compliance certificate for T. Giles (AFG) signature
                                               to remain in compliance with DIP agreement.
Landon Kenworthy         5/15/2017     1.0     Correspondence with B. McConn (AFG) regarding GS swap
                                               agreement termination notice and review of associated calculation
                                               statement.
Landon Kenworthy         5/15/2017     1.5     Research and analysis of GS swap agreement to determine
                                               default interest calculations.
Landon Kenworthy         5/15/2017     0.5     Correspondence and call with J. Weber (K&E) regarding default
                                               interest calculation for GS swap.
Landon Kenworthy         5/15/2017     0.5     Coordination with B. McConn (AFG) and T. Giles (AFG) regarding
                                               delivery of compliance certificate to DB.
Landon Kenworthy         5/15/2017     0.5     Review with S. Pittman (A&M) regarding DB payment errors.

Landon Kenworthy         5/15/2017     1.5     Discussion with T. Edgeller (AFG) regarding comparative Q1
                                               financial statements.
Landon Kenworthy         5/15/2017     0.5     Follow up discussion with J. Weber (K&E) in response to
                                               questions from Cadwalader regarding GS swap termination.
Sarah Margaret Pittman   5/16/2017     0.5     Discuss AP Tracking file for the US Trustee with S. Farrell (A&M).

Sean Farrell             5/16/2017     1.0     Compile US Trustee reporting against First Day Motion caps and
                                               send to counsel.
Taylor Atwood            5/16/2017     0.5     Call with C. Hayes (K&E) to discuss current status of Deutchse
                                               Bank ACH payment error refunds from various vendors.
Taylor Atwood            5/16/2017     0.5     Review First Day Motion Relief payments tracker information from
                                               S. Farrell (A&M).
Taylor Atwood            5/16/2017     0.5     Meeting with T. Edgeller (AFG), B. McConn (AFG) to discuss
                                               current status of ch. 11 emergence planning.
Landon Kenworthy         5/17/2017     0.5     Communication with J. Zarbock (K&E) regarding Committed Loan
                                               Notice.
Landon Kenworthy         5/17/2017     0.5     Review of DIP agreement language regarding timing of updated
                                               Budget to remain in compliance with covenants.
Landon Kenworthy         5/17/2017     0.5     Preparation of compliance certificate for WE 5/12 variance report
                                               and coordination with T. Giles (AFG) regarding the same.
Landon Kenworthy         5/17/2017     0.5     Preparation of Committed Loan Notice for final DIP draw and
                                               coordination with T. Giles (AFG) regarding associated compliance
                                               certificate.




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Professional                Date     Hours     Activity
Landon Kenworthy         5/17/2017     0.5     Review of L. Spivey (K&E) correspondence regarding timing of
                                               DIP draw request, pursuant to requirements under DIP agreement.
Landon Kenworthy         5/17/2017     0.5     Discussion with J. Roberts (K&E) regarding interpretation of
                                               covenant language in DIP agreement.
Landon Kenworthy         5/17/2017     0.5     Call with J. Georgeadis (HL) and Jones Day regarding final DIP
                                               draw timing, DIP fees, and conditions precedent.
Sean Farrell             5/17/2017     1.0     Review of the objection to the Plan of Reorganization filed by the
                                               US Trustee.
Taylor Atwood            5/17/2017     0.5     D&O insurance discussion with T. Giles (AFG).

Jim Grady                5/18/2017     0.5     Correspondence and follow-up with D. Fitzpatrick (Lazard) re
                                               latest lender lists and current amounts of debt held by each lender.
Jim Grady                5/18/2017     0.5     Review of objections received to the Confirmation from the US
                                               Trustee and Worldwide Oilfield Machine in advance of the
                                               Confirmation Hearing.
Jim Grady                5/18/2017     1.0     Preparation for and participation in a planning meeting with S.
                                               Farrell (A&M), L. Kenworthy (A&M), S. Pittman (A&M).
Landon Kenworthy         5/18/2017     1.0     Participated in planning meeting with J. Grady (A&M), S. Farrell
                                               (A&M), and S. Pittman (A&M).
Landon Kenworthy         5/18/2017     0.5     Discussion and follow up correspondence with J. Roberts (K&E)
                                               regarding 1st lien advisor request to be paid all fees prior to DIP
                                               draw.
Landon Kenworthy         5/18/2017     0.5     Discussion with J. Georgeadis (HL) regarding payment of 1st lien
                                               advisors' fees as a condition precedent to the final DIP draw per
                                               Cash Collateral motion.
Sarah Margaret Pittman   5/18/2017     1.0     Participate in planning meeting with J. Grady, S. Farrell, and L.
                                               Kenworthy (all A&M).
Sarah Margaret Pittman   5/18/2017     0.5     Review document request list for fresh start accounting.

Sean Farrell             5/18/2017     2.0     Prepare draft of the opening balance sheet and discuss with Brian
                                               McConn (AFG).
Sean Farrell             5/18/2017     1.0     Participate in planning meeting with J. Grady, S. Pittman, and L.
                                               Kenworthy (all A&M).
Sean Farrell             5/18/2017     0.5     Review of plan objection from Worldwide Oilfield Machine
                                               including correspondence with claims team regarding noticing.
Sean Farrell             5/18/2017     0.5     Discuss opening balance sheet with Brian McConn (AFG).

Sean Farrell             5/19/2017     0.5     Compile information on the opening balance sheet.

Sean Farrell             5/19/2017     0.5     Telephone call with Brian McConn (AFG) regarding the opening
                                               balance sheet.
Taylor Atwood            5/19/2017     0.5     Call with C. Hayes (K&E) to discus emergence date planning
                                               issues.




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Bankruptcy Support
Professional                Date     Hours     Activity
Landon Kenworthy         5/22/2017     0.5     Call with Y. Okabe (DB) to discuss details of funds flow related to
                                               final DIP funding.
Landon Kenworthy         5/22/2017     0.5     Correspondence with J. Roberts (K&E) regarding timing of final
                                               DIP draw and delivery of Committed Loan Notice to DB.
Landon Kenworthy         5/22/2017     0.5     Communication with T. Giles (AFG) regarding updating
                                               Committed Loan Notice.
Landon Kenworthy         5/22/2017     0.5     Follow up correspondence with D. Lazarov (DB) and Y. Okabe
                                               (DB) regarding funds flow for final DIP draw.
Jim Grady                5/23/2017     0.5     Review of draft escrow agreement for professional fees for
                                               various lender advisor's fees, including correspondence of same
                                               with L. Kenworthy (A&M).
Jim Grady                5/23/2017     0.5     Work on process for gathering estimates of lender advisors' fees
                                               to be included in professional escrow prior to closing of final DIP
                                               draw, including correspondence with L. Kenworthy (A&M) re same.
Landon Kenworthy         5/23/2017     0.5     Call with C. Jun (K&E) to discuss finalizing all open items related
                                               to DIP funding.
Landon Kenworthy         5/23/2017     0.5     Correspondence with C. Jun (K&E) regarding escrow agreement
                                               and open issues related to final DIP funding.
Landon Kenworthy         5/23/2017     0.5     Review of final DIP order as entered on the docket.

Landon Kenworthy         5/23/2017     0.5     Correspondence with Y. Okabe (DB) regarding final DIP order.

Landon Kenworthy         5/23/2017     1.0     Review of escrow agreement for 1st lien and 2nd lien advisors'
                                               professional fees.
Landon Kenworthy         5/23/2017     0.5     Preparation of updated Committed Loan Notice and delivery of
                                               the same to DB as required under DIP agreement.
Landon Kenworthy         5/23/2017     0.5     Verification with K&E regarding escrow agreement sign-off.

Landon Kenworthy         5/23/2017     0.5     Coordination with T. Giles (AFG) and B. McConn (AFG) regarding
                                               review and company sign-off of escrow agreement.
Sarah Margaret Pittman   5/23/2017     0.5     Review First Day Motion Payment Tracker file; submit to S. Farrell
                                               (A&M).
Sean Farrell             5/23/2017     1.0     Finalize and submit trade motion reporting for the US Trustee.

Jim Grady                5/24/2017     0.5     Meeting and discussion with C. Samford (AFG) re open items
                                               relative to the Exit Facilities, the Company's CFO search, updated
                                               liquidity forecasts, and other work streams on which A&M is
                                               working.
Landon Kenworthy         5/24/2017     0.5     Confirmation of DIP funding receipt and correspondence
                                               regarding the same.
Landon Kenworthy         5/24/2017     0.5     Confirmation for Y. Okabe (DB) regarding final escrow amount
                                               and follow up correspondence regarding final DIP funding.
Landon Kenworthy         5/24/2017     0.5     Follow up with Y. Okabe (DB) on open issues prior to final DIP
                                               funding.


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Landon Kenworthy         5/24/2017     0.5     Discussion with B. McConn (AFG) regarding lender lists in
                                               response to request from HL.
Landon Kenworthy         5/24/2017     0.5     Coordination with T. Giles (AFG) to finalize compliance certificate.

Landon Kenworthy         5/24/2017     0.5     Distribution of final variance report for WE 5/19 to DB, HL, Carlyle,
                                               and PJT to remain in compliance with DIP covenants.
Sarah Margaret Pittman   5/24/2017     1.0     Discussion of information request related to Fresh Start
                                               Accounting valuations. Participants: Andrew Youngstrom, James
                                               Herr, Anne Elder, Eloy Escobedo, Brian Leahy, S. Farrell (all
                                               A&M).
Sean Farrell             5/24/2017     2.0     Prepare summary of ongoing work streams and next steps.

Sean Farrell             5/24/2017     1.0     Discussion of information request related to Fresh Start
                                               Accounting valuations.Participants: Andrew Youngstrom, James
                                               Herr, Anne Elder, Eloy Escobedo, Brian Leahy, S. Pittman (all
                                               A&M)
Sean Farrell             5/24/2017     0.5     Compile diligence material for fresh start accounting team.

Taylor Atwood            5/24/2017     0.5     Discuss agency fee letter (Cortland) with J. Roberts (K&E).

Jim Grady                5/25/2017     0.5     Call with S. Farrell (A&M) to discuss work stream status and go-
                                               forward planning.
Sean Farrell             5/25/2017     0.5     Telephone call with Jim Grady (A&M) to discuss work streams
                                               and go forward plan.
Sean Farrell             5/25/2017     0.5     Review and provide updates to the document request list for fresh
                                               start accounting and valuation.
Sean Farrell             5/25/2017     1.5     Prepare summary of ongoing work streams.

Taylor Atwood            5/25/2017     0.5     Review, provide comments to equity distribution calculations from
                                               J. Walters (PJT).
Taylor Atwood            5/25/2017     0.5     Review DIP Final Funding flow of funds memo.

Landon Kenworthy         5/26/2017     0.5     Correspondence with members of A&M restructuring, claims, and
                                               fresh start teams to request estimated hours and expenses
                                               through the effective date for the escrow establishment, in
                                               response to request from C. Jun (K&E).
Landon Kenworthy         5/26/2017     0.5     Review of DIP agreement language regarding timing of updated
                                               Budget to remain in compliance with covenants.
Landon Kenworthy         5/26/2017     0.5     Response to K. Bailey (AFG) request for final funds flow related to
                                               $45M draw and questions regarding OID.
Landon Kenworthy         5/26/2017     0.5     Research and response to K. Bailey (AFG) questions regarding
                                               loan agreements.
Landon Kenworthy         5/26/2017     0.5     Call with B. McConn (AFG) to discuss acquisition opportunities.




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Sean Farrell             5/26/2017     1.5     Discussion of information request and status of documents
                                               related to Fresh Start Accounting valuations with Andrew
                                               Youngstrom, James Herr, Anne Elder, Eloy Escobedo, Brian
                                               Leahy (all A&M) and representatives from the company.
Taylor Atwood            5/26/2017     0.5     Review professional fees escrow amount calculations from L.
                                               Kenworthy (A&M).
Landon Kenworthy         5/27/2017     0.5     Analysis of J. Zarbock (K&E) questions regarding perfection
                                               certificate.
Landon Kenworthy         5/28/2017     0.5     Research and review of J. Georgeadis (HL) request to have
                                               company pay transaction fees associated with exit TL trade.
Landon Kenworthy         5/28/2017     0.5     Review of K&E request to prepare funds flow and
                                               correspondence with S. Pittman (A&M) regarding the same.
Landon Kenworthy         5/29/2017     0.5     Review of C. Jun (K&E) request for supplemental information
                                               needed from company for escrow account and correspondence
                                               regarding the same.
Landon Kenworthy         5/29/2017     1.0     Research and correspondence with J. Roberts (K&E) regarding
                                               L/Cs in response to P. Saliba (DB) request.
Landon Kenworthy         5/29/2017     0.5     Review of draft emergence funds flow prepared by S. Pittman
                                               (A&M) and feedback regarding the same.
Landon Kenworthy         5/29/2017     0.5     Analysis and correspondence with B. McConn (AFG) regarding
                                               incremental L/C need.
Landon Kenworthy         5/29/2017     0.5     Correspondence with P. Sorensen (Lazard) and B. McConn
                                               (AFG) regarding incremental L/Cs, in response to P. Saliba (DB)
                                               questions.
Sarah Margaret Pittman   5/29/2017     0.5     Draft AFG Flow of Funds file; submit to L. Kenworthy.

Landon Kenworthy         5/30/2017     0.5     Call with Y. Okabe (DB) regarding DIP interest calculations.

Landon Kenworthy         5/30/2017     0.5     Correspondence and discussion with G. Wurm (AFG) regarding
                                               future intercompany funding needs to prepare cash flow forecast
                                               update.
Landon Kenworthy         5/30/2017     1.5     Consolidation of estimated fees and expenses and development
                                               of summary schedule in response to request from C. Jun (K&E) in
                                               connection with escrow account.
Landon Kenworthy         5/30/2017     0.5     Coordination with S. Pittman (A&M) regarding escrow account
                                               estimate.
Sarah Margaret Pittman   5/30/2017     0.5     Coordination with S. Pittman (A&M) regarding escrow account
                                               estimate.
Landon Kenworthy         5/31/2017     0.5     Coordination with T. Giles (AFG) regarding compliance certificate.

Sean Farrell             5/31/2017     1.5     Discussion of information request and status of documents
                                               related to intangibles for Fresh Start with James Herr, Raj
                                               Chilakapati, Andrew Youngstrom, Taylor Atwood (all A&M) and
                                               Tom Edgeller (AFG).



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Taylor Atwood            5/31/2017     1.5     Discussion of information request and status of documents
                                               related to intangibles for Fresh Start Accounting valuations
                                               discussion (J. Herr, R. Chilakapati, A. Youngstrom, S. Farrell).
Taylor Atwood            5/31/2017     0.5     Discussion with T. Edgeller (AFG) regarding intercompany loan
                                               balances.
Taylor Atwood            5/31/2017     1.0     Meeting with G. Wurm (AFG) to discuss intercompany loan
                                               processes.
Taylor Atwood            5/31/2017     0.5     Review updated professional fees escrow calculations, memo
                                               from L. Kenworthy (A&M).
Landon Kenworthy          6/2/2017     0.5     Call with G. Wurm (AFG) to discuss intercompany balances in
                                               response to question from J. Georgeadis (Houlihan).
Landon Kenworthy          6/3/2017     0.5     Analysis of inventory obsolescence charges and evaluation of
                                               appropriate categorization within modified language.
Landon Kenworthy          6/3/2017     0.5     Review of clause (xii) add-backs in response to feedback from L.
                                               Spivey (K&E).
Landon Kenworthy          6/4/2017     0.5     Call with J. Roberts (K&E) and B. McConn (AFG) regarding Jones
                                               Day proposed language modifications related to L/C liens.
Landon Kenworthy          6/5/2017     0.5     Update of Committed Loan Notice and delivery of the same to JD.

Landon Kenworthy          6/5/2017     0.5     Coordination with B. McConn (AFG) and K. Bailey (AFG)
                                               regarding processing wire for professional fee escrow.
Landon Kenworthy          6/5/2017     0.5     Call with Y. Okabe (DB) to review funds flow at emergence.

Sarah Margaret Pittman    6/5/2017     1.5     Work in "Summary of Flow" tab of Flow of Funds file.

Sarah Margaret Pittman    6/5/2017     0.5     Discuss Flow of Funds file with L. Kenworthy (A&M).

Sean Farrell              6/5/2017     1.0     Participate in meeting with B. McConn (AFG), T. Atwood (A&M) to
                                               begin drafting template for monthly, quarterly Board reporting
                                               materials.
Sean Farrell              6/5/2017     1.5     Prepare board reporting materials for discussion with Brian
                                               McConn (AFG).
Taylor Atwood             6/5/2017     0.5     Follow up with T. Edgeller (AFG) regarding intercompany loan
                                               borrower vs. guarantor request from K&E.
Taylor Atwood             6/5/2017     1.0     Participate in meeting with B. McConn (AFG), S. Farrell (A&M) to
                                               begin drafting template for monthly, quarterly Board reporting
                                               materials.
Landon Kenworthy          6/6/2017     0.5     Preparation and distribution of updated Committed Loan Notice in
                                               response to request from K. Donaldson (JD).
Landon Kenworthy          6/6/2017     0.5     Research and communication with J. Roberts (K&E) regarding
                                               interpretation of adequate protection payments language in
                                               preparation for payments at emergence.
Landon Kenworthy          6/6/2017     0.5     Review of C. Capezuti (Cortland) correspondence and
                                               implementation of feedback regarding funds flow modifications.


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Landon Kenworthy     6/6/2017     0.5     Coordination with B. McConn (AFG) and K. Bailey (AFG)
                                          regarding funds flow at emergence.
Landon Kenworthy     6/6/2017     0.5     Coordination with T. Edgeller (AFG) regarding KPMG report
                                          delivery to P. Saliba (DB).
Landon Kenworthy     6/6/2017     0.5     Additional correspondence with C. Capezuti (Cortland) to clarify
                                          certain fees at emergence.
Landon Kenworthy     6/6/2017     0.5     Coordination with K. Bailey (AFG) regarding invoices for interest
                                          payments at emergence.
Sean Farrell         6/6/2017     2.0     Develop slides for board reporting materials.

Sean Farrell         6/6/2017     1.0     Continue to compile board reporting materials.

Sean Farrell         6/6/2017     1.0     Continue to compile board reporting materials including
                                          correspondence with Brian McConn (AFG).
Sean Farrell         6/6/2017     1.0     Meeting with Brian McConn (AFG) to review board of directors
                                          materials and discuss next steps.
Sean Farrell         6/6/2017     1.5     Review of board reporting back up materials and compile
                                          additional support.
Taylor Atwood        6/6/2017     0.5     Review, comment on Flow of Funds at emergence analysis from
                                          L. Kenworthy (A&M).
Taylor Atwood        6/6/2017     0.5     Participate in all hands call to discuss emergence date planning
                                          with K&E, W&C, AFG, JD, Lazard, Houlihan teams.
Taylor Atwood        6/6/2017     0.5     Discussion with T. Edgeller (AFG) regarding anticipated
                                          emergence date change and issues related thereto.
Taylor Atwood        6/6/2017     0.5     Follow up discussion with B. McConn (AFG) regarding slide
                                          templates for monthly Board update presentations.
Landon Kenworthy     6/7/2017     0.5     Correspondence with K. Bailey (AFG) regarding needed
                                          modifications to DB invoices.
Landon Kenworthy     6/7/2017     0.5     Coordination with K. Bailey (AFG) regarding wiring instructions
                                          and company contact information for Cortland.
Landon Kenworthy     6/7/2017     0.5     Created company working group contact list in response to
                                          request from C. Capezuti (Cortland). Coordination with
                                          management regarding the same.
Landon Kenworthy     6/7/2017     1.0     Review of DB invoices for L/C fees and discussion with B.
                                          McConn (AFG) regarding the same.
Landon Kenworthy     6/7/2017     0.5     Discussion with B. McConn (AFG) regarding lender lists in
                                          response to request from HL.
Landon Kenworthy     6/7/2017     0.5     Discussion with K. Bailey (AFG) to review funds flow in
                                          anticipation of emergence and follow up correspondence
                                          regarding the same.
Landon Kenworthy     6/7/2017     0.5     Call with C. Capezuti (Cortland) in response to request to provide
                                          wiring instructions and company contact information.



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Bankruptcy Support
Professional           Date     Hours     Activity
Landon Kenworthy     6/7/2017     0.5     Correspondence with K. Donaldson (JD) in response to request
                                          for details regarding W&C fees scheduled to be paid at
                                          emergence.
Landon Kenworthy     6/7/2017     0.5     Correspondence with A. Zatz (W&C) in response to K. Donaldson
                                          (JD) questions regarding fees at emergence.
Landon Kenworthy     6/7/2017     0.5     Research and correspondence with J. Walters (PJT) regarding
                                          escrow account withdrawal mechanics.
Landon Kenworthy     6/7/2017     0.5     Correspondence with C. Jun (K&E) regarding mechanics of
                                          withdrawing escrowed professional fees.
Landon Kenworthy     6/7/2017     0.5     Call with A. Zatz (W&C) regarding commitment fees and L/C fee
                                          payments
Sean Farrell         6/7/2017     1.5     Review and analysis of the weekly reporting package provided by
                                          Brian McConn (AFG).
Sean Farrell         6/7/2017     1.5     Attention to closing matters.

Sean Farrell         6/7/2017     1.5     Review and prepare board reporting materials.

Sean Farrell         6/7/2017     0.5     Review of segment level financial statements.

Sean Farrell         6/7/2017     1.5     Attention to closing matters related to emergence.

Sean Farrell         6/7/2017     1.5     Prepare slides for board reporting.

Taylor Atwood        6/7/2017     0.5     Call with P. Sorensen (Lazard) to discuss general case updates,
                                          remaining emergence date issues.
Landon Kenworthy     6/8/2017     0.5     Coordination with B. McConn (AFG) and K. Bailey (AFG)
                                          regarding final wires to emerge.
Landon Kenworthy     6/8/2017     1.0     Research and correspondence with B. McConn (AFG), G. Wurm
                                          (AFG), T. Edgeller (AFG), and K. Bailey (AFG) in response to
                                          questions regarding details and accounting treatment of final
                                          funds flow and escrow accounts.
Landon Kenworthy     6/8/2017     0.5     Discussion with B. McConn (AFG) regarding closure of adequate
                                          assurance account and response to K. Bailey (AFG) question
                                          regarding the same.
Landon Kenworthy     6/8/2017     0.5     Correspondence with J. Walters (PJT) regarding emergence
                                          logistics and payment of fees out of escrow.
Landon Kenworthy     6/8/2017     0.5     Call with T. Edgeller (AFG) and G. Wurm (AFG) to discuss
                                          accounting treatment for funds flow transactions.
Landon Kenworthy     6/8/2017     0.5     Research and response to K. Bailey (AFG) question regarding
                                          escrow account breakdown.
Landon Kenworthy     6/8/2017     0.5     Response to C. Capezuti (Cortland) request for financial
                                          statements to meet CPs and coordination with T. Edgeller (AFG)
                                          and J. Roberts (K&E) regarding the same.




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Bankruptcy Support
Professional            Date     Hours     Activity
Taylor Atwood         6/8/2017      0.5    Call with C. Samford (AFG) to confirm effective date, discuss post-
                                           emergence planning related to communications with vendors,
                                           professional fees payments.
Taylor Atwood         6/8/2017      0.5    Call with J. Walters (AFG) regarding emergence escrow, equity
                                           distributions planning.

Subtotal                          216.5



Business Plan
Professional            Date     Hours     Activity
Landon Kenworthy      5/3/2017      1.0    Review of quarterly EBITDA calculations prepared by T. Edgeller
                                           (AFG) in response to request by J. Georgeadis (Houlihan) and
                                           delivery of draft calculations to Houlihan.
Taylor Atwood         5/3/2017      1.5    Review, comment on EBITDA buildup calculations from T.
                                           Edgeller (AFG), L. Kenworthy (A&M).
Jim Grady             5/4/2017      0.5    Correspondence with certain CFO candidates relative to current
                                           status with the Company and anticipated next steps re: interview
                                           process.
Landon Kenworthy      5/4/2017      1.0    Review of certain defined terms related to EBITDA calculations in
                                           order to appropriately categorize various add-backs.
Landon Kenworthy      5/4/2017      2.0    Review of revised EBITDA calculations prepared by T. Edgeller
                                           (AFG) in response to request by J. Georgeadis (Houlihan).
Landon Kenworthy      5/5/2017      1.0    Calls with J. Georgeadis (Houlihan) regarding $10 million cap on
                                           certain EBITDA add-backs and discussion of 9/30 liquidity
                                           forecast.
Sean Farrell          5/8/2017      1.5    Review of business plan related to exit financing diligence.

Sean Farrell          5/8/2017      0.5    Meeting with Brian McConn to review the integrated financial
                                           model and discuss updates required for financing diligence.
Taylor Atwood         5/9/2017      0.5    Discussion with B. McConn (AFG) pertaining to 3-statement
                                           financial model request from Lazard.
Jim Grady            5/10/2017      0.5    Correspondence with A. Beirne (KPMG) and J. Price (KPMG) re
                                           follow-up questions pertaining to KPMG's revised field audit,
                                           including follow-up discussions re same with D. Fitzpatrick
                                           (Lazard).
Landon Kenworthy     5/10/2017      1.5    Follow up discussion with T. Edgeller (AFG) regarding EBITDA
                                           calculations.
Landon Kenworthy     5/10/2017      1.5    Review and analysis of EBITDA calculations prepared by T.
                                           Edgeller (AFG) along with review of associated definitions.
Sean Farrell         5/10/2017      1.5    Update the 3 statement model by incorporating additional support
                                           for the revised debt structure.



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Professional           Date     Hours     Activity
Sean Farrell        5/10/2017     0.5     Additional refinement to the debt schedule in the 3 statement
                                          model.
Sean Farrell        5/10/2017     1.5     Refinement to the 3 statement model.

Sean Farrell        5/10/2017     0.5     Additional refinement to the 3 statement model.

Taylor Atwood       5/10/2017     0.5     Follow up discussion with B. McConn (AFG) regarding 3-
                                          statement model projections.
Taylor Atwood       5/10/2017     0.5     Meeting with B. McConn (AFG) to walk through current 3-
                                          statement projection model.
Jim Grady           5/11/2017     0.5     Follow-up correspondence with A. Beirne (KPMG) and J. Price
                                          (KPMG) re follow-up questions pertaining to KPMG's revised field
                                          audit, including follow-up discussions re same with P. Sorensen
                                          (Lazard).
Sean Farrell        5/11/2017     1.5     Review and refine latest 3 statement model from the company.

Sean Farrell        5/11/2017     0.5     Continue to refine the 3 statement model.

Jim Grady           5/12/2017     0.5     Correspondence with T. Atwood (A&M) re: questions on E129.

Jim Grady           5/12/2017     0.5     Discussion with J. Roberts (K&E) and follow-up correspondence
                                          with T. Edgeller (AFG) re: certain questions pertaining to the
                                          consolidated financial statements relative to the Exit Term Facility.
Landon Kenworthy    5/12/2017     0.5     Follow up correspondence with T. Edgeller (AFG) regarding
                                          EBITDA calculations to obtain supplemental information
                                          requested by HL.
Landon Kenworthy    5/12/2017     0.5     Correspondence and discussion with J. Roberts (K&E) regarding
                                          EBITDA calculations in preparation for delivery to HL.
Landon Kenworthy    5/12/2017     0.5     Correspondence with T. Edgeller (AFG) and J. Georgeadis (HL)
                                          regarding EBITDA calculations.
Sean Farrell        5/12/2017     1.5     Review of the updated business plan from Brian McConn (AFG)
                                          and provide comments.
Landon Kenworthy    5/13/2017     0.5     Review of T. Edgeller correspondence and adjustments to
                                          EBITDA calculations.
Jim Grady           5/15/2017     1.5     Review and analysis of the Company's draft 3-statement financial
                                          projection model for purposes of Deutsche Bank's syndication
                                          materials for the Exit ABL Facility.
Landon Kenworthy    5/15/2017     0.5     Call with J. Roberts (K&E) regarding EBITDA calculations prior to
                                          delivery to HL.
Landon Kenworthy    5/15/2017     0.5     Call with J. Georgeadis (HL) to discuss EBITDA calculations.

Sean Farrell        5/15/2017     1.5     Finalize and distribute 3 statement financial model to Lazard for
                                          inclusion with the Deutsch Bank solicitation materials.
Taylor Atwood       5/15/2017     1.5     Review draft of financial projection model from S. Farrell (A&M)
                                          prior to distribution to Lazard team.



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Taylor Atwood       5/15/2017     0.5     Follow up discussion with T. Edgeller (AFG) to go through
                                          EBITDA calculations.
Taylor Atwood       5/15/2017     0.5     Review latest EBITDA calculations file from L. Kenworthy (A&M).

Taylor Atwood       5/15/2017     0.5     Follow up discussion with B. McConn (AFG) regarding financial
                                          projection model.
Jim Grady           5/16/2017     0.5     Follow-up correspondence and discussions with certain CFO
                                          candidates relative to current status with the Company and
                                          anticipated next steps re: interview process.
Jim Grady           5/16/2017     0.5     Compilation of various presentations made relative to the MPO
                                          Earnout and transmission of same to T. Atwood (A&M).
Jim Grady           5/17/2017     0.5     Review of relative correspondence from the proposed insurance
                                          carrier and follow-up discussions with T. Giles (AFG) re same
                                          concerning D&O policies.
Jim Grady           5/17/2017     0.5     Discussions with C. Samford (AFG) re open items relative to the
                                          Exit Facilities, the Company's CFO search, updated liquidity
                                          forecasts, and other work streams on which A&M is working.
Jim Grady           5/18/2017     0.5     Preparation for and participation on a conference call with T. Giles
                                          (AFG) and representatives from Marsh re to proposed D&O
                                          insurance policies, including propose premium pricing and
                                          coverages.
Jim Grady           5/19/2017     0.5     Correspondence and discussions with P. Puri (CAC) re NRG
                                          Manufacturing and status of AFGlobal's Chapter 11 case.
Jim Grady           5/22/2017     0.5     Preparation for and participation in a conference call with D.
                                          Fitzpatrick (Lazard), M. Crosby (Lazard), A. Harbor (Lazard) re
                                          assistance required from Deutsche Bank in updating their
                                          presentation of background on the Company for syndication
                                          purposes.
Landon Kenworthy    5/24/2017     0.5     Analysis and response to J. Roberts (K&E) question regarding
                                          EBITDA calculations provided by HL.
Jim Grady           5/25/2017     0.5     Discussions with T. Giles (AFG) and B. McConn (AFG) re to the
                                          process and logistics by which LCs will be transferred from the
                                          DIP Facility to the Exit ABL Facility.
Landon Kenworthy    5/27/2017     0.5     Research and response to T. Atwood (A&M) question regarding
                                          historical EBITDA calculations.
Landon Kenworthy    5/29/2017     0.5     Update to EBITDA calculations and delivery to P. Saliba (DB).

Landon Kenworthy    5/29/2017     0.5     Research and response to D. Fitzpatrick (Lazard) questions
                                          related to EBITDA adjustments.
Landon Kenworthy    5/29/2017     1.0     Research in response to P. Saliba (DB) questions regarding
                                          incremental L/C, historical EBITDA adjustments, and projected
                                          EBITDA.
Landon Kenworthy    5/29/2017     0.5     Call with P. Saliba (DB) to discuss EBITDA calculations.




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Landon Kenworthy    5/29/2017     0.5     Analysis of top-down vs. bottoms-up estimates of EBITDA and
                                          communication regarding the same with D. Fitzpatrick (Lazard)
                                          and A. Moosani (Lazard).
Jim Grady           5/30/2017     0.5     Follow-up correspondence with A. Beirne (KPMG) re follow-up
                                          questions pertaining to KPMG's revised field audit and anticipated
                                          timing of same, including follow-up with T. Edgeller (AFG) and P.
                                          Sorensen (Lazard) re same.
Landon Kenworthy    5/30/2017     0.5     Calls with A. Moosani (Lazard) to discuss EBITDA adjustments in
                                          response to questions from P. Saliba (DB).
Landon Kenworthy    5/30/2017     0.5     Follow up discussion with T. Edgeller (AFG) regarding EBITDA
                                          calculations in response to P. Saliba (DB) questions.
Landon Kenworthy    5/31/2017     0.5     Meeting with T. Edgeller (AFG) and B. McConn (AFG) to discuss
                                          historical EBITDA breakdown by business segment.
Landon Kenworthy    5/31/2017     2.0     Development of EBITDA by segment breakout for lender
                                          presentation.
Sean Farrell         6/1/2017     1.0     Review of the business plan related to compliance calculations.

Landon Kenworthy     6/2/2017     1.0     Analysis of impact of W&C proposed changes to CNI and EBITDA
                                          definitions and drafting of commentary for discussion with T.
                                          Edgeller (AFG).
Landon Kenworthy     6/2/2017     0.5     Call with B. McConn (AFG) regarding W&C proposed changes to
                                          CNI/EBITDA definitions.
Landon Kenworthy     6/2/2017     0.5     Follow up correspondence with T. Edgeller (AFG) to review W&C
                                          proposed CNI and EBITDA definition changes.
Landon Kenworthy     6/3/2017     0.5     Evaluation of additional detail provided by T. Edgeller (AFG)
                                          regarding facility closures, consolidations, and relocation and
                                          incorporation of the same into the pro forma CNI/EBITDA
                                          calculations.
Landon Kenworthy     6/3/2017     0.5     Analysis of major facility closures, consolidations, and relocations
                                          to enhance pro forma calculations of CNI/EBITDA definition
                                          changes.
Landon Kenworthy     6/3/2017     2.0     Enhancement of historical EBITDA summary schedule to include
                                          LTM calculations and additional detail in preparation for
                                          discussion with DB.
Landon Kenworthy     6/3/2017     0.5     Discussion with T. Edgeller (AFG) to discuss impact of
                                          CNI/EBITDA definition changes and develop pro forma
                                          calculations under new definitions.
Landon Kenworthy     6/3/2017     0.5     Analysis of historical pro forma headcount reductions in
                                          connection with CNI/EBITDA language modifications from W&C.
                                          Follow up correspondence with T. Edgeller (AFG) regarding the
                                          same.
Sean Farrell         6/4/2017     0.5     Review of compliance analysis to prepare for call with Carlyle.

Landon Kenworthy     6/5/2017     0.5     Call with J. Roberts (K&E) to finalize EBITDA add-back analysis.



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Business Plan
Professional               Date     Hours     Activity
Landon Kenworthy         6/5/2017      0.5    Call with P. Saliba (DB) and J. Roberts (K&E) to discuss pro
                                              forma EBITDA add-backs.
Sean Farrell             6/5/2017      0.5    Prepare for conference call with Carlyle to review the cash flow
                                              forecast and compliance analysis.
Sean Farrell             6/5/2017      0.5    Review of EBITDA back up calculation for facilities closures.

Sean Farrell             6/8/2017      1.5    Review and refinement of the business plan schedule.

Sean Farrell             6/8/2017      1.5    Continue to prepare board reporting package.

Sean Farrell             6/8/2017      1.5    Compile reporting materials for the business plan and key
                                              performance indicators.
Sean Farrell             6/8/2017      0.5    Meet with Brian McConn (AFG) to discuss updates to the
                                              business plan and reporting.

Subtotal                              58.5



Cash Management
Professional               Date     Hours     Activity
Landon Kenworthy         5/1/2017      1.5    Research and correspondence with B. Minch (AFG) regarding 13-
                                              Week DIP Budget, in preparation for payment review meeting.
Sarah Margaret Pittman   5/1/2017      0.5    Prepare Cash Actuals file for L. Kenworthy (A&M).

Taylor Atwood            5/1/2017      0.5    Call with J. Georgeadis (HL) to discuss cash flow budget.

Taylor Atwood            5/1/2017      1.0    Call with J. Aron, B. McConn (AFG), K. Bailey (AFG) to discuss
                                              hedge termination letter, issues related thereto.
Taylor Atwood            5/1/2017      0.5    Review J. Aron hedge termination notice prior to call.

Jim Grady                5/2/2017      0.5    Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         5/2/2017      0.5    Research and response to J. Weber (K&E) question regarding
                                              professional fees forecast in post-petition period.
Taylor Atwood            5/2/2017      0.5    Confirm outstanding checks stop payments with K. Bailey (AFG).

Jim Grady                5/3/2017      0.5    Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.




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Cash Management
Professional               Date     Hours     Activity
Jim Grady                5/3/2017     1.0     Review and analysis of output from weekly payment review
                                              meeting and items targeted to be paid pursuant to orders granted
                                              under interim relief.
Landon Kenworthy         5/3/2017     0.5     Discussion with B. Minch (AFG) to assess most urgent vendor
                                              payment requests, in preparation for payment review meeting.
Landon Kenworthy         5/3/2017     2.0     Preparation of payment review file for DIP Budget financial
                                              covenant compliance, along with additional cash flow forecast
                                              model enhancements.
Landon Kenworthy         5/3/2017     0.5     Review of liquidity forecast based on feedback from T. Atwood
                                              (A&M).
Sarah Margaret Pittman   5/3/2017     1.0     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and T. Atwood (A&M), S. Farrell (all
                                              A&M), L. Kenworthy (A&M).
Sarah Margaret Pittman   5/3/2017     0.5     Review Voided Payment file from G. Wurm (AFG).

Taylor Atwood            5/3/2017     0.5     Follow up with G. Wurm (AFG) on remaining outstanding check
                                              stop payments.
Taylor Atwood            5/3/2017     1.5     Meeting with C. Samford (AFG), B. McConn (AFG) to discuss
                                              current liquidity forecast model.
Taylor Atwood            5/3/2017     1.0     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and L. Kenworthy (A&M), S. Farrell
                                              (all A&M), S. Pittman (A&M).
Taylor Atwood            5/3/2017     0.5     Review updated liquidity forecast spread from L. Kenworthy
                                              (A&M).
Jim Grady                5/4/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Jim Grady                5/4/2017     0.5     Correspondence and follow-up discussions with T. Atwood (A&M)
                                              re: Deutsche Bank ACH payment issues relative to the Automatic
                                              Stay.
Jim Grady                5/4/2017     0.5     Correspondence and follow-up discussions with M. Boone (HL), J.
                                              Georgeadis (HL) re: recent conversations with representatives
                                              from Carlyle Group.
Landon Kenworthy         5/4/2017     0.5     Communication with S. Farrell (A&M) and S. Pittman (A&M)
                                              regarding payment review meeting with Company.
Landon Kenworthy         5/4/2017     0.5     Finalization of payment review file for DIP Budget financial
                                              covenant compliance.
Sarah Margaret Pittman   5/4/2017     1.0     Work on Daily Cash Report 5/3. Submit to T. Atwood and L.
                                              Kenworthy (A&M).
Sarah Margaret Pittman   5/4/2017     0.5     Update Tuesday payments in "Daily Actuals_5 5" tab in 13 Week
                                              Cash Flow Actuals file.



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Cash Management
Professional               Date     Hours     Activity
Sarah Margaret Pittman   5/4/2017     1.0     Prepare for Payment Review meeting.

Sarah Margaret Pittman   5/4/2017     1.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company), S. Farrell (A&M), T. Atwood (A&M).
Sean Farrell             5/4/2017     1.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and T. Atwood (A&M), S. Pittman
                                              (A&M).
Taylor Atwood            5/4/2017     1.0     Call with C. Hayes (K&E) to discuss issues arising from Deutsche
                                              Bank ACH payment processing errors.
Taylor Atwood            5/4/2017     1.0     Call with B. McConn (AFG) to discuss ACH payment vendor
                                              reconciliations related to Deutsche Bank payment errors.
Taylor Atwood            5/4/2017     0.5     Follow up call with A. Munoz (DB), K. Bailey (AFG), B. McConn
                                              (AFG) to discuss issues related to Deutsche Bank cutoff errors.
Taylor Atwood            5/4/2017     1.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company), S. Farrell (A&M), S. Pittman (A&M).
Taylor Atwood            5/4/2017     0.5     Meeting with K. Bailey (AFG), B. McConn (AFG) to discuss issues
                                              related to Deutsche Bank cutoff errors.
Jim Grady                5/5/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Jim Grady                5/5/2017     0.5     Follow-up discussions with T. Atwood (A&M) re status on the
                                              Deutsche Bank ACH payment issues relative to the Automatic
                                              Stay, including strategy for communicating issue internally.
Landon Kenworthy         5/5/2017     0.5     Call with S. Pittman (A&M) regarding cash reconciliation and
                                              reporting.
Sarah Margaret Pittman   5/5/2017     0.5     Call with L. Kenworthy (A&M) regarding cash reconciliation and
                                              reporting.
Sarah Margaret Pittman   5/5/2017     1.5     Work on Daily Cash Report 5/4.

Taylor Atwood            5/5/2017     0.5     Call with B. McConn (AFG), T. Giles (AFG), K. Bailey (AFG) to
                                              discuss issues related to Deutsche Bank ACH payment
                                              processing errors.
Taylor Atwood            5/5/2017     0.5     Follow up call with T. Giles (AFG) to discuss outcome of call with
                                              Deutsche Bank team pertaining to ACH payment processing
                                              errors.
Taylor Atwood            5/5/2017     0.5     Call with B. McConn (AFG) to discuss timing of interest payments
                                              related to 1L pre-petition debt.
Taylor Atwood            5/5/2017     0.5     Follow-up discussions with J. Grady (A&M) re status on the
                                              Deutsche Bank ACH payment issues relative to the Automatic
                                              Stay, including strategy for communicating issue internally.
Taylor Atwood            5/5/2017     0.5     Call with C. Hayes (K&E) to discuss call with Deutsche Bank team
                                              regarding ACH payment processing errors.


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Cash Management
Professional               Date     Hours     Activity
Taylor Atwood            5/5/2017     0.5     All hands call with Deutsche Bank team, B. McConn (AFG), K.
                                              Bailey (AFG), T. Giles (AFG) to discuss issues related to ACH
                                              payment processing errors.
Landon Kenworthy         5/7/2017     0.5     Coordination to prepare for Shrinkfast payment review meeting.

Jim Grady                5/8/2017     0.5     Follow-up discussions with T. Atwood (A&M) re status on the
                                              Deutsche Bank ACH payment issues relative to the Automatic
                                              Stay, including follow-up from recent discussions with Deutsche
                                              Bank representatives.
Landon Kenworthy         5/8/2017     0.5     Conference call to discuss Shrinkfast payment review with T.
                                              Atwood (A&M), S. Farrell (A&M), B. McConn (AFG), T. Ripley
                                              (AFG), C. Milliken (AFG), and G. Wurm (AFG).
Landon Kenworthy         5/8/2017     0.5     Discussion with C. Ring (AFG) regarding certain ACH payments.

Landon Kenworthy         5/8/2017     2.0     Research and analysis regarding ACH payments file.

Sarah Margaret Pittman   5/8/2017     2.5     Update "Daily Actuals_5 5" tab in 13 Week Cash Flow Actuals file
                                              for receipts and disbursements on 5/5.
Sarah Margaret Pittman   5/8/2017     0.5     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                              Actuals file.
Sarah Margaret Pittman   5/8/2017     0.5     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/8/2017     1.0     Discuss Daily Cash Report WE 5 5 17 Friday with L. Kenworthy
                                              and T. Atwood (both A&M).
Sarah Margaret Pittman   5/8/2017     0.5     Review Daily Cash Report WE 5 5 17 Friday; submit to L.
                                              Kenworthy and T. Atwood (A&M).
Sarah Margaret Pittman   5/8/2017     0.5     Review "Daily Actuals_5 5" tab in 13 Week Cash Flow Actuals file.

Sean Farrell             5/8/2017     0.5     Conference call to discuss Shrinkfast payment review with L.
                                              Kenworthy (A&M), T. Atwood (A&M), B. McConn (AFG), T. Ripley
                                              (AFG), C. Milliken (AFG), and G. Wurm (AFG).
Taylor Atwood            5/8/2017     0.5     Participate in Deutsche Bank ACH payment request error issues
                                              call with W. Guerrieri (K&E), C. Hayes (K&E), B. McConn (AFG),
                                              T. Giles (AFG), K. Bailey (AFG).
Taylor Atwood            5/8/2017     0.5     Follow-up discussions with J. Grady (A&M) re status on the
                                              Deutsche Bank ACH payment issues relative to the Automatic
                                              Stay, including follow-up from recent discussions with Deutsche
                                              Bank representatives.
Taylor Atwood            5/8/2017     0.5     Conference call to discuss Shrinkfast payment review with L.
                                              Kenworthy (A&M), S. Farrell (A&M), B. McConn (AFG), T. Ripley
                                              (AFG), C. Milliken (AFG), and G. Wurm (AFG).
Jim Grady                5/9/2017     1.5     Review and analysis of the latest 13 week cash flow forecast in
                                              advance 5 PM discussion with representatives from HL and
                                              Carlyle Group.




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Cash Management
Professional               Date     Hours     Activity
Jim Grady                5/9/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         5/9/2017     0.5     Analysis of C. Ring (AFG) and M. Suchetski (AFG) file related to
                                              pre-petition wages payments.
Landon Kenworthy         5/9/2017     0.5     Call with J. Georgeadis (Houlihan) to prepare for upcoming
                                              liquidity forecast call with Carlyle.
Landon Kenworthy         5/9/2017     0.5     Review of daily Cash Actuals 5/9/17 report prepared by S.
                                              Pittman (A&M) and feedback regarding the same.
Landon Kenworthy         5/9/2017     1.0     Preparation for payment review meeting to discuss payments for
                                              WE 5/12.
Landon Kenworthy         5/9/2017     0.5     Discussion with B. Minch (AFG) regarding anticipated payment
                                              review requests in preparation for payment review meeting for WE
                                              5/12.
Landon Kenworthy         5/9/2017     1.0     Participation in payment review meeting to discuss payments for
                                              WE 5/11 with B. McConn (AFG), C. Ring (AFG), B. Minch (AFG),
                                              M. Frahm (AFG), T. Atwood (A&M), S. Farrell (A&M), and S.
                                              Pittman (A&M).
Sarah Margaret Pittman   5/9/2017     0.5     Review Variance WE 5 5 17 file; submit to T. Atwood (A&M).

Sarah Margaret Pittman   5/9/2017     0.5     Participation in payment review meeting to discuss payments for
                                              WE 5/11 with B. McConn (AFG), C. Ring (AFG), B. Minch (AFG),
                                              M. Frahm (AFG), L. Kenworthy (A&M), T. Atwood (A&M), and S.
                                              Farrell (A&M).
Sarah Margaret Pittman   5/9/2017     0.5     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                              Actuals file.
Sarah Margaret Pittman   5/9/2017     0.5     Update "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/9/2017     0.5     Review Daily Cash Report WE 5 12 17 Monday; submit to L.
                                              Kenworthy and T. Atwood (A&M).
Sarah Margaret Pittman   5/9/2017     1.5     Update "Daily Actuals_5 12" tab in 13 Week Cash Flow Actuals
                                              file for receipts and disbursements on 5/8.
Sean Farrell             5/9/2017     0.5     Participation in payment review meeting to discuss payments for
                                              WE 5/11 with B. McConn (AFG), C. Ring (AFG), B. Minch (AFG),
                                              M. Frahm (AFG), L. Kenworthy (A&M), T. Atwood (A&M), and S.
                                              Pittman (A&M).
Taylor Atwood            5/9/2017     1.0     Participation in payment review meeting to discuss payments for
                                              WE 5/11 with B. McConn (AFG), C. Ring (AFG), B. Minch (AFG),
                                              M. Frahm (AFG), L. Kenworthy (A&M), S. Farrell (A&M), and S.
                                              Pittman (A&M).




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Cash Management
Professional                Date     Hours     Activity
Jim Grady                5/10/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/10/2017     0.5     Review of WE 5/5 variance report prepared by S. Pittman (A&M).

Landon Kenworthy         5/10/2017     0.5     Correspondence and analysis with G. Wurm (AFG) regarding
                                               Houston property tax payment for determination of pre- vs. post-
                                               petition.
Landon Kenworthy         5/10/2017     0.5     Final review and delivery of WE 5/5 variance report to DB, HL,
                                               and PJT to remain in compliance with DIP Budget.
Landon Kenworthy         5/10/2017     0.5     Draft responses to J. Stegenga (A&M) questions regarding
                                               variance report.
Sarah Margaret Pittman   5/10/2017     2.5     Update "Daily Actuals_5 12" tab in 13 Week Cash Flow Actuals
                                               file for receipts and disbursements on 5/9.
Sarah Margaret Pittman   5/10/2017     0.5     Work in "Table 5_12" tab in 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/10/2017     1.5     Meeting to discuss daily bank vs. book cash reconciliation with T.
                                               Atwood (A&M).
Sarah Margaret Pittman   5/10/2017     0.5     Discuss "Daily Actuals_5 12" tab in 13 Week Cash Flow Actuals
                                               with L. Kenworthy (A&M).
Sarah Margaret Pittman   5/10/2017     0.5     Review DIP Budget Variance file; submit to T. Atwood (A&M).

Sarah Margaret Pittman   5/10/2017     0.5     Reconcile "ACH May 9" tab in 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/10/2017     1.5     Work in "Bridge 5_5" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/10/2017     1.5     Create "Daily Actuals_5 12_v2" tab in 13 Week Cash Flow
                                               Actuals file for receipts and disbursements on 5/9.
Taylor Atwood            5/10/2017     1.5     Meeting to discuss daily bank vs. book cash reconciliation with S.
                                               Pittman (A&M).
Jim Grady                5/11/2017     0.5     Correspondence with T. Atwood (A&M) re next steps relative to
                                               cash management procedures assuming the Company receives
                                               final approval on its DIP and receives the balance of the funds.
Jim Grady                5/11/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/11/2017     0.5     Review of 5/9 cash report prepared by S. Pittman (A&M).

Landon Kenworthy         5/11/2017     0.5     Coordination with S. Pittman (A&M) on preparation of weekly
                                               variance report.




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Cash Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman   5/11/2017     2.5     Update "Daily Actuals_5 12_v2" tab in 13 Week Cash Flow
                                               Actuals file for receipts and disbursements on 5/10; submit to L.
                                               Kenworthy (A&M).
Sarah Margaret Pittman   5/11/2017     0.5     Revise Daily Cash Report WE 5 12 17 Tuesday; submit to L.
                                               Kenworthy (A&M).
Taylor Atwood            5/11/2017     0.5     Correspondence with J. Grady (A&M) re next steps relative to
                                               cash management procedures assuming the Company receives
                                               final approval on its DIP and receives the balance of the funds.
Taylor Atwood            5/11/2017     0.5     Discussion with C. Hayes (K&E) regarding current status of
                                               Deutsche Bank ACH payment error recall process.
Jim Grady                5/12/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/12/2017     0.5     Additional review and feedback regarding 5/11 cash report to S.
                                               Pittman (A&M).
Landon Kenworthy         5/12/2017     0.5     Review of 5/11 cash report and feedback to S. Pittman (A&M).

Landon Kenworthy         5/12/2017     1.0     Research and correspondence with C. Ring (AFG) in response to
                                               utility vendor questions regarding adequate assurance deposit.
Landon Kenworthy         5/12/2017     0.5     Review of 5/10 cash report and feedback to S. Pittman (A&M).

Sarah Margaret Pittman   5/12/2017     0.5     Review Daily Cash Report WE 5 12 17 Thursday; submit to L.
                                               Kenworthy and T. Atwood (both A&M).
Sarah Margaret Pittman   5/12/2017     1.5     Revise Daily Cash Report WE 5 12 17 Wednesday; submit to L.
                                               Kenworthy and T. Atwood (both A&M).
Sarah Margaret Pittman   5/12/2017     2.5     Work in "Daily Actuals_5 12_v2" tab in 13 Week Cash Flow
                                               Actuals file for receipts and disbursements on 5/11.
Taylor Atwood            5/12/2017     0.5     Correspondence with C. Hayes (K&E), C. Ring (K&E) regarding
                                               utilities providers payments for pre-petition AP amounts.
Landon Kenworthy         5/13/2017     0.5     Review of daily cash actual modeling and assistance regarding
                                               pre vs. post-petition trade allocations in daily cash tracking file.
Landon Kenworthy         5/13/2017     0.5     Follow up correspondence with S. Pittman (A&M) regarding
                                               allocation of pre- vs. post-petition trade in daily cash tracking file.
Sarah Margaret Pittman   5/13/2017     1.0     Work in "Daily Actuals_5 12_v2" tab in 13 Week Cash Flow
                                               Actuals file.
Jim Grady                5/15/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget,




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Cash Management
Professional                Date     Hours     Activity
Jim Grady                5/15/2017     0.5     Follow-up discussions with T. Atwood (A&M) re status on the
                                               Deutsche Bank ACH payment issues and open issues pertaining
                                               to employees, suppliers, and operations.
Landon Kenworthy         5/15/2017     0.5     Discussion with S. Pittman (A&M) regarding DIP covenant
                                               compliance calculations.
Sarah Margaret Pittman   5/15/2017     0.5     Review with L. Kenworthy (A&M) regarding DB payment errors.

Sarah Margaret Pittman   5/15/2017     0.5     Research variance regarding Daily Cash Report WE 5 12 17
                                               Friday.
Sarah Margaret Pittman   5/15/2017     0.5     Work on Daily Cash Report WE 5 12 17 Friday.

Sarah Margaret Pittman   5/15/2017     1.5     Update "Daily Actuals_5 12_v2" tab of 13 Week Cash Flow
                                               Actuals file.
Sarah Margaret Pittman   5/15/2017     0.5     Research questions regarding Daily Cash Report WE 5 12 17
                                               Friday.
Sarah Margaret Pittman   5/15/2017     0.5     Review Daily Cash Report WE 5 12 17 Friday; submit to L.
                                               Kenworthy.
Taylor Atwood            5/15/2017     0.5     Discussions with J. Grady (A&M) re status on the Deutsche Bank
                                               ACH payment issues and open issues pertaining to employees,
                                               suppliers, and operations.
Jim Grady                5/16/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/16/2017     0.5     Discuss Daily Cash Report WE 5 19 17 Monday with S. Pittman
                                               (A&M).
Landon Kenworthy         5/16/2017     2.0     Review of outstanding diligence requests and coordination with T.
                                               Edgeller (AFG) and B. McConn (AFG) to gather information in
                                               response.
Landon Kenworthy         5/16/2017     2.0     Development of pre-petition and post-petition budgets in
                                               preparation for WE 5/19 payment review meeting.
Landon Kenworthy         5/16/2017     0.5     Research and response to T. Atwood (A&M) question regarding
                                               post-petition professional fee budgets.
Sarah Margaret Pittman   5/16/2017     1.5     Work in "Daily Actuals_5 19" tab of 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/16/2017     0.5     Work on Daily Cash Report WE 5 19 17 Monday.

Sarah Margaret Pittman   5/16/2017     0.5     Discuss Daily Cash Report WE 5 19 17 Monday with L.
                                               Kenworthy (A&M).
Sarah Margaret Pittman   5/16/2017     2.0     Work in "Bridge 5_12" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/16/2017     0.5     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.




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Cash Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman   5/16/2017     1.0     Revise Daily Cash Report WE 5 19 17 Monday.

Sarah Margaret Pittman   5/16/2017     0.5     Review Daily Cash Report WE 5 19 17 Monday; send to L.
                                               Kenworthy and T. Atwood (A&M).
Taylor Atwood            5/16/2017     1.0     Call with B. Minch (AFG) to discuss post-petition week 3 critical
                                               vendor budget.
Taylor Atwood            5/16/2017     0.5     Meeting with B. McConn (AFG) to discuss liquidity forecast
                                               update.
Taylor Atwood            5/16/2017     1.0     Work on bank vs. book cash reconciliation model from S. Pittman
                                               (A&M).
Taylor Atwood            5/16/2017     0.5     Review updated post-petition week 3 pre-petition payments
                                               budget reconciliation from L. Kenworthy (A&M).
Taylor Atwood            5/16/2017     0.5     Review daily cash actuals from S. Pittman (A&M).

Jim Grady                5/17/2017     0.5     Review of draft copy of the executed Committed Loan Notice for
                                               the Company to receive the balance of the DIP Proceeds ($45
                                               million).
Jim Grady                5/17/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/17/2017     1.0     Preparation for payment review meeting to discuss payments for
                                               WE 5/19.
Landon Kenworthy         5/17/2017     0.5     Delivery of WE 5/12 variance report to DB, HL, and PJT to remain
                                               in compliance with DIP covenants.
Landon Kenworthy         5/17/2017     1.0     Participation in payment review meeting to discuss payments for
                                               WE 5/19 with S. Farrell (A&M), S. Pittman (A&M), T. Atwood
                                               (A&M) B. Minch (AFG), M. Frahm (AFG), and C. Ring (AFG).
Landon Kenworthy         5/17/2017     1.5     Discussion with B. Minch (AFG) and M. Frahm (AFG) regarding
                                               transition planning for ongoing cash management post-
                                               emergence.
Landon Kenworthy         5/17/2017     0.5     Review of correspondence regarding D&O insurance to assess
                                               impact on cash flows.
Landon Kenworthy         5/17/2017     0.5     Review of pressure pumping receipts data from M. Meadows
                                               (AFG) and new gas compression contract down payment.
Landon Kenworthy         5/17/2017     0.5     Review of variance report for the WE 5/12 and feedback to S.
                                               Pittman (A&M).
Landon Kenworthy         5/17/2017     0.5     Coordination with S. Pittman (A&M) regarding cash report
                                               circulation.
Sarah Margaret Pittman   5/17/2017     0.5     Review Daily Cash Report WE 5 19 17 Tuesday; submit to B.
                                               McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   5/17/2017     0.5     Review Variance Package file; submit to L. Kenworthy (A&M).



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Cash Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman   5/17/2017     0.5     Revise Variance Package file; submit to L. Kenworthy (A&M).

Sarah Margaret Pittman   5/17/2017     0.5     Work on Daily Cash Report WE 5 19 17 Tuesday.

Sarah Margaret Pittman   5/17/2017     1.5     Update "Daily Actuals_5 19" tab of 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/17/2017     0.5     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                               Actuals file.
Sarah Margaret Pittman   5/17/2017     0.5     Participation in payment review meeting to discuss payments for
                                               WE 5/19 with L. Kenworthy (A&M), S. Farrell (A&M), T. Atwood
                                               (A&M) B. Minch (AFG), M. Frahm (AFG), and C. Ring (AFG).
Sarah Margaret Pittman   5/17/2017     1.5     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/17/2017     0.5     Discuss Variance Package file with L. Kenworthy (A&M).

Sean Farrell             5/17/2017     0.5     Participation in payment review meeting to discuss payments for
                                               WE 5/19 with L. Kenworthy (A&M), S. Pittman (A&M), T. Atwood
                                               (A&M) B. Minch (AFG), M. Frahm (AFG), and C. Ring (AFG).
Taylor Atwood            5/17/2017     0.5     Review and provide comments on draft weekly variance report to
                                               S. Pittman (A&M).
Taylor Atwood            5/17/2017     0.5     Participation in payment review meeting to discuss payments for
                                               WE 5/19 with L. Kenworthy (A&M), S. Pittman (A&M), S. Farrell
                                               (A&M) B. Minch (AFG), M. Frahm (AFG), and C. Ring (AFG).
Taylor Atwood            5/17/2017     1.0     Review and provide comments to L. Kenworthy (A&M) on current
                                               liquidity forecast, NRG cash flow analysis.
Jim Grady                5/18/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/18/2017     0.5     Review of B. Minch (AFG) request for supplemental cash
                                               disbursements this week and coordination regarding the same.
Landon Kenworthy         5/18/2017     0.5     Discussion with B. McConn (AFG) regarding current view on
                                               forecasted cash at emergence and discussion of certain pressure
                                               pumping receipts.
Landon Kenworthy         5/18/2017     0.5     Review of 5/17 cash report and feedback to S. Pittman (A&M).

Landon Kenworthy         5/18/2017     0.5     Research and communication with D. Fitzpatrick (Lazard)
                                               regarding success fee crediting for purposes of estimating
                                               professional fee payments at emergence.
Landon Kenworthy         5/18/2017     0.5     Discussion with B. Minch (AFG) regarding timing of upcoming
                                               payment review meeting.
Landon Kenworthy         5/18/2017     1.5     Review of updated major projects schedule for pressure pumping
                                               receipts and disbursements.




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Cash Management
Professional                Date     Hours     Activity
Landon Kenworthy         5/18/2017     1.5     Review of terms and projected cash flows associated with new
                                               pressure pumping contract.
Sarah Margaret Pittman   5/18/2017     0.5     Revise Daily Cash Report WE 5 19 17 Wednesday; submit to B.
                                               McConn and T. Edgeller (both AFG).
Sarah Margaret Pittman   5/18/2017     0.5     Review Daily Cash Report WE 5 19 17 Wednesday; submit to L.
                                               Kenworthy (A&M).
Sarah Margaret Pittman   5/18/2017     0.5     Create Daily Cash Report WE 5 19 17 Wednesday.

Sarah Margaret Pittman   5/18/2017     1.5     Work in "Daily Actuals_5 19" tab of 13 Week Cash Flow Actuals
                                               file.
Jim Grady                5/19/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/19/2017     0.5     Review of 5/18 cash report and feedback to S. Pittman (A&M).

Landon Kenworthy         5/19/2017     0.5     Review of W&C invoice and assessment of incremental impact on
                                               cash flows.
Sarah Margaret Pittman   5/19/2017     0.5     Work on Daily Cash Report WE 5 19 17 Thursday.

Sarah Margaret Pittman   5/19/2017     0.5     Review Daily Cash Report WE 5 19 17 Thursday; submit to B.
                                               McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   5/19/2017     1.5     Update "Daily Actuals_5 19" tab of 13 Week Cash Flow Actuals
                                               file.
Landon Kenworthy         5/20/2017     0.5     Correspondence with C. Ring (AFG) regarding outstanding AP.

Jim Grady                5/22/2017     0.5     Follow-up discussion with C. Hayes (K&E) re status and timing of
                                               the final DIP draw due to delays in getting final DIP order,
                                               including correspondence with L. Kenworthy (A&M) re update on
                                               same.
Jim Grady                5/22/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/22/2017     0.5     Correspondence with T. Edgeller (AFG) regarding MHWirth
                                               payments.
Landon Kenworthy         5/22/2017     0.5     Follow up communication with B. Minch (AFG) on timing of pre-
                                               petition payments.
Landon Kenworthy         5/22/2017     0.5     Correspondence with C. Ring (AFG) regarding outstanding AP.

Landon Kenworthy         5/22/2017     1.0     Correspondence with B. Minch (AFG) regarding payment timing
                                               for pre-petition vendor payments.
Landon Kenworthy         5/22/2017     0.5     Review and approval of payment request from B. Minch (AFG).



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Cash Management
Professional                Date     Hours     Activity
Landon Kenworthy         5/22/2017     0.5     Correspondence with T. Edgeller (AFG) regarding timing of
                                               MHWirth payments.
Landon Kenworthy         5/22/2017     0.5     Correspondence with C. Ring (AFG) regarding updated AP aging
                                               report.
Landon Kenworthy         5/22/2017     2.0     Preparation of pre- and post-petition budgets for B. Minch (AFG)
                                               and B. McConn (AFG) in preparation for payment review meeting
                                               on 5/23.
Sarah Margaret Pittman   5/22/2017     1.5     Work in "Daily Actuals_5 19" tab in 13 Week Cash Flow Actuals
                                               file.
Jim Grady                5/23/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/23/2017     0.5     Correspondence with B. McConn (AFG) regarding pressure
                                               pumping forecast update.
Landon Kenworthy         5/23/2017     0.5     Research and response to B. McConn (AFG) questions regarding
                                               pressure pumping receipts.
Landon Kenworthy         5/23/2017     0.5     Payment Review Meeting/Call with B. McConn (AFG), B. Minch
                                               (AFG), C. Ring (AFG), and S. Pittman (A&M).
Landon Kenworthy         5/23/2017     1.0     Preparation of disbursement budget in preparation for payment
                                               review meeting, to remain in compliance with DIP covenants.
Sarah Margaret Pittman   5/23/2017     1.0     Create "Daily Actuals_5 26" tab in 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/23/2017     0.5     Payment Review Meeting/Call with B. McConn, B. Minch, C. Ring
                                               (all AFG), and L. Kenworthy (A&M).
Jim Grady                5/24/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Jim Grady                5/24/2017     0.5     Follow-up correspondence and discussions with E. Middleton
                                               (Carlyle), S. Read (Carlyle) and B. McConn (AFG) re certain data
                                               requests relative to the 13 week liquidity forecasts and Budget-to-
                                               Actual variance analysis reports.
Jim Grady                5/24/2017     0.5     Discussion with C. Samford (AFG), B. McConn (AFG), M. Terry
                                               (AFG), M. Meadows (AFG), K. Rippon (AFG), and L. Kenworthy
                                               (A&M) regarding pressure pumping receipts forecast in
                                               preparation for delivery of new budget.
Landon Kenworthy         5/24/2017     0.5     Review of variance report for the WE 5/19 and feedback to S.
                                               Pittman (A&M) regarding the same.
Landon Kenworthy         5/24/2017     0.5     Cash meeting call with B. McConn (AFG), T. Edgeller (AFG), S.
                                               Pittman (A&M).



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Cash Management
Professional                Date     Hours     Activity
Landon Kenworthy         5/24/2017     0.5     Correspondence with J. Beltran (AFG) regarding variance
                                               analysis related to cash receipts.
Landon Kenworthy         5/24/2017     0.5     Response to B. Seline (FR) question regarding updated cash flow
                                               forecast.
Landon Kenworthy         5/24/2017     0.5     Discussion with C. Samford (AFG), B. McConn (AFG), M. Terry
                                               (AFG), M. Meadows (AFG), K. Rippon (AFG), and J Grady (A&M)
                                               regarding pressure pumping receipts forecast in preparation for
                                               delivery of new budget.
Landon Kenworthy         5/24/2017     0.5     Review of new pressure pumping contract detail to assess impact
                                               on cash flow forecast.
Landon Kenworthy         5/24/2017     1.0     Preparation of summary schedules for pressure pumping receipts
                                               in anticipation of group discussion.
Landon Kenworthy         5/24/2017     0.5     Call with S. Pittman (A&M) to discuss variance report.

Sarah Margaret Pittman   5/24/2017     0.5     Prep for cash meeting call.

Sarah Margaret Pittman   5/24/2017     1.0     Calls with L. Kenworthy (A&M) regarding cash variance reports.

Sarah Margaret Pittman   5/24/2017     0.5     Review Daily Cash WE 5 26 17 Wednesday Report; send to L.
                                               Kenworthy (A&M).
Sarah Margaret Pittman   5/24/2017     1.0     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                               Actuals file.
Sarah Margaret Pittman   5/24/2017     1.0     Update "Daily Actuals_5 26" tab in 13 Week Cash Flow Actuals
                                               file for receipts and disbursements on 5/23.
Sarah Margaret Pittman   5/24/2017     0.5     Cash meeting call with B. McConn, T. Edgeller (both AFG) and L.
                                               Kenworthy (A&M).
Sarah Margaret Pittman   5/24/2017     0.5     Work in "Compliance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/24/2017     1.0     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Taylor Atwood            5/24/2017     0.5     Review updated cash flow forecast, near term liquidity output from
                                               L. Kenworthy (A&M).
Jim Grady                5/25/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/25/2017     0.5     Coordination with T. Edgeller (AFG) and C. Ring (AFG) regarding
                                               updating AP and PO files in preparation for cash flow forecast
                                               update.
Landon Kenworthy         5/25/2017     0.5     Distribution of past due schedules and correspondence regarding
                                               the same.
Landon Kenworthy         5/25/2017     0.5     Call with S. Pittman (A&M) to discuss 5/25 daily cash report.




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Cash Management
Professional                Date     Hours     Activity
Landon Kenworthy         5/25/2017     0.5     Discussion and correspondence with K. Bailey (AFG) regarding
                                               down payment on pressure pumping contract.
Landon Kenworthy         5/25/2017     0.5     Call with S. Read (Carlyle) to respond to questions regarding
                                               variance report.
Landon Kenworthy         5/25/2017     0.5     Correspondence with M. Meadows (AFG) regarding update of
                                               major projects schedule in preparation for cash flow forecast
                                               update.
Landon Kenworthy         5/25/2017     0.5     Discussion with G. Wurm (AFG) regarding upcoming tax
                                               payments and review of summary schedule in preparation for
                                               cash flow forecast update.
Landon Kenworthy         5/25/2017     2.0     Initial development of cash flow forecast update.

Landon Kenworthy         5/25/2017     0.5     Analysis and response to C. Ring (AFG) e-mail regarding
                                               supplemental disbursement request.
Landon Kenworthy         5/25/2017     0.5     Call with S. Pittman (A&M) to finalize 5/25 daily cash report.

Landon Kenworthy         5/25/2017     2.0     Preparation of summary schedule regarding past due amounts
                                               and analysis of the same.
Sarah Margaret Pittman   5/25/2017     0.5     Review then submit Daily Cash WE 5 26 17 Wednesday Report to
                                               C. Samford, B. McConn, and T. Edgeller (all AFG).
Sarah Margaret Pittman   5/25/2017     1.5     Reconcile "Daily Actuals_5 26" tab in 13 Week Cash Flow Actuals
                                               file for receipts and disbursements on 5/24.
Sarah Margaret Pittman   5/25/2017     0.5     Call with L. Kenworthy (A&M) to finalize 5/25 daily cash report.

Sarah Margaret Pittman   5/25/2017     0.5     Call with L. Kenworthy (A&M) to finalize 5/25 daily cash report.

Jim Grady                5/26/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/26/2017     0.5     Correspondence with M. Meadows (AFG) regarding new pressure
                                               pumping contract and associated upfront deposit.
Landon Kenworthy         5/26/2017     0.5     Analysis of new pressure pumping contract.

Landon Kenworthy         5/26/2017     0.5     Correspondence with J. Beltran (AFG) regarding AR report for
                                               upcoming cash flow forecast update.
Landon Kenworthy         5/26/2017     0.5     Call with B. Minch (AFG) to discuss upcoming payment review
                                               meeting, budget to actual variances, and pressure pumping
                                               activity.
Landon Kenworthy         5/26/2017     0.5     Review of daily cash report for 5/26 and feedback to S. Pittman
                                               (A&M) regarding the same.
Landon Kenworthy         5/26/2017     2.0     Preparation of pressure pumping receipts and disbursements
                                               forecast as part of cash flow forecast update and analysis of the
                                               same.



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Professional                Date     Hours     Activity
Landon Kenworthy         5/26/2017     0.5     Call with B. McConn (AFG) to discuss cash flow forecast revisions.

Landon Kenworthy         5/26/2017     0.5     Research regarding adequate protection payment requirements in
                                               the Plan to prepare cash flow forecast update and
                                               correspondence with J. Weber (K&E) regarding the same.
Sarah Margaret Pittman   5/26/2017     1.5     Update "Daily Actuals_5 26" tab in 13 Week Cash Flow Actuals
                                               file for receipts and disbursements on 5/25.
Sarah Margaret Pittman   5/26/2017     0.5     Review Daily Cash Report WE 5 26 17 Thursday; submit to L.
                                               Kenworthy.
Landon Kenworthy         5/27/2017     2.0     Development and analysis of operating receipts and
                                               disbursements forecast as part of cash flow forecast update.
Landon Kenworthy         5/29/2017     2.0     Development and analysis of non-recurring disbursements as part
                                               of cash flow forecast update.
Sarah Margaret Pittman   5/29/2017     0.5     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                               Actuals file.
Sarah Margaret Pittman   5/29/2017     0.5     Update "Daily Actuals_5 26" tab of 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/29/2017     0.5     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Jim Grady                5/30/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/30/2017     0.5     Payment review meeting with C. Ring (AFG), B. Minch (AFG), T.
                                               Atwood (A&M), and S. Pittman (A&M).
Landon Kenworthy         5/30/2017     0.5     Conversation with K. Bailey (AFG) regarding status of settlement
                                               discussions and timing of potential cash receipts.
Landon Kenworthy         5/30/2017     0.5     Analysis of open AR and correspondence with J. Beltran (AFG)
                                               regarding the same.
Landon Kenworthy         5/30/2017     0.5     Response to DB questions regarding accrued interest calculations
                                               for payment at emergence.
Landon Kenworthy         5/30/2017     0.5     Research and correspondence with Y. Okabe (DB) regarding
                                               accrued interest payments due at close.
Landon Kenworthy         5/30/2017     0.5     Coordination with K. Bailey (AFG) to verify accrued interest
                                               amounts in DB invoices prior to payment at close.
Landon Kenworthy         5/30/2017     1.5     Review of prior interest and adequate protection payments and
                                               correspondence with DB regarding preparation of related interest
                                               invoices prior to emergence.
Landon Kenworthy         5/30/2017     0.5     Communication with T. Edgeller (AFG) regarding MHWirth
                                               payments in preparation to update cash flow forecast.
Landon Kenworthy         5/30/2017     0.5     Response to DB questions regarding timing of accrued interest
                                               payments in connection with emergence.



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Cash Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman   5/30/2017     1.0     Update "Daily Actuals_5 26" tab of 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/30/2017     0.5     Create Daily Cash Report WE 5 26 17 Friday.

Sarah Margaret Pittman   5/30/2017     0.5     Create Overseas Cash Summary.

Sarah Margaret Pittman   5/30/2017     0.5     Reconcile "Cumulative Variance" tab of 13 Week Cash Flow
                                               Actuals file.
Sarah Margaret Pittman   5/30/2017     0.5     Work in "Summary" tab of 13 Week Cash Flow Actuals file; submit
                                               to L. Kenworthy.
Sarah Margaret Pittman   5/30/2017     1.5     Work on professional fees estimate.

Sarah Margaret Pittman   5/30/2017     0.5     Review professional fees estimate; submit to L. Kenworthy (A&M).

Sarah Margaret Pittman   5/30/2017     0.5     Payment review meeting with B. McConn, M. Frahm, C. Ring, K.
                                               Bailey, B. Minch (all AFG), T. Atwood, and L. Kenworthy (A&M).
Sarah Margaret Pittman   5/30/2017     0.5     Review Daily Cash Report WE 5 26 17 Friday; submit to C.
                                               Samford (AFG).
Sarah Margaret Pittman   5/30/2017     1.5     Work in "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Taylor Atwood            5/30/2017     0.5     Payment review meeting with B. McConn, M. Frahm, C. Ring, K.
                                               Bailey, B. Minch (all AFG), L. Kenworthy, L. Kenworthy (A&M), S.
                                               Pittman (A&M).
Jim Grady                5/31/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy         5/31/2017     0.5     Analysis and development of 1Q17 unlevered free cash flow
                                               adjustments with T. Edgeller (AFG) in response to request from D.
                                               Fitzpatrick (Lazard).
Landon Kenworthy         5/31/2017     0.5     Weekly cash report meeting with B. McConn (AFG), T. Edgeller
                                               (AFG), T. Atwood (A&M), and S. Pittman (A&M).
Landon Kenworthy         5/31/2017     2.0     Research and analysis related to historical and projected
                                               unlevered free cash flow in response to questions from D.
                                               Fitzpatrick (Lazard).
Landon Kenworthy         5/31/2017     0.5     Review of historical non-operating cash flows and analysis of
                                               projected non-operating cash flows in updated cash flow forecast.
Landon Kenworthy         5/31/2017     0.5     Review of historical operating cash flow activity and analysis of
                                               forecast operating cash flow activity to updated cash flow forecast.
Landon Kenworthy         5/31/2017     0.5     Discussion with C. Samford (AFG), B. McConn (AFG), E.
                                               Middleton (Carlyle), and T. Atwood (A&M) regarding cash flow
                                               forecast through 9/30.
Landon Kenworthy         5/31/2017     0.5     Final review and delivery of WE 5/26 variance report to DB, HL,
                                               and PJT to remain in compliance with DIP Budget.



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Cash Management
Professional                Date     Hours     Activity
Landon Kenworthy         5/31/2017     2.0     Analysis of all changes in updated cash flow forecast relative to
                                               DIP Budget forecast and summary of major differences in
                                               preparation for discussion.
Landon Kenworthy         5/31/2017     0.5     Discuss variance report for WE 5/26 with S. Pittman (A&M).

Landon Kenworthy         5/31/2017     0.5     Discussion with T. Edgeller (AFG) regarding long term liquidity
                                               forecast in response to questions from E. Middleton (Carlyle).
Landon Kenworthy         5/31/2017     0.5     Analysis of professional fees in connection with cash flow forecast
                                               update.
Landon Kenworthy         5/31/2017     0.5     Analysis of open AP and correspondence with C. Ring (AFG)
                                               regarding the same.
Sarah Margaret Pittman   5/31/2017     1.0     Update "Daily Actuals_6 2" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/31/2017     0.5     Discuss variance reports with L. Kenworthy (A&M).

Sarah Margaret Pittman   5/31/2017     0.5     Weekly cash report meeting with B. McConn, T. Edgeller (both
                                               AFG), T. Atwood, and L. Kenworthy (both A&M).
Sarah Margaret Pittman   5/31/2017     0.5     Work in "Cumulative Variance" tab of 13 Week Cash Flow Actuals
                                               file.
Sarah Margaret Pittman   5/31/2017     1.5     Update "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   5/31/2017     0.5     Review Daily Cash Report WE 6 2 17 Tuesday; submit to B.
                                               McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   5/31/2017     1.0     Work on Daily Cash Report WE 6 2 17 Tuesday.

Sarah Margaret Pittman   5/31/2017     0.5     Review "Compliance" tab of 13 Week Cash Flow Actuals file.

Sean Farrell             5/31/2017     1.5     Participate in a portion of the meeting with the company to review
                                               the cash flow forecast.
Taylor Atwood            5/31/2017     0.5     Weekly cash report meeting with B. McConn, T. Edgeller (both
                                               AFG), T. Atwood, and L. Kenworthy (both A&M).
Taylor Atwood            5/31/2017     0.5     Review, comment on weekly variance report from S. Pittman
                                               (A&M).
Taylor Atwood            5/31/2017     0.5     Discussion with C. Samford (AFG), B. McConn (AFG), E.
                                               Middleton (Carlyle), and L. Kenworthy (A&M) regarding cash flow
                                               forecast through 9/30.
Taylor Atwood            5/31/2017     0.5     Review daily cash actuals from S. Pittman (A&M).

Jim Grady                 6/1/2017     0.5     Review of the Company's daily cash report as prepared by
                                               Treasury, comparing actual daily cash receipts and
                                               disbursements with budgeted amounts, reviewing near term cash
                                               balances, and the anticipated end of week cash balance as
                                               compared to the DIP budget.
Landon Kenworthy          6/1/2017     0.5     Review of accrued interest calculation sent by DB and
                                               incorporation into cash flow forecast.




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Professional               Date     Hours     Activity
Landon Kenworthy         6/1/2017     0.5     Discussion with C. Ring (AFG) regarding actual week to date
                                              disbursements and incremental disbursements this week.
Landon Kenworthy         6/1/2017     0.5     Meeting with C. Samford (AFG), B. McConn (AFG), and T.
                                              Atwood (A&M) regarding updated cash flow forecast.
Landon Kenworthy         6/1/2017     1.5     Finalization of cash flow forecast prior to distribution.

Landon Kenworthy         6/1/2017     0.5     Communication with S. Farrell (A&M) regarding development of
                                              long-term liquidity forecast in response to request from E.
                                              Middleton (Carlyle).
Landon Kenworthy         6/1/2017     1.5     Incorporating feedback to cash flow forecast update prior to
                                              review with management.
Sarah Margaret Pittman   6/1/2017     1.0     Create Cash Report Steps file.

Sarah Margaret Pittman   6/1/2017     0.5     Work on Daily Cash Report WE 6 2 17 Wednesday.

Sarah Margaret Pittman   6/1/2017     0.5     Review Daily Cash Report WE 6 2 17 Wednesday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   6/1/2017     1.5     Update "Daily Actuals_6 2" tab of 13 Week Cash Flow Actuals file.

Taylor Atwood            6/1/2017     0.5     Meeting with C. Samford (AFG), B. McConn (AFG), and L.
                                              Kenworthy (A&M) regarding updated cash flow forecast.
Jim Grady                6/2/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         6/2/2017     0.5     Review of 6/2 daily cash report and feedback for S. Pittman
                                              (A&M).
Landon Kenworthy         6/2/2017     0.5     Review of correspondence from M. Meadows (AFG) regarding
                                              pressure pumping payment and assessment of impact on cash
                                              flow forecast.
Landon Kenworthy         6/2/2017     1.5     Development of operating and non-operating cash disbursements
                                              forecast through 12/31.
Landon Kenworthy         6/2/2017     0.5     Review of M. Meadows (AFG) correspondence regarding new
                                              pressure pumping contract and analysis of impact on cash flow
                                              forecast.
Landon Kenworthy         6/2/2017     0.5     Development of operating cash receipts forecast through 12/31 in
                                              response to request from E. Middleton (Carlyle).
Landon Kenworthy         6/2/2017     0.5     Analysis of Q3 to Q4 cash flow forecast in response to E.
                                              Middleton (Carlyle) request.
Sarah Margaret Pittman   6/2/2017     0.5     Work on Daily Cash Report WE 6 2 17 Thursday.

Sarah Margaret Pittman   6/2/2017     0.5     Review Daily Cash Report WE 6 2 17 Thursday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).




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Cash Management
Professional               Date     Hours     Activity
Sarah Margaret Pittman   6/2/2017     1.5     Work in "Daily Actuals_6 2" tab of 13 Week Cash Flow Actuals file.

Jim Grady                6/5/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         6/5/2017     2.0     Development of extended forecast through 12/31 in response to
                                              request from Carlyle.
Sarah Margaret Pittman   6/5/2017     1.5     Work in "Daily Actuals_6 9" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/5/2017     0.5     Discuss Daily Cash Report WE 6 2 17 Friday with L. Kenworth
                                              (A&M).
Sarah Margaret Pittman   6/5/2017     1.0     Work on Daily Cash Report WE 6 2 17 Friday.

Sarah Margaret Pittman   6/5/2017     0.5     Update "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/5/2017     0.5     Review Daily Cash Report WE 6 2 17 Monday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Taylor Atwood            6/5/2017     0.5     Review daily cash actuals from S. Pittman (A&M).

Jim Grady                6/6/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         6/6/2017     0.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and S. Pittman (A&M) and L.
                                              Kenworthy (A&M)
Landon Kenworthy         6/6/2017     1.0     Preparation of distribution materials for payment review meeting
                                              to manage liquidity.
Landon Kenworthy         6/6/2017     0.5     Discuss ACH timing difference with T. Atwood and L. Kenworthy
                                              (A&M)
Sarah Margaret Pittman   6/6/2017     0.5     Preparation for payment review meeting; review actuals files.

Sarah Margaret Pittman   6/6/2017     0.5     Discuss Daily Cash Report WE 6 9 17 Monday with L. Kenworthy
                                              (A&M).
Sarah Margaret Pittman   6/6/2017     1.5     Work in "Daily Actuals_6 9" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/6/2017     1.0     Update "Weekly Variance" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/6/2017     0.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and T. Atwood and L. Kenworthy
                                              (both A&M).
Sarah Margaret Pittman   6/6/2017     0.5     Review Daily Cash Report WE 6 9 17 Monday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   6/6/2017     0.5     Update in ACH Float file.


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Sarah Margaret Pittman   6/6/2017     1.5     Work in "ACH Timing" tab of Cash Flow Actuals file.

Sarah Margaret Pittman   6/6/2017     0.5     Discuss ACH timing difference with T. Atwood and L. Kenworthy
                                              (A&M).
Taylor Atwood            6/6/2017     1.0     Work on revising daily ACH float analysis pertaining to book vs.
                                              bank cash reconciliations for daily cash actuals.
Taylor Atwood            6/6/2017     0.5     Payment review meeting with B. McConn, B. Minch, M. Frahm, C.
                                              Ring, K. Bailey (all company) and S. Pittman (A&M) and L.
                                              Kenworthy (A&M).
Taylor Atwood            6/6/2017     0.5     Discuss ACH timing difference with S. Pittman (A&M) and L.
                                              Kenworthy (A&M).
Jim Grady                6/7/2017     0.5     Review of the Company's daily cash report as prepared by
                                              Treasury, comparing actual daily cash receipts and
                                              disbursements with budgeted amounts, reviewing near term cash
                                              balances, and the anticipated end of week cash balance as
                                              compared to the DIP budget.
Landon Kenworthy         6/7/2017     0.5     Review of variance report for the WE 6/2 and correspondence
                                              with S. Pittman (A&M) regarding the same.
Sarah Margaret Pittman   6/7/2017     1.5     Update "Daily Actuals_6 9" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/7/2017     0.5     Discuss Daily Cash Report WE 6 9 17 Tuesday with L. Kenworth
                                              (A&M).
Sarah Margaret Pittman   6/7/2017     0.5     Review Daily Cash Report WE 6 9 17 Tuesday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   6/7/2017     1.0     Working session with T. Atwood (A&M) regarding daily cash
                                              actuals update model roll-up changes.
Sarah Margaret Pittman   6/7/2017     0.5     Work on Variance Report; submit to B. McConn (AFG).

Sarah Margaret Pittman   6/7/2017     1.0     Work in Cash Report Steps file.

Taylor Atwood            6/7/2017     0.5     Review, provide comments to updated weekly variance report
                                              from S. Pittman (A&M).
Taylor Atwood            6/7/2017     1.0     Meeting with B. McConn to discuss NRG/pressure pumping cash
                                              receipts, disbursements in liquidity forecast.
Taylor Atwood            6/7/2017     1.0     Draft receipts roll-up model for daily cash actuals file pertaining to
                                              daily updates from treasury team.
Taylor Atwood            6/7/2017     1.0     Working session with S. Pittman (A&M) regarding daily cash
                                              actuals update model roll-up changes.
Sarah Margaret Pittman   6/8/2017     0.5     Review Daily Cash Report WE 6 9 17 Wednesday; submit to B.
                                              McConn, T. Edgeller (both AFG), and L. Kenworthy (A&M).
Sarah Margaret Pittman   6/8/2017     1.5     Work in "Daily Actuals_6 9" tab of 13 Week Cash Flow Actuals file.

Sarah Margaret Pittman   6/8/2017     0.5     Discuss Daily Cash Report WE 6 9 17 Wednesday with L.
                                              Kenworth (A&M).



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Cash Management
Professional               Date     Hours     Activity
Taylor Atwood            6/8/2017      0.5    Review daily cash actuals from S. Pittman (A&M).


Subtotal                             268.5



Coordination & Communication with Creditor Constituents
Professional               Date     Hours     Activity
Landon Kenworthy         5/1/2017      0.5    Calls with J. Georgeadis (Houlihan) to respond to questions
                                              regarding 9/30 forecast and due diligence requests, including
                                              EBITDA calculations.
Landon Kenworthy         5/1/2017      0.5    Discuss diligence list from Houlihan with S. Pittman (A&M).

Landon Kenworthy         5/1/2017      1.5    Research and response to Houlihan due diligence request for
                                              information regarding pressure pumping operations and contracts.
Sarah Margaret Pittman   5/1/2017      0.5    Discuss diligence list from Houlihan with L. Kenworthy (A&M)

Landon Kenworthy         5/2/2017      0.5    Preparation of cash flow forecast through 9/30 with historical
                                              actuals layered in for comparison in response to J. Georgeadis
                                              (Houlihan) request.
Sarah Margaret Pittman   5/2/2017      1.5    Work in "Houlihan Lokey" tab of Diligence Request List file;
                                              update for latest diligence request list from Houlihan Lokey.
Sean Farrell             5/2/2017      0.5    Revise of diligence list from Houlihan Lokey.

Landon Kenworthy         5/3/2017      0.5    Review of financial covenants and reporting requirements of DIP
                                              agreement and correspondence with J. Georgeadis (Houlihan)
                                              regarding the same to ensure compliance with DIP agreement.
Landon Kenworthy         5/4/2017      1.5    Preparation of updated 9/30 liquidity forecast in response to J.
                                              Georgeadis (Houlihan) request.
Sarah Margaret Pittman   5/4/2017      1.0    Update Diligence Tracker file.

Sarah Margaret Pittman   5/4/2017      1.0    Work in Diligence Tracker file and submit to Houlihan.

Sarah Margaret Pittman   5/4/2017      0.5    Call with K&E regarding diligence request list from Houlihan.

Sarah Margaret Pittman   5/4/2017      0.5    Upload diligence request files to data room.

Landon Kenworthy         5/8/2017      0.5    Communication with J. Georgeadis (HL) regarding updated
                                              liquidity forecast.
Sarah Margaret Pittman   5/8/2017      1.5    Update "Houlihan Lokey" tab of Diligence Request List file for
                                              completed requests.
Sarah Margaret Pittman   5/9/2017      1.0    Update "Houlihan Lokey" tab of Diligence Request List file.

Sarah Margaret Pittman   5/9/2017      0.5    Research questions from T. Giles (AFG) regarding Diligence
                                              Request List.




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Coordination & Communication with Creditor Constituents
Professional                Date     Hours     Activity
Sean Farrell              5/9/2017      1.5    Review of master diligence request tracker and provide
                                               comments.
Sarah Margaret Pittman   5/11/2017      0.5    Research re: questions from T. Giles (AFG) about data room
                                               documents.
Jim Grady                5/15/2017      1.5    Preparation for an participation in a discussion with M. Livanos
                                               (Stellex) re questions pertaining to AFGlobal in advance of Mr.
                                               Livanos' meeting with management on 5/17/2017.
Sarah Margaret Pittman   5/15/2017      1.0    Update "Houlihan Lokey" tab of Diligence Request List file based
                                               on emailed files from AFG.
Sean Farrell             5/15/2017      1.5    Review and provide comments on diligence tracker.

Taylor Atwood            5/15/2017      1.5    Meeting with T. Edgeller (AFG) to discuss tax, valuation related
                                               due diligence.
Sarah Margaret Pittman   5/25/2017      0.5    Work in Data Request List Tracker; submit to L. Kenworthy.

Landon Kenworthy         5/26/2017      0.5    Communication with J. Georgeadis (HL) regarding delivery of next
                                               Budget.
Landon Kenworthy          6/5/2017      0.5    Call with J. Georgeadis (Houlihan) to discuss L/C liens language.


Subtotal                               23.0



Court
Professional                Date     Hours     Activity
Erin McKeighan            5/1/2017      2.5    Update support binders for first day motions based on revised
                                               ACH transaction pre-petition.
Sarah Margaret Pittman    5/1/2017      0.5    Update First Day Motion Summaries - Consolidated file for First
                                               Day Hearing support materials
Sarah Margaret Pittman    5/1/2017      1.5    Prepare First Day Hearing support materials for T. Atwood and E.
                                               McKeighan (A&M)
Sarah Margaret Pittman    5/1/2017      3.0    Prepare First Day Hearing support materials (schedules, motions,
                                               summaries) for C. Samford, B. McConn, T. Edgeller, and T. Giles
                                               (AFG).
Erin McKeighan            5/2/2017      1.0    Attend first day hearing.

Erin McKeighan            5/2/2017      1.5    Meeting with A&M, K&E and Management to prepare for first day
                                               hearing.
Erin McKeighan            5/2/2017      1.0    Work with B. Weiland (K&E) re: severance motion.

Jim Grady                 5/2/2017      1.5    Preparation for and participation in the Company's First Day
                                               Hearing.




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Court
Professional                Date     Hours     Activity
Landon Kenworthy          5/2/2017      1.5    Telephonic participation in First Day Hearing to evaluate impact of
                                               proceedings on Company's cash management procedures and
                                               associated compliance with First Day Orders and DIP.
Sarah Margaret Pittman    5/2/2017      1.5    Telephonic participation in First Day Hearing to evaluate impact of
                                               proceedings on Company's cash management procedures and
                                               associated compliance with First Day Orders and DIP.
Sean Farrell              5/2/2017      1.5    Preparation for and participation in the Company's First Day
                                               Hearing.
Taylor Atwood             5/2/2017      1.5    Preparation for and participation in the Company's First Day
                                               Hearing.
Jim Grady                5/19/2017      1.5    Attendance to 2nd Day/Plan of Restructuring/Disclosure
                                               Statement/Confirmation hearing.
Jim Grady                5/19/2017      1.5    Preparation for Confirmation Hearing and proffering of testimony
                                               on the Best Interests Test analysis, including review of testimony
                                               with A. Rotman (K&E).
Landon Kenworthy         5/19/2017      1.5    Telephonic participation in Confirmation Hearing to evaluate
                                               impact on Company's pre-petition trade management and DIP
                                               funding.
Sean Farrell             5/19/2017      1.0    Attend confirmation hearing.

Sean Farrell             5/19/2017      1.5    Prepare for the Debtors’ confirmation hearing.

Taylor Atwood            5/19/2017      1.5    Telephonic participation in to 2nd Day/Plan of
                                               Restructuring/Disclosure Statement/Confirmation hearing.

Subtotal                               27.0



Fee Applications
Professional                Date     Hours     Activity
Jim Grady                 5/1/2017      1.5    Work on edits to A&M's retention application based on recent
                                               internal conversations.
Jim Grady                 5/3/2017      0.5    Work on additional edits to A&M's retention application based on
                                               recent comments from A&M legal.
Jeff Stegenga            5/16/2017      0.5    Review, provide comments to current draft of A&M fee application
                                               document.

Subtotal                                2.5



Fresh Start Accounting
Professional                Date     Hours     Activity


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Fresh Start Accounting
Professional             Date   Hours      Activity
Andrew Youngstrom   5/17/2017      0.5     Preparation of additional client data request.

Anne Elder          5/17/2017      1.0     Data review for fee estimation.

Andrew Youngstrom   5/18/2017      0.5     Review of data room to identify client data shortfalls.

Anne Elder          5/18/2017      2.0     Data review for fee estimation.

Andrew Youngstrom   5/19/2017      1.5     Review of data room.

Andrew Youngstrom   5/19/2017      0.5     Begin extraction of relevant client information from data room.

Anne Elder          5/19/2017      2.5     Add fixed asset listing to model template and adjust.

Anne Elder          5/19/2017      1.5     Data review for model set up

James Herr          5/19/2017      1.0     Preparation of information request.

Anne Elder          5/21/2017      3.0     Initial asset categorization within model.

Anne Elder          5/21/2017      1.5     Trend additions from the Bureau of Labor Statistics.

Anne Elder          5/22/2017      1.0     Summary tab updates.

Anne Elder          5/22/2017      3.0     Compilation of data request items.

Anne Elder          5/22/2017      0.5     Trend additions from Marshall Valuation Services.

Anne Elder          5/23/2017      2.0     Identification of real properties and summary.

Anne Elder          5/23/2017      2.5     Additional asset categorization within model.

Andrew Youngstrom   5/24/2017      1.5     Completion of extraction of relevant client information from data
                                           room.
Andrew Youngstrom   5/24/2017      1.5     Update client data request to reflect information provided.

Anne Elder          5/24/2017      3.0     Data review to understand structure, locations, and assets
                                           included.
Anne Elder          5/24/2017      1.5     Data review to try to tie balance sheet to fixed asset listing.

Brian Leahy         5/24/2017      2.0     Initial personal property data review; fixed asset listing, and
                                           management presentation.
Brian Leahy         5/24/2017      1.5     Initial personal property data review; previous appraisals.

James Herr          5/24/2017      0.5     Document review.

James Herr          5/24/2017      0.5     Document review.

Andrew Youngstrom   5/25/2017      1.5     Preparation for call with client management.

Andrew Youngstrom   5/25/2017      1.5     Organize valuation data room files on A&M server.

Anne Elder          5/25/2017      0.5     Comparison of fixed asset listings.



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Fresh Start Accounting
Professional             Date   Hours      Activity
Anne Elder          5/25/2017      1.5     Updates to data request.

Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 11 - Other
                                           Agreements.
Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 1- General
                                           Corp Materials and File 2 - Financial.
Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 3 - Contract
                                           and Cust Info.
Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 4 - Real Estate
                                           and Property.
Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 5 - Legal; File
                                           6 - Human Resources; File 7 - Intellectual Property.
Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 9 - Tax Matters.

Eloy Escobedo       5/25/2017      0.5     Review Initial Documents located in data site: File 10 - Sales and
                                           Marketing.
James Herr          5/25/2017      3.5     Document review and update of information request.

Andrew Youngstrom   5/26/2017      1.0     Final preparation for call with client management.

Andrew Youngstrom   5/26/2017      1.5     Discussion of information request and status of documents
                                           related to Fresh Start Accounting valuations. Participants: A.
                                           Youngstrom, J. Herr, A. Elder, E. Escobedo, B. Leahy, S. Farrell,
                                           (all A&M), and T. Edgeller, G. Wurm, H. Le (AFG).
Anne Elder          5/26/2017      2.0     Adjustments to model based on client discussion.

Brian Leahy         5/26/2017      1.5     Discussion of information request and status of documents
                                           related to Fresh Start Accounting valuations. Participants: A.
                                           Youngstrom, J. Herr, A. Elder, E. Escobedo, B. Leahy, S. Pittman,
                                           S. Farrell (all A&M)
Eloy Escobedo       5/26/2017      0.5     Review Initial Documents located in data site: File 15 - Other.

Eloy Escobedo       5/26/2017      0.5     Review Initial Documents located in data site: File 14 - Asset
                                           Sales.
Eloy Escobedo       5/26/2017      0.5     Review Initial Documents located in data site: File 12 - Other
                                           Material Documents.
James Herr          5/26/2017      0.5     Document review.

Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 10 - Sales and
                                           Marketing.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 14 - Asset Sales; File
                                           15 - Other.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 11 - Other
                                           Agreements.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 5 - Legal.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 6 - Human
                                           Resources.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 1-General Corp
                                           Materials; File 2 - Financial.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 3 - Contract and Cust
                                           Info.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 4 - Contract and Cust
                                           Info.
Eloy Escobedo       5/30/2017      0.5     Take applicable real property documents from data site and sort
                                           into applicable real property file folders: File 12 - Other Material
                                           Documents.
Andrew Youngstrom   5/31/2017      1.5     Review of documents in preparation for call with management.

Eloy Escobedo       5/31/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Woodville Property.
Eloy Escobedo       5/31/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo       5/31/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Woodville Property.
Eloy Escobedo       5/31/2017      0.5     General Research - Costar - lookup subject property information
                                           from Costar to obtain property information report including size,
                                           age and any other descriptive information available Woodville
                                           Property.
Eloy Escobedo       5/31/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo       5/31/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Hardy Property.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo       5/31/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Hardy Property.
Eloy Escobedo       5/31/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Industrial Rd
                                           Property.
Eloy Escobedo       5/31/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Industrial Rd Property.
Eloy Escobedo       5/31/2017      0.5     General Research - Costar - lookup subject property information
                                           from Costar to obtain property information report including size,
                                           age and any other descriptive information available Industrial Rd
                                           Property.
Eloy Escobedo        6/1/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available 12600 Beech Property.
Eloy Escobedo        6/1/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available 12607 Beech Property.
Eloy Escobedo        6/1/2017      0.5     General Research - Costar - lookup subject property information
                                           from Costar to obtain property information report including size,
                                           age and any other descriptive information available DeSoto
                                           Property.
Eloy Escobedo        6/1/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available DeSoto Property.
Eloy Escobedo        6/1/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites DeSoto Property.
Eloy Escobedo        6/1/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites 12600 Beech
                                           Property.
Eloy Escobedo        6/1/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo        6/1/2017      0.5     General Research - Costar - lookup subject property information
                                           from Costar to obtain property information report including size,
                                           age and any other descriptive information available 12607 Beech
                                           Property.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo        6/1/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo        6/2/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites 12600 Norborne
                                           Property.
Eloy Escobedo        6/2/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available 12600 Norborne Property.
Eloy Escobedo        6/2/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo        6/2/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Fullerton Property.
Eloy Escobedo        6/2/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Fullerton Property.
Eloy Escobedo        6/2/2017      0.5     General Research - Costar - lookup subject property information
                                           from Costar to obtain property information report including size,
                                           age and any other descriptive information available Newport
                                           Property.
Eloy Escobedo        6/2/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Newport Property.
Eloy Escobedo        6/2/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Newport Property.
Eloy Escobedo        6/2/2017      0.5     General Research - Google Maps- lookup subject property
                                           information from online Google Map searches to review aerial site
                                           information as well as street view of the subject properties and
                                           where applicable, obtain aerial measurements of the subject
                                           improvem
Eloy Escobedo        6/2/2017      0.5     General Research - County - lookup subject property information
                                           from local county authority to obtain property information report
                                           including size, age, ownership information and any other
                                           descriptive information available Avon Property.
Eloy Escobedo        6/2/2017      0.5     General Research - County - look up map parcel information and
                                           layouts available through the county websites Avon Property.
Andrew Youngstrom    6/5/2017      0.5     Update data request tracker.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo        6/5/2017      0.5     Loopnet Land Sale Lookup - Second Run regional land sales
                                           search performed in Loopnet to locate comparable land
                                           transactions in the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments.
                                           Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Loopnet Land Listing Lookup - Initial localized land listings search
                                           performed in Loopnet to locate comparable land listings for sale in
                                           the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Costar Land Sale Lookup - Second Run regional land listings
                                           search performed in Costar to locate comparable land listings for
                                           sale in the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Land Sale Analysis - Review land sale search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Land Sale Analysis - Review land listings search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Costar Land Listing Lookup - Initial localized land listings search
                                           performed in Costar to locate comparable land listings for sale in
                                           the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Loopnet Land Sale Lookup - Initial localized land sales search
                                           performed in Loopnet to locate comparable land transactions in
                                           the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Costar Land Sale Lookup - Second Run regional land sales
                                           search performed in Costar to locate comparable land
                                           transactions in the area. Industrial Rd Property.
Eloy Escobedo        6/5/2017      0.5     Costar Land Sale Lookup - Initial localized land sales search
                                           performed in Costar to locate comparable land transactions in the
                                           area. Industrial Rd Property.
Raj Chilakapati      6/5/2017      1.5     Review documents provided by client for purposes of
                                           understanding the assets held at Advanced Drilling Systems and
                                           Life Cycle Services.
Raj Chilakapati      6/5/2017      1.5     Review Documents provided by client for purposes of
                                           understanding the assets held at Pressure Pumping Technologies
                                           and Applied Technologies.
Raj Chilakapati      6/5/2017      1.0     Review Documents provided by client for purposes of
                                           understanding the assets held at Subsea Production Systems and
                                           Sealing Products and Technologies.
Andrew Youngstrom    6/6/2017      1.5     Preparation for call with client management.

Andrew Youngstrom    6/6/2017      1.5     Research comparable companies by business unit.



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Fresh Start Accounting
Professional             Date   Hours      Activity
Andrew Youngstrom    6/6/2017      0.5     Outline corporate structure by business unit in order to prepare for
                                           model development.
Andrew Youngstrom    6/6/2017      1.5     Research comparable companies by business unit.

Eloy Escobedo        6/6/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments.
                                           Woodville Property.
Eloy Escobedo        6/6/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. Woodville Property.
Eloy Escobedo        6/6/2017      0.5     Land Sale Analysis - Review land listings search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. Woodville Property.
Eloy Escobedo        6/6/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. Hardy Property.
Eloy Escobedo        6/6/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments. Hardy
                                           Property.
Eloy Escobedo        6/6/2017      0.5     Costar Land Listing Lookup - Initial localized land listings search
                                           performed in Costar to locate comparable land listings for sale in
                                           the area. Woodville Property.
James Herr           6/6/2017      1.5     Document review, preparation for call.

Raj Chilakapati      6/6/2017      1.5     Review forecast model provided by client.

Raj Chilakapati      6/6/2017      1.5     Review consolidated historical balance sheet and income
                                           statements.
Andrew Youngstrom    6/7/2017      2.5     Continuation of research into comparable companies.

Andrew Youngstrom    6/7/2017      1.5     Completion of research into comparable companies.

Eloy Escobedo        6/7/2017      0.5     Costar Land Sale Lookup - Second Run regional land sales
                                           search performed in Costar to locate comparable land
                                           transactions in the area. Hardy Property.
Eloy Escobedo        6/7/2017      0.5     Loopnet Land Sale Lookup - Second Run regional land sales
                                           search performed in Loopnet to locate comparable land
                                           transactions in the area. Hardy Property.
Eloy Escobedo        6/7/2017      0.5     Loopnet Land Listing Lookup - Initial localized land listings search
                                           performed in Loopnet to locate comparable land listings for sale in
                                           the area. Redford, Mi Properties.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Review land listings search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. 12600 Norborne Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Review land sale search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. 12600 Norborne Property.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments. 12607
                                           Beech Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. 12600 Beech Property.
Eloy Escobedo        6/7/2017      0.5     Costar Land Listing Lookup - Initial localized land listings search
                                           performed in Costar to locate comparable land listings for sale in
                                           the area. Redford, Mi Properties.
Eloy Escobedo        6/7/2017      0.5     Loopnet Land Sale Lookup - Initial localized land sales search
                                           performed in Loopnet to locate comparable land transactions in
                                           the area. Redford, Mi Properties.
Eloy Escobedo        6/7/2017      0.5     Costar Land Sale Lookup - Initial localized land sales search
                                           performed in Costar to locate comparable land transactions in the
                                           area. Redford, Mi Properties.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. 12600 Norborne
                                           Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Review land listings search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. 12607 Beech Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Incorporate updated land sales/listings into
                                           land valuation section of analysis model. Hardy Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments. Desoto
                                           Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Review land sale search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. Desoto Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments. Hardy
                                           Property.
Eloy Escobedo        6/7/2017      0.5     Costar Land Listing Lookup - Initial localized land listings search
                                           performed in Costar to locate comparable land listings for sale in
                                           the area. Desoto Property.
Eloy Escobedo        6/7/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. Desoto Property.
Raj Chilakapati      6/7/2017      1.0     Review PPA analysis for MPO acquisition.

Raj Chilakapati      6/7/2017      1.5     Review Impairment analysis preformed by Duff and Phelps.

Andrew Youngstrom    6/8/2017      1.5     Input historical financial information into valuation model.

Andrew Youngstrom    6/8/2017      1.5     Continuation of input of historical financial information into
                                           valuation model.




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Fresh Start Accounting
Professional             Date   Hours      Activity
Eloy Escobedo        6/8/2017      0.5     Loopnet Land Listing Lookup - Initial localized land listings search
                                           performed in Loopnet to locate comparable land listings for sale in
                                           the area. Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments.
                                           Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Review land sale search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Review land sale search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. 26555 Fullerton Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Review land listings search results to
                                           determine most comparable and applicable land sales for the
                                           analysis. 26555 Fullerton Property.
Eloy Escobedo        6/8/2017      0.5     Costar Land Listing Lookup - Initial localized land listings search
                                           performed in Costar to locate comparable land listings for sale in
                                           the area. Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Costar Land Sale Lookup - Initial localized land sales search
                                           performed in Costar to locate comparable land transactions in the
                                           area. Newport, NH Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Perform additional land sale/listing research
                                           and update land valuation with appropriate adjustments. 26555
                                           Fullerton Property.
Eloy Escobedo        6/8/2017      0.5     Land Sale Analysis - Incorporate selected land sales/listings into
                                           land valuation section of analysis model. 26555 Fullerton
                                           Property.
Eloy Escobedo        6/8/2017      0.5     Loopnet Land Sale Lookup - Initial localized land sales search
                                           performed in Loopnet to locate comparable land transactions in
                                           the area. Newport, NH Property.
Raj Chilakapati      6/8/2017      1.5     Review previous acquisitions in order to assess contingent
                                           consideration and earnouts that need to be valued.

Subtotal                         125.5



Initial and Monthly Operating Report and UST Report
Professional             Date   Hours      Activity
Sean Farrell         5/1/2017      1.5     Begin to compile information on the initial operating report.




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Initial and Monthly Operating Report and UST Report
Professional                Date     Hours     Activity
Sean Farrell              5/3/2017     0.5     Meet with H. Lee (AFG), C. Ring and G. Wurm to discuss the
                                               initial operating report requirements.
Sean Farrell              5/3/2017     1.5     Prepare information for the initial operating report.

Sean Farrell              5/5/2017     2.0     Compile information for the initial operating report.

Sean Farrell              5/8/2017     0.5     Review and provide comments on the tracking file for the US
                                               Trustee reporting of payments under the trade motion.
Sean Farrell              5/9/2017     1.5     Finalize trade motion report for the US Trustee.

Sean Farrell             5/10/2017     2.0     Compile information for the initial operating report.

Sarah Margaret Pittman   5/11/2017     0.5     Work on Exhibit B Bank Account Declaration for Internal
                                               Operating Report.
Sarah Margaret Pittman   5/11/2017     0.5     Work on Exhibit C Insurance Statement for Internal Operating
                                               Report.
Sean Farrell             5/11/2017     1.0     Meet with Tom Edgeller (AFG) and Han Lee (AFG) to discuss the
                                               remaining items for the initial operating report.
Sean Farrell             5/15/2017     0.5     Telephone call with Jack Foster (AFG) to discuss initial operating
                                               report requirements.
Sean Farrell             5/15/2017     1.5     Compile information on the initial operating report.

Taylor Atwood            5/15/2017     1.0     Review draft of Initial Operating Report from S. Farrell (A&M).

Sean Farrell             5/16/2017     2.0     Meet with Han Lee to review the trial balance and prepare the
                                               initial operating report.
Sean Farrell             5/16/2017     1.5     Continue to prepare the initial operating report.

Sean Farrell             5/16/2017     0.5     Prepare initial operating report and supporting schedules.

Sarah Margaret Pittman   5/17/2017     0.5     Review Initial Operating Report.

Sean Farrell             5/17/2017     1.5     Compile and distribute draft of the initial operating report for the
                                               company's review.
Sean Farrell             5/17/2017     1.0     Meeting with Han Lee to compile information for the initial
                                               operating report.
Sean Farrell             5/18/2017     1.5     Finalize initial operating report and send to counsel for distribution
                                               to the US Trustee.
Sean Farrell             5/22/2017     0.5     Compile background information for counsel on the post
                                               confirmation reporting requirements.
Sarah Margaret Pittman   5/24/2017     0.5     Correspond with S. Farrell (A&M) regarding Internal Operating
                                               Report questions.
Sean Farrell             5/25/2017     0.5     Correspond with S. Pittman (A&M) regarding Internal Operating
                                               Report questions.




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Initial and Monthly Operating Report and UST Report
Professional                Date     Hours     Activity
Sean Farrell             5/25/2017      0.5    Review of post confirmation reporting requirements including
                                               correspondence with local counsel.

Subtotal                               25.0



Meetings
Professional                Date     Hours     Activity
Jeff Stegenga             5/1/2017      0.5    Discussion w/ Jim Grady re: filing status, judge and FDM logistics.

Jim Grady                 5/1/2017      0.5    Discussion w/ J. Stegenga (A&M) re: filing status, judge and FDM
                                               logistics.
Jim Grady                 5/1/2017      0.5    Preparation for and participation bi-weekly status update call with
                                               C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                               L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                               discuss status of open items/tasks and strategy with which to c
Jim Grady                 5/1/2017      0.5    Daily status meeting with L. Kenworthy (A&M), T. Atwood (A&M),
                                               S. Farrell (A&M), and S. Pittman (A&M).
Landon Kenworthy          5/1/2017      0.5    Daily status meeting with T. Atwood (A&M), J. Grady (A&M), S.
                                               Farrell (A&M), and S. Pittman (A&M).
Sarah Margaret Pittman    5/1/2017      0.5    Daily status meeting with T. Atwood (A&M), J. Grady (A&M), S.
                                               Farrell (A&M), and L. Kenworthy (A&M).
Sean Farrell              5/1/2017      0.5    Daily status meeting with L. Kenworthy (A&M), J. Grady (A&M), T.
                                               Atwood (A&M), and S. Pittman (A&M).
Taylor Atwood             5/1/2017      0.5    Daily status meeting with L. Kenworthy (A&M), J. Grady (A&M), S.
                                               Farrell (A&M), and S. Pittman (A&M).
Taylor Atwood             5/1/2017      0.5    Discussion with C. Mathers (AFG) regarding ch. 11 filing press
                                               release and website issues.
Taylor Atwood             5/1/2017      1.5    Meeting with B. McConn (AFG) to discuss various T+1 issues
                                               including vendors, treasury, and borrowing notices.
Jim Grady                 5/2/2017      1.5    Meetings and discussions with AFGlobal (C. Samford, T. Giles,
                                               M. Frahm), and K&E team (W. Guerrieri, C. Hayes) re various
                                               First Day Motions relative to Employee Wages, Trade and
Jim Grady                 5/2/2017      1.0    Preparation for and participation on a conference call with T. Giles
                                               (AFG) and representatives from Marsh re D&O insurance policies.
Taylor Atwood             5/2/2017      1.0    Meeting with P. Sorensen (LZ), B. Aebersold (LZ) to discuss First
                                               Day hearing results, exit ABL facility planning.
Taylor Atwood             5/2/2017      1.5    Meeting with B. McConn (AFG), T. Giles (AFG) to discuss First
                                               Day hearing results and go forward plan related to post-petition
                                               operating plan.




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Meetings
Professional           Date     Hours     Activity
Jim Grady            5/4/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Taylor Atwood        5/4/2017     1.5     Update call with C. Hayes (K&E) to discuss current post-petition
                                          issues.
Taylor Atwood        5/4/2017     0.5     Update call with J. Georgeadis (HL) to discuss current post-
                                          petition issues, exit financing.
Jeff Stegenga        5/8/2017     0.5     Call with C. Samford (AFG) to discuss overall progress of ch. 11
                                          case, internal communications, post-petition financing, first day
                                          relief.
Jeff Stegenga        5/8/2017     0.5     Update discussion w/ Jim Grady re: FMD status and DB ACH
                                          issues/follow-up.
Jim Grady            5/8/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Jim Grady            5/8/2017     0.5     Update discussion w/ J. Stegenga (A&M) re: FMD status and DB
                                          ACH issues/follow-up.
Jeff Stegenga       5/10/2017     0.5     Update discussion with Scott Greenberg (Jones Day) to discuss
                                          general case update and exit financing issues.
Jim Grady           5/11/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Taylor Atwood       5/12/2017     1.5     Discussion with C. Samford (AFG) regarding Plan Supplement
                                          Notice of Filing mailing, current ch. 11 process issues, vendor
                                          management, employee communications.
Jim Grady           5/15/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Taylor Atwood       5/16/2017     1.0     General status update call with P. Sorensen (Lazard) to discuss
                                          current post-petition issues, exit facility financing, professional
                                          fees.
Jim Grady           5/18/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Jim Grady           5/22/2017     0.5     Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c




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                                Ameriforge Group Inc., et al.,                                    Exhibit D
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Meetings
Professional                Date     Hours     Activity
Jeff Stegenga            5/23/2017     0.5     Discussion with C. Samford (A&M) to discuss confirmation
                                               hearing, ch. 11 emergence planning, exit financing issues.
Andrew Youngstrom        5/24/2017     1.0     Call to discuss information request for items already available
                                               internally. A. Youngstrom, J. Herr, A. Elder, Landon Kenworthy, S.
                                               Pittman, S. Farrell (all A&M).
Anne Elder               5/24/2017     1.0     Call to expedite 5/26/2017 call with client. A. Youngstrom, J. Herr,
                                               A. Elder, Landon Kenworthy, S. Pittman, S. Farrell (all A&M).
James Herr               5/24/2017     1.0     Call to discuss information request for items already available
                                               internally. A. Youngstrom, J. Herr, A. Elder, Landon Kenworthy, S.
                                               Pittman, S. Farrell.
Jim Grady                5/25/2017     0.5     Preparation for and participation bi-weekly status update call with
                                               C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                               L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                               discuss status of open items/tasks and strategy with which to c
Andrew Youngstrom        5/26/2017     0.5     Internal discussion of work stream. A. Youngstrom, R.
                                               Chilakapati, J. Herr (all A&M).
Anne Elder               5/26/2017     1.5     Discussion of information request and status of documents
                                               related to Fresh Start Accounting valuations. A. Youngstrom, J.
                                               Herr, A. Elder, E. Escobedo, B. Leahy, S. Pittman, S. Farrell (all
                                               A&M).
Eloy Escobedo            5/26/2017     1.5     Description: Discussion of information request and status of
                                               documents related to Fresh Start Accounting valuations.
                                               Participants: Andrew Youngstrom, James Herr, Anne Elder, Eloy
                                               Escobedo, Brian Leahy, Sarah Pittman, Sean Farrell, Tom
                                               Edgeller, Han Le, G
James Herr               5/26/2017     0.5     Internal discussion of work stream. A. Youngstrom, R.
                                               Chilakapati, J. Herr.
James Herr               5/26/2017     1.5     Discussion of information request and status of documents
                                               related to Fresh Start Accounting valuations. Participants: A.
                                               Youngstrom, J. Herr, A. Elder, E. Escobedo, B. Leahy, S. Farrell,
                                               T. Edgeller, G. Wurm, H. Le.
Raj Chilakapati          5/26/2017     0.5     Internal discussion of work stream. A. Youngstrom, R.
                                               Chilakapati, J. Herr (all A&M).
Sarah Margaret Pittman   5/29/2017     0.5     Project Astro Update Call with Lazard, K&E, and A&M team.

Andrew Youngstrom        5/31/2017     1.5     Call with AFGlobal to discuss intangible asset key assumptions
                                               and information. Participants: J. Herr, R. Chilakapati, A.
                                               Youngstrom, S. Farrell (all A&M), and T. Edgeller, G. Wurm, H. Le
                                               (AFG).
James Herr               5/31/2017     1.5     Call with AFGlobal to discuss intangible asset key assumptions
                                               and information. Participants: J. Herr, R. Chilakapati, A.
                                               Youngstrom, S. Farrell (all A&M), and T. Edgeller, G. Wurm, H. Le
                                               (AFG).




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Meetings
Professional           Date     Hours     Activity
Raj Chilakapati     5/31/2017      1.5    Call with AFGlobal to discuss intangible asset key assumptions
                                          and information. Participants: J. Herr, R. Chilakapati, A.
                                          Youngstrom, S. Farrell (all A&M), and T. Edgeller, G. Wurm, H. Le
                                          (AFG).
Taylor Atwood       5/31/2017      0.5    Call with P. Sorensen (Lazard) to discuss general case updates
                                          and issues.
Jim Grady            6/1/2017      0.5    Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Jim Grady            6/5/2017      0.5    Preparation for and participation bi-weekly status update call with
                                          C. Samford (AFG), T. Giles (AFG), K&E (W. Guerrieri, C. Hayes,
                                          L. Spivey), Lazard (B. Aebersold, P. Sorenson, A. Harbor) to
                                          discuss status of open items/tasks and strategy with which to c
Landon Kenworthy     6/5/2017      0.5    Discussion with C. Ring (AFG) and B. McConn (AFG) regarding
                                          future payment review meetings and disbursement review
                                          process.
Taylor Atwood        6/5/2017      1.5    Meeting with C. Samford to discuss current emergence related
                                          items, outstanding negotiation points related to ABL credit
                                          agreements, liquidity forecast, covenant compliance calculations.
Andrew Youngstrom    6/6/2017      1.5    Call with AFGlobal to discuss AFGlobal's technologies to be
                                          valued by business unit. Participants: J. Herr, R. Chilakapati, A.
                                          Youngstrom, T. Edgeller, J. Fraczek (all A&M).
James Herr           6/6/2017      1.5    Call with AFGlobal to discuss AFGlobal's technologies to be
                                          valued by business unit. Participants: J. Herr, R. Chilakapati, A.
                                          Youngstrom, T. Edgeller, J. Fraczek (all A&M).
Raj Chilakapati      6/6/2017      1.5    Call with AFGlobal to discuss AFGlobal's technologies to be
                                          valued by business unit. Participants: J. Herr, R. Chilakapati, A.
                                          Youngstrom, T. Edgeller, J. Fraczek (all A&M).

Subtotal                          43.5



POR / Disclosure Statement
Professional           Date     Hours     Activity
Jim Grady           5/15/2017      0.5    Work on background information for testimony to be used at the
                                          Confirmation Hearing in support of the Best Interests Test
                                          analysis.
Jeff Stegenga       5/16/2017      1.0    Review of UST's objections to AFG's POR / DS and follow-up with
                                          Jim Grady.
Jim Grady           5/17/2017      1.5    Review of drafts of the proffered testimony of J. Grady (A&M) in
                                          support of the Best Interests Test Analysis for the Confirmation
                                          Hearing, including drafting of edits.



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POR / Disclosure Statement
Professional              Date   Hours      Activity
Sean Farrell         5/17/2017      2.0     Compile information on the liquidation analysis and review proffer
                                            of James Grady (A&M).
Taylor Atwood        5/17/2017      1.0     Review updated draft of Initial Debtor Report from S. Farrell prior
                                            to distribution to K&E team.
Jim Grady            5/18/2017      3.5     Review and analysis of Best Interest Test analysis, including
                                            supporting methodology, schedules and analyses, in preparation
                                            for the Confirmation Hearing as testimony is proffered and should
                                            any party elect to question details regarding same.

Subtotal                            9.5



Post-Petition Financing
Professional              Date   Hours      Activity
Jim Grady             5/2/2017      2.5     Review and analysis of KPMG's latest version of their field audit
                                            of the Company's Accounts Receivable and Inventory accounts
                                            relative to support the proposed ABL Exit Facility.
Jim Grady             5/2/2017      0.5     Preparation for and participation on a conference call with P.
                                            Sorensen (Lazard) re the Company's proposed Asset Based Loan
                                            Exit Facility.
Landon Kenworthy      5/2/2017      0.5     Call with M. Boone (Houlihan) and J. Georgeadis (Houlihan)
                                            regarding Jones Day request for Committed Loan Notice, updated
                                            perspective on business activity, due diligence requests, and
                                            additional request for information regarding cost of obtaining
                                            credit r
Jim Grady             5/3/2017      1.5     Preparation for and participation on a conference call with K&E (L.
                                            Spivey, J. Roberts) and Lazard (P. Sorensen, D. Fitzpatrick) re:
                                            the Company's proposed Asset Based Loan Exit Facility including
                                            a review of the tasks required to get agreement to closing
Landon Kenworthy      5/3/2017      0.5     Update of long-term liquidity forecast to include suppressed
                                            availability for ABL in response to J. Georgeadis (Houlihan)
                                            request.
Taylor Atwood         5/3/2017      1.5     Participate in exit ABL facility discussion with J. Roberts (K&E), C.
                                            Samford (AFG), T. Giles (AFG), B. McConn (AFG), L. Spivey
                                            (K&E).
Taylor Atwood         5/3/2017      0.5     Follow up with B. McConn (AFG) to discuss financials projections
                                            for ABL facility credit agreement.
Taylor Atwood         5/3/2017      0.5     Review updated exit ABL facility credit agreement from J. Roberts
                                            (K&E).
Jim Grady             5/4/2017      0.5     Discussion with T. Edgeller (AFG) re status, timing, issues and
                                            next steps with KPMG updating their field audit report for April 30
                                            balances for the proposed ABL Exit Facility.




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Post-Petition Financing
Professional              Date   Hours      Activity
Jim Grady             5/4/2017      0.5     Discussion with Parry Sorenson (Lazard) re proposed ABL Exit
                                            Facility and current status of open items relative to closing the
                                            facility.
Jim Grady             5/4/2017      0.5     Discussion with representatives from Carlyle Group re near term
                                            liquidity forecasts, certain proposed ABL covenants, and model
                                            which analyzes same.
Taylor Atwood         5/4/2017      0.5     Review latest exit facility ABL term sheet from J. Roberts (K&E).

Taylor Atwood         5/5/2017      0.5     Review updated draft of Exit ABL Commitment Letter from J.
                                            Roberts (K&E).
Taylor Atwood         5/5/2017      1.5     Call with J. Roberts (K&E) to go through exit ABL facility term
                                            sheet items.
Jim Grady             5/7/2017      2.5     Review and analysis of the current draft of ABL Exit commitment
                                            papers and related issues list as prepared by K&E.
Jim Grady             5/8/2017      1.5     Preparation for and participation in a conference call with
                                            AFGlobal (C. Samford, T. Giles), K&E (L. Spivey, J. Roberts, C.
                                            Hayes), Lazard (P. Sorensen, D. Fitzpatrick) re status on the Exit
                                            ABL Facility agreement and open items.
Jim Grady             5/8/2017      0.5     Discussions and follow-up correspondence with P. Sorensen
                                            (Lazard) and T. Atwood (A&M) re certain information requests
                                            from Deutsche Bank relative to the syndication of the Exit ABL
                                            Facility, specifically related to the financial projections.
Jim Grady             5/8/2017      0.5     Correspondence with T. Edgeller (AFG) re various questions on
                                            open diligence items from KPMG relative to their updated Field
                                            Exam for the proposed Exit ABL Facility.
Landon Kenworthy      5/8/2017      0.5     Correspondence with S. Farrell (A&M) regarding ABL liquidity
                                            forecast through 2020.
Sean Farrell          5/8/2017      1.5     Review of ABL commitment papers including fee structure.

Sean Farrell          5/8/2017      1.0     Participate in conference call with the company, A&M, Lazard and
                                            counsel to review the key terms of the exit facility.
Taylor Atwood         5/8/2017      0.5     Discussions and follow-up correspondence with P. Sorensen
                                            (Lazard) and J. Grady (A&M) re certain information requests from
                                            Deutsche Bank relative to the syndication of the Exit ABL Facility,
                                            specifically related to the financial projections.
Jim Grady             5/9/2017      0.5     Preparation for and participation in a conference call with HL (M.
                                            Boone, J. Georgeadis), Carlyle Group (E. Middleton, S. Read) re
                                            the latest 13 week liquidity forecast and Exit ABL Covenants.
Jim Grady             5/9/2017      0.5     Call with L. Kenworthy (A&M), T. Atwood (A&M), J. Georgeadis
                                            (HL), E. Middleton (Carlyle) and S. Read (Carlyle) regarding
                                            liquidity forecast and ABL.
Jim Grady             5/9/2017      1.0     Preparation for and participation in a conference call with
                                            AFGLobal (T. Giles), K&E (L. Spivey, J. Roberts, C. Hayes),
                                            Jones Day re various KYC (Know Your Client) requests from
                                            Jones Day on behalf of the Exit Facility Lenders.



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Post-Petition Financing
Professional              Date   Hours      Activity
Landon Kenworthy      5/9/2017      0.5     Correspondence with J. Roberts (K&E) regarding status of latest
                                            ABL terms negotiations.
Landon Kenworthy      5/9/2017      2.0     Review and analysis of latest ABL terms documentation.

Landon Kenworthy      5/9/2017      0.5     Call with J. Grady (A&M), T. Atwood (A&M), J. Georgeadis (HL),
                                            E. Middleton (Carlyle) and S. Read (Carlyle) regarding liquidity
                                            forecast and ABL.
Landon Kenworthy      5/9/2017      0.5     Research and analysis in response to T. Atwood (A&M) questions
                                            regarding liquidity calculations and covenants.
Taylor Atwood         5/9/2017      0.5     Call with L. Kenworthy (A&M), J. Grady (A&M), J. Georgeadis
                                            (HL), E. Middleton (Carlyle) and S. Read (Carlyle) regarding
                                            liquidity forecast and ABL.
Taylor Atwood         5/9/2017      1.0     Call with P. Sorenson (Lazard) to discuss exit ABL facility markup.

Jeff Stegenga        5/10/2017      0.5     Participation in portion of conference call with AFGlobal (C.
                                            Samford, T. Giles), K&E (L. Spivey, J. Roberts, C. Hayes), Lazard
                                            (P. Sorensen, D. Fitzpatrick), and J. Grady (A&M) re status on the
                                            Exit Term Loan agreement and open items to closing.
Jeff Stegenga        5/10/2017      0.5     Review of initial DIP budget variance report and follow-up
                                            questions w/ Landon Kenworthy.
Jim Grady            5/10/2017      1.5     Preparation for and participation in a conference call with
                                            AFGlobal (C. Samford, T. Giles), K&E (L. Spivey, J. Roberts, C.
                                            Hayes), Lazard (P. Sorensen, D. Fitzpatrick), and J. Stegenga
                                            (A&M) re status on the Exit Term Loan agreement and open items
                                            to clo
Taylor Atwood        5/10/2017      1.0     Participate in Term Loan credit agreement discussion with J.
                                            Zarbock (K&E), L. Spivey (K&E), C. Samford (AFG), T. Giles
                                            (AFG).
Jim Grady            5/11/2017      0.5     Preparation for and participation in a conference call with
                                            AFGlobal (C. Samford, T. Giles), K&E (, J. Roberts, C. Hayes),
                                            Lazard (P. Sorensen, D. Fitzpatrick) and representatives from
                                            Jones Day, Carlyle Group, Stellex and Eaton Vance re status on
                                            the Exi
Taylor Atwood        5/11/2017      1.0     Participate in Term Loan credit agreement discussion with J.
                                            Zarbock (K&E), L. Spivey (K&E), C. Samford (AFG), T. Giles
                                            (AFG), E. Middleton (Carlyle).
Taylor Atwood        5/11/2017      1.5     Meeting with B. McConn (AFG), T. Giles (AFG) to discuss Term
                                            Loan lenders business issues list with regard to Term Loan credit
                                            agreement.
Taylor Atwood        5/12/2017      0.5     Review updated ABL availability, liquidity spreads from L.
                                            Kenworthy (A&M).
Taylor Atwood        5/12/2017      0.5     Catch up call with B. McConn (AFG) to discuss financial
                                            projections model for ABL exit facility.
Taylor Atwood        5/12/2017      0.5     Call with J. Roberts (K&E) to discuss current business issues list
                                            regarding Term Loan credit agreement.



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Post-Petition Financing
Professional                Date     Hours     Activity
Jeff Stegenga            5/15/2017     0.5     Review of Q1 AFG financial statement package provided to HL,
                                               DB and PJT.
Sarah Margaret Pittman   5/15/2017     0.5     Discussion with L. Kenworthy (A&M) regarding covenant
                                               compliance calculations.
Landon Kenworthy         5/16/2017     0.5     Review of correspondence from P. Sorensen (Lazard) regarding
                                               ABL facility.
Taylor Atwood            5/16/2017     1.0     Discussion with T. Giles regarding MPO earn out attributes in
                                               response to current business issues in Term Loan credit
                                               agreement process.
Jim Grady                5/17/2017     0.5     Correspondence with D. Williams (Great American), T. Edgeller
                                               (AFG), P. Sorensen (Lazard), D. Fitzpatrick (Lazard) re
                                               authorization to release Great American's Inventory appraisal
                                               report to Deutsche Bank for purposes of the Exit ABL Facility.
Jim Grady                5/17/2017     1.0     Discussions with T. Giles (AFG) and follow-up correspondence
                                               with T. Atwood (A&M) and J. Roberts (K&E) re: open diligence
                                               items relative to the Exit Term Loan, Exit ABL Facility, KYC
                                               discussions.
Taylor Atwood            5/17/2017     1.0     Follow up with T. Giles (AFG) on current status of term loan and
                                               ABL lenders "know your client" diligence requests.
Jim Grady                5/19/2017     0.5     Correspondence with J. Roberts (K&E) re status of open diligence
                                               items relative to the Exit Term Loan, Exit ABL Facility, KYC
                                               discussions, including follow-up discussions with T. Giles (AFG)
                                               re same.
Jim Grady                5/22/2017     0.5     Discussions with T. Giles (AFG) and follow-up correspondence J.
                                               Roberts (K&E) re: open diligence items relative to the Exit Term
                                               Loan, Exit ABL Facility, KYC discussions.
Jeff Stegenga            5/24/2017     0.5     Review of latest DIP variance report and compliance certificate.

Jim Grady                5/24/2017     0.5     Discussions with B. McConn (AFG) and T. Edgeller (AFG) re the
                                               work done on updating certain pages to Deutsche Bank's
                                               syndication presentation about AFGlobal, specifically surrounding
                                               the Accounts Receivable and Inventory projected balances and
                                               Sources and
Jim Grady                5/24/2017     1.5     Work on updating certain pages to Deutsche Bank's syndication
                                               presentation about AFGlobal, specifically surrounding the
                                               Accounts Receivable and Inventory projected balances and
                                               Sources and Uses at closing.
Jim Grady                5/25/2017     0.5     Review of NOLV calculations used in valuing the Company's
                                               inventory for purposes of the Borrowing Base Certificate pursuant
                                               to a request of Deutsche Bank, including correspondence with T.
                                               Edgeller (AFG) re same.
Jim Grady                5/25/2017     1.5     Review of initial draft of the Exit ABL Credit Agreement with a
                                               redline to the exit term loan.
Taylor Atwood            5/25/2017     0.5     Discussion with B. McConn (AFG) regarding letters of credit
                                               issues in ABL exit facility credit agreement language.



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Post-Petition Financing
Professional                Date     Hours     Activity
Jim Grady                5/26/2017     1.5     Preparation for and participation in a conference call with K&E (,
                                               J. Roberts, C. Hayes, C. Jun), Lazard (P. Sorensen, D.
                                               Fitzpatrick) re status on the Exit ABL Facility agreement and open
                                               items.
Jim Grady                5/26/2017     0.5     Correspondence and follow-up with C. Samford (AFG) re the
                                               "Payment Conditions" covenant in the Exit ABL Facility relative to
                                               future acquisitions.
Jim Grady                5/27/2017     0.5     Correspondence with C. Samford (AFG), J. Roberts (K&E), L.
                                               Kenworthy (A&M) re confirmation of EBITDA amounts listed in the
                                               Exit ABL facility.
Jim Grady                5/27/2017     1.5     Review of revised draft of the Exit ABL Credit Agreement with a
                                               redline to the last version.
Landon Kenworthy         5/27/2017     0.5     Review of most recent changes to ABL credit agreement.

Landon Kenworthy         5/27/2017     0.5     Call with J. Roberts (K&E) to discuss exit facility documentation.

Jim Grady                5/28/2017     0.5     Preparation for and participation in a conference call with K&E (,
                                               J. Roberts, C. Hayes, C. Jun), Lazard (P. Sorensen, D.
                                               Fitzpatrick) re status on the Exit ABL Facility agreement and open
                                               items.
Sean Farrell             5/28/2017     0.5     Compile diligence information for K&E on ABL documentation.

Jim Grady                5/30/2017     1.5     Preparation for and participation in a conference call with
                                               AFGlobal (C. Samford, T. Giles, B. McConn, T. Edgeller) K&E (, J.
                                               Roberts, C. Hayes, C. Jun), Lazard (P. Sorensen, D. Fitzpatrick),
                                               including representatives from Jones Day and Deutsche Bank re s
Landon Kenworthy         5/30/2017     0.5     Discussion with C. Samford (AFG), B. McConn (AFG), T. Giles
                                               (AFG), and S. Pittman (A&M) to review borrowing base
                                               calculations and open issues regarding ABL.
Landon Kenworthy         5/30/2017     0.5     Discussion with T. Edgeller (AFG) regarding borrowing base
                                               calculations.
Landon Kenworthy         5/30/2017     0.5     Review of ABL lender presentation syndication materials.

Landon Kenworthy         5/30/2017     0.5     Call with A. Moosani (Lazard) to discuss lender presentation for
                                               ABL syndication.
Sarah Margaret Pittman   5/30/2017     0.5     Meeting with C. Samford, B. McConn, T. Giles, T. Edgeller (all
                                               AFG), L. Kenworthy (A&M) regarding Initial Draft of ABL Credit
                                               Agreement.
Sean Farrell             5/30/2017     1.0     Compile open items on the credit agreement schedules and the
                                               perfection certificate.
Taylor Atwood            5/30/2017     1.5     Participate in ABL credit agreement negotiation call with C.
                                               Samford (AFG), T. Giles (AFG), B. McConn (AFG), J. Zarbock
                                               (K&E), L. Spivey (K&E), J. Roberts (AFG), P. Saliba (DB).
Taylor Atwood            5/30/2017     1.0     Participate in ABL credit agreement discussion with C. Samford
                                               (AFG), T. Giles (AFG), B. McConn (AFG), J. Zarbock (K&E), L.
                                               Spivey (K&E), J. Roberts (AFG).



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Post-Petition Financing
Professional              Date   Hours      Activity
Taylor Atwood        5/30/2017      1.0     Call with J. Roberts (K&E) to discuss various comments to ABL
                                            Credit Agreement draft.
Taylor Atwood        5/30/2017      0.5     Follow up discussion with J. Roberts (K&E) to discuss current
                                            negotiation points on ABL credit agreement following call with
                                            Deutsche Bank team.
Taylor Atwood        5/30/2017      1.5     Draft initial responses to list of business issue related negotiation
                                            points with respect to current draft of ABL credit agreement.
Taylor Atwood        5/30/2017      1.0     Meeting with B. McConn (AFG), T. Giles (AFG) to discuss
                                            responses to list of business related issues in ABL credit
                                            agreement.
Taylor Atwood        5/30/2017      1.0     Review latest ABL Credit Agreement redline from J. Roberts
                                            (K&E).
Taylor Atwood        5/30/2017      0.5     Follow up call with L. Spivey (K&E) to discuss questions on open
                                            negotiation points in current draft of ABL credit agreement.
Landon Kenworthy     5/31/2017      0.5     Review of most recent changes to ABL credit agreement and
                                            accompanying fees and interest in preparation for cash flow
                                            forecast update.
Landon Kenworthy     5/31/2017      0.5     Review of most recent changes to term loan credit agreement and
                                            accompanying fees and interest in preparation for cash flow
                                            forecast update.
Sean Farrell         5/31/2017      1.5     Review and analysis of the term loan thresholds using projected
                                            financial model.
Sean Farrell         5/31/2017      1.5     Review of term loan compliance thresholds and prepare analysis
                                            regarding the same.
Sean Farrell         5/31/2017      0.5     Conference call with John Zarbock (K&E) and Bryan Minch (AFG)
                                            regarding open items on the credit agreement schedules and the
                                            perfection certificate.
Sean Farrell         5/31/2017      1.5     Compile support information on ABL facility.

Sean Farrell         5/31/2017      2.0     Review and submit open items on the credit agreement schedule.

Sean Farrell         5/31/2017      0.5     Meet with Han Lee (AFG) to review open items on the credit
                                            agreement schedules and the perfection certificate.
Landon Kenworthy      6/1/2017      0.5     Evaluation of liquidity impact from changes to borrowing base
                                            assumptions.
Landon Kenworthy      6/1/2017      2.0     Further refinement of AR projections related to borrowing base
                                            assumptions through 9/30.
Sean Farrell          6/1/2017      1.5     Refine analysis of covenant compliance and open items.

Sean Farrell          6/1/2017      1.5     Review of the latest draft of the ABL credit agreement schedule.

Sean Farrell          6/1/2017      1.5     Refine covenant compliance analysis.

Sean Farrell          6/1/2017      1.5     Begin to prepare analysis of the covenant compliance.



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Professional              Date   Hours      Activity
Taylor Atwood         6/1/2017      1.5     Meeting with B. McConn (AFG), C. Samford (AFG) to discuss 1st
                                            Lien, ABL credit agreements covenant analysis.
Taylor Atwood         6/1/2017      1.5     Participate in management presentation meeting with ABL
                                            Lenders with P. Saliba (DB), C. Samford (AFG), T. Giles (AFG),
                                            B. McConn (AFG), T. Edgeller (AFG), P. Sorensen.
Taylor Atwood         6/1/2017      1.0     Call with J. Roberts (K&E) to discuss open business related
                                            issues with respect to current draft of ABL credit agreement.
Taylor Atwood         6/1/2017      1.5     Follow up call with P. Saliba (DB) to go through open items list
                                            with respect to ABL credit agreement negotiations.
Landon Kenworthy      6/2/2017      1.0     Review of long-term liquidity forecast covenant calculations
                                            prepared by S. Farrell (A&M) and review of credit agreement
                                            language regarding covenant calculations.
Landon Kenworthy      6/2/2017      1.5     Addition of covenant compliance calculations in weekly forecast
                                            through 12/31 and review of credit agreement regarding the same.
Landon Kenworthy      6/2/2017      0.5     Call with S. Farrell (A&M) to discuss covenant calculations in
                                            short and long-term forecast in preparation for group discussion.
Landon Kenworthy      6/2/2017      0.5     Communication with T. Atwood (A&M) and S. Farrell (A&M)
                                            regarding cash flow forecast extension and covenant compliance
                                            calculations through 12/31.
Landon Kenworthy      6/2/2017      0.5     Discussion with S. Farrell (A&M) regarding cash flow forecast
                                            update and covenant calculations in preparation for delivery to E.
                                            Middleton (Carlyle).
Landon Kenworthy      6/2/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), T. Atwood
                                            (A&M), and S. Farrell (A&M) regarding covenant calculations over
                                            short and long-term forecast period.
Landon Kenworthy      6/2/2017      0.5     Review of issues list related to W&C proposals for language
                                            changes in ABL.
Landon Kenworthy      6/2/2017      0.5     Call with T. Edgeller (AFG) to discuss proposed CNI & EBITDA
                                            definition changes from W&C in ABL agreement.
Landon Kenworthy      6/2/2017      1.5     Integration of long-term covenant calculations forecast with short-
                                            term forecast covenant calculations in response to request from
                                            E. Middleton (Carlyle).
Sean Farrell          6/2/2017      1.0     Begin to model out covenant compliance schedule.

Sean Farrell          6/2/2017      0.5     Telephone call Jordan Roberts (K&E) to discuss the financial
                                            covenants in the ABL agreement.
Sean Farrell          6/2/2017      0.5     Prepare for conference call with Carlyle to review financial
                                            covenants and compliance.
Sean Farrell          6/2/2017      1.5     Refine the covenant compliance schedule.

Sean Farrell          6/2/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), L. Kenworthy
                                            (A&M) and T. Atwood (A&M) regarding covenant calculations over
                                            short and long-term forecast period.



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Professional              Date   Hours      Activity
Sean Farrell          6/2/2017      0.5     Call with L. Kenworthy (A&M) to discuss covenant calculations in
                                            short and long-term forecast in preparation for group discussion.
Sean Farrell          6/2/2017      2.0     Model out covenants based on the business plan.

Taylor Atwood         6/2/2017      0.5     Discussion with B. McConn regarding calculations of minimum
                                            liquidity, FCCR covenants in short term forecast model.
Taylor Atwood         6/2/2017      0.5     Meeting with B. McConn to go through comments to updated
                                            liquidity forecast and projected covenant compliance analysis.
Taylor Atwood         6/2/2017      0.5     Review, provide comments on updated liquidity forecast and
                                            projected covenant compliance outputs from L. Kenworthy.
Taylor Atwood         6/2/2017      1.0     Review, comment on updated liquidity, covenant forecast model
                                            outputs from L. Kenworthy (A&M).
Taylor Atwood         6/2/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), L. Kenworthy
                                            (A&M) and S. Farrell (A&M) regarding covenant calculations over
                                            short and long-term forecast period.
Taylor Atwood         6/2/2017      0.5     Update call with P. Sorensen (Lazard) to discuss covenant
                                            definitions in ABL credit agreement, projected covenant
                                            compliance, Q3 liquidity forecast.
Taylor Atwood         6/2/2017      0.5     Draft correspondence to Carlyle team regarding updated
                                            covenant compliance projections pertaining to ABL credit
                                            agreement language.
Taylor Atwood         6/2/2017      0.5     Call with J. Roberts (K&E) to discuss covenant definitions in
                                            current draft of ABL credit agreement.
Taylor Atwood         6/2/2017      0.5     Follow up all with C. Samford (AFG) to discuss short term liquidity
                                            forecast model, ABL credit agreement covenant issues.
Taylor Atwood         6/2/2017      0.5     Review, comment on latest credit agreement covenant analysis
                                            from L. Kenworthy.
Taylor Atwood         6/2/2017      0.5     Call with C. Samford (AFG) to discuss issues raised during Board
                                            call related to emergence, ABL credit agreement, 1st Lien credit
                                            agreement.
Taylor Atwood         6/2/2017      0.5     Communication with L. Kenworthy (A&M) and S. Farrell (A&M)
                                            regarding cash flow forecast extension and covenant compliance
                                            calculations through 12/31.
Taylor Atwood         6/2/2017      0.5     Call with J. Roberts (K&E) to discuss specifics related to springing
                                            covenant calculations in ABL credit agreements.
Landon Kenworthy      6/3/2017      0.5     Call with B. McConn (AFG) to discuss W&C proposed revisions to
                                            language in ABL regarding liens in connection with L/C facility.
Landon Kenworthy      6/3/2017      0.5     Analysis of J. Georgeadis (Houlihan) request regarding
                                            modification of ABL credit agreement language regarding liens in
                                            connection with L/C facility.
Landon Kenworthy      6/4/2017      0.5     Review of short and long-term forecast and covenant calculations
                                            in preparation for discussion with Carlyle.




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Landon Kenworthy      6/5/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), T. Atwood
                                            (A&M), and S. Farrell (A&M) regarding covenant calculations over
                                            short and long-term forecast period.
Landon Kenworthy      6/5/2017      2.0     Implementation of additional covenant calculations in weekly
                                            forecast as requested by Carlyle.
Sean Farrell          6/5/2017      1.5     Update covenant calculation file to provide to Carlyle.

Sean Farrell          6/5/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), T. Atwood
                                            (A&M), and L. Kenworthy (A&M) regarding covenant calculations
                                            over short and long-term forecast period.
Taylor Atwood         6/5/2017      0.5     Follow up call with J. Roberts (K&E) to discuss various comments
                                            related to outstanding business related issues pertaining to ABL
                                            credit agreement.
Taylor Atwood         6/5/2017      1.0     Review latest ABL credit agreement redline from J. Roberts (K&E).

Taylor Atwood         6/5/2017      0.5     Review, provide comments to covenant calculation support
                                            summary file from S. Farrell (A&M) prior to distribution to Carlyle
                                            team.
Taylor Atwood         6/5/2017      0.5     Call with E. Middleton (Carlyle), S. Read (Carlyle), L. Kenworthy
                                            (A&M), and S. Farrell (A&M) regarding covenant calculations over
                                            short and long-term forecast period.
Taylor Atwood         6/5/2017      0.5     Call with J. Roberts (K&E) to discuss facility closures EBITDA add
                                            back items pertaining to ABL credit agreement language.
Taylor Atwood         6/5/2017      0.5     Review blackline of ABL credit agreement from J. Gawey (W&C).

Taylor Atwood         6/5/2017      0.5     Participate in ABL credit agreement review conference call with J.
                                            Roberts (K&E), L. Spivey (K&E), T. Giles (AFG), B. McConn
                                            (AFG), C. Samford (AFG).
Landon Kenworthy      6/6/2017      0.5     Coordination with T. Edgeller (AFG) to finalize borrowing base
                                            certificate.
Landon Kenworthy      6/6/2017      0.5     Call with Y. Okabe (DB) and S. Pelton (DB) to discuss funds flow
                                            and borrowing base certificate.
Landon Kenworthy      6/6/2017      0.5     Finalization and review of extended forecast and covenant
                                            calculations for Carlyle.
Landon Kenworthy      6/6/2017      1.0     Coordination with T. Edgeller (AFG) regarding borrowing base
                                            certificate in preparation for delivery to DB.
Taylor Atwood         6/6/2017      0.5     Call with L. Spivey (K&E) to discuss Deposit Account Control
                                            Agreement questions pertaining to 1st Lien credit agreement.
Taylor Atwood         6/6/2017      0.5     Call with J. Roberts (K&E) to discuss current status of
                                            intercompany loan language in ABL credit agreement draft.
Taylor Atwood         6/6/2017      1.5     Review, provide comments to latest extended liquidity forecast,
                                            covenant projections from L. Kenworthy (A&M).
Landon Kenworthy      6/7/2017      0.5     Preparation of contingent Committed Loan Notice with alternative
                                            term loan interest payment date. Delivery of the same to K&E.


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Professional                Date     Hours     Activity
Landon Kenworthy          6/7/2017      0.5    Follow up call with C. Capezuti (Cortland) regarding timing of term
                                               loan interest payment.
Landon Kenworthy          6/7/2017      0.5    Follow up call with P. Saliba (DB) to discuss borrowing base to
                                               comply with CPs prior to emergence.

Subtotal                              125.0



Travel Time
Professional                Date     Hours     Activity
Erin McKeighan            5/2/2017      2.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).
Landon Kenworthy          5/4/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred).

Sarah Margaret Pittman    5/4/2017      0.5    Non-working travel from Houston to Dallas (billed at half time
                                               incurred).
Sean Farrell              5/4/2017      1.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).
Landon Kenworthy          5/7/2017      1.5    Non-working travel from ATL to IAH (billed at half time incurred).

Sarah Margaret Pittman    5/7/2017      0.5    Non-working travel from Dallas to Houston (billed at half time
                                               incurred).
Sean Farrell              5/8/2017      1.5    Non-working travel from Chicago to Houston (billed at half time
                                               incurred).
Landon Kenworthy         5/11/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred).

Sarah Margaret Pittman   5/11/2017      0.5    Non-working travel from Houston to Dallas (billed at half time
                                               incurred).
Sean Farrell             5/11/2017      1.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).
Landon Kenworthy         5/14/2017      1.5    Non-working travel from ATL to IAH (billed at half time incurred).

Sarah Margaret Pittman   5/15/2017      0.5    Non-working travel from Dallas to Houston (billed at half time
                                               incurred).
Sean Farrell             5/16/2017      1.5    Non-working travel from Chicago to Houston (billed at half time
                                               incurred).
Landon Kenworthy         5/18/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred).

Sarah Margaret Pittman   5/18/2017      0.5    Non-working travel from Houston to Dallas (billed at half time
                                               incurred).
Sean Farrell             5/19/2017      1.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).




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Travel Time
Professional                Date     Hours     Activity
Landon Kenworthy         5/23/2017      2.5    Non-working travel from ORD to IAH via DTW (billed at half time
                                               incurred).
Landon Kenworthy         5/25/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred).

Landon Kenworthy         5/29/2017      1.5    Non-working travel from ATL to IAH (billed at half time incurred).

Sarah Margaret Pittman   5/30/2017      0.5    Non-working travel from Dallas to Houston (billed at half time
                                               incurred).
Sean Farrell             5/30/2017      1.5    Non-working travel from Chicago to Houston (billed at half time
                                               incurred).
Landon Kenworthy          6/1/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred)

Sarah Margaret Pittman    6/1/2017      0.5    Non-working travel from Houston to Dallas (billed at half time
                                               incurred).
Sean Farrell              6/2/2017      1.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).
Landon Kenworthy          6/4/2017      1.5    Non-working travel from ATL to IAH (billed at half time incurred)

Sarah Margaret Pittman    6/5/2017      0.5    Non-working travel from Dallas to Houston (billed at half time
                                               incurred).
Sean Farrell              6/5/2017      1.5    Non-working travel from Chicago to Houston (billed at half time
                                               incurred).
Landon Kenworthy          6/8/2017      1.5    Non-working travel from IAH to ATL (billed at half time incurred).

Sarah Margaret Pittman    6/8/2017      0.5    Non-working travel from Houston to Dallas (billed at half time
                                               incurred).
Sean Farrell              6/8/2017      1.5    Non-working travel from Houston to Chicago (billed at half time
                                               incurred).

Subtotal                               38.0



Vendor Management
Professional                Date     Hours     Activity
Sean Farrell              5/1/2017      0.5    Conference call with Brian Minch and Mark Frahm to discuss the
                                               trade motion and vendor payments.
Taylor Atwood             5/2/2017      0.5    Discussion with C. Hayes (K&E) re: trade motion figures related to
                                               utilities, supplies, inventory, warehouse vendors.
Taylor Atwood             5/2/2017      1.0    Call with M. Frahm (AFG), B. Minch (AFG) to discuss critical
                                               vendors, 21-day cash needs related thereto.
Taylor Atwood             5/2/2017      1.0    Follow up call with B. Minch (AFG), M. Frahm (AFG) to discuss
                                               critical vendor budget and list.




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Vendor Management
Professional               Date     Hours     Activity
Sarah Margaret Pittman   5/3/2017     0.5     Work in "DIP Budget" tab of AP Tracking file.

Sarah Margaret Pittman   5/3/2017     1.0     Discuss "Pre-Petition AP Tracker" tab of AP Tracking file with S.
                                              Farrell (A&M).
Sarah Margaret Pittman   5/3/2017     1.0     Work in "Pre-Petition AP Tracker" tab of AP Tracking file.

Sarah Margaret Pittman   5/3/2017     0.5     Create "Payments" tab in AP Tracking file.

Sarah Margaret Pittman   5/3/2017     0.5     Create "Daily Actuals_5 5" tab in 13 Week Cash Flow Actuals file.

Sean Farrell             5/3/2017     1.0     Prepare file to track payments against interim caps.

Sean Farrell             5/3/2017     1.0     Discuss "Pre-Petition AP Tracker" tab of AP Tracking file with S.
                                              Pittman (A&M).
Sean Farrell             5/3/2017     1.0     Meeting with B. Minch (AFG), M. Frahm (AFG), K. Bailey (AFG),
                                              C. Ring (AFG), B. McConn, T. Atwood (A&M), L. Kenworthy
                                              (A&M), S. Pittman (A&M) to review payments for the week and
                                              discuss vendor communication.
Taylor Atwood            5/3/2017     1.5     Call with B. Minch (AFG), M. Frahm (AFG) to discuss current
                                              critical vendor payment requests.
Taylor Atwood            5/4/2017     0.5     Follow up with M. Frahm (AFG) regarding Greenville location
                                              auction documentation.
Taylor Atwood            5/4/2017     0.5     Discussion with J. Bludau (AFG) regarding current critical vendor
                                              issues.
Sean Farrell             5/5/2017     0.5     Participate in call with Forum Energy Technologies team, B.
                                              McConn (AFG), M. Frahm (AFG), B. Minch (AFG), T. Atwood
                                              (A&M) to discuss ch. 11 filing, continuance of trade terms.
Taylor Atwood            5/5/2017     1.0     Call with M. Frahm (AFG), B. Minch (AFG) to discuss issues
                                              related to Deutsche Bank ACH payment processing errors.
Taylor Atwood            5/5/2017     1.0     Call with M. Frahm (AFG), B. Minch (AFG) to go through plan for
                                              reconciling vendor AP and payments for vendors involved in
                                              Deutsche Bank ACH payment processing error.
Taylor Atwood            5/5/2017     1.0     Call with C. Milliken (AFG), B. McConn (AFG) to discuss vendor
                                              related issues at ShrinkFast.
Taylor Atwood            5/5/2017     1.0     Prepare for and participate in call with Forum Energy
                                              Technologies team, B. McConn (AFG), M. Frahm (AFG), B. Minch
                                              (AFG), S. Farrell (A&M) to discuss ch. 11 filing, continuance of
                                              trade terms.
Taylor Atwood            5/6/2017     0.5     Call with B. Minch (AFG) to discuss Spitzer Associates AP
                                              amounts, payment terms.
Landon Kenworthy         5/7/2017     0.5     Review of vendor communication and preparation to respond.

Landon Kenworthy         5/8/2017     0.5     Call with vendor to respond to questions regarding bankruptcy
                                              filing and follow up e-mail.
Sarah Margaret Pittman   5/8/2017     0.5     Work in "Payments Included" tab of AP Tracking file.



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Vendor Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman    5/8/2017     0.5     Work in "Pre-Petition AP Tracker" tab of AP Tracking file.

Sarah Margaret Pittman    5/8/2017     0.5     Discuss AP Tracking file with S. Farrell (A&M).

Sean Farrell              5/8/2017     0.5     Discuss AP Tracking file with S. Pittman (A&M).

Sean Farrell              5/8/2017     1.0     Participate in meeting with the company review payments that
                                               were recalled by Deutsch Bank.
Sean Farrell              5/8/2017     0.5     Discuss AP Tracking file with S. Pittman (A&M).

Taylor Atwood             5/8/2017     1.5     Meeting with M. Frahm (AFG), B. Minch (AFG), B. McConn (AFG)
                                               to discuss reconciliation, communication process related to
                                               vendors involved with Deutsche Bank ACH payment error
Taylor Atwood             5/8/2017     0.5     Follow up call with B. Minch (AFG) to discuss issues related to
                                               Mitsui refusal to ship pre-petition goods.
Taylor Atwood             5/8/2017     1.0     Vendor discussion with Mistui, B. Minch (AFG) to discuss post-
                                               petition terms, pre-petition goods shipments.
Taylor Atwood             5/8/2017     1.0     Call with M. Frahm (AFG), B. Minch (AFG) to discuss vendor
                                               communications, status of vendors refusing to ship/perform.
Jim Grady                 5/9/2017     1.0     Various discussions with C. Sanford (AFG) and T. Atwood (A&M)
                                               re the Deutsche Bank ACH payment issues and impact on
                                               suppliers and operations.
Jim Grady                 5/9/2017     0.5     Discussions with T. Atwood (A&M), B. McConn (AFG), M. Frahm
                                               (AFG) re the Deutsche Bank ACH payment issues and impact on
                                               suppliers and operations.
Sean Farrell              5/9/2017     1.5     Compile legal diligence materials.

Sean Farrell              5/9/2017     0.5     Meet with Tom Giles to review legal diligence document request
                                               list.
Taylor Atwood             5/9/2017     0.5     Discussions with J. Grady (A&M), B. McConn (AFG), M. Frahm
                                               (AFG) re the Deutsche Bank ACH payment issues and impact on
                                               suppliers and operations.
Taylor Atwood             5/9/2017     1.0     Various discussions with C. Samford (AFG) and J. Grady (A&M)
                                               re the Deutsche Bank ACH payment issues and impact on
                                               suppliers and operations.
Taylor Atwood             5/9/2017     1.0     Call with M. Frahm (AFG), B. Minch (AFG) to discuss vendor
                                               communications, status of vendors refusing to ship/perform.
Jim Grady                5/10/2017     1.0     Various discussions with C. Samford (AFG), B. McConn (AFG),
                                               M. Frahm (AFG) and T. Atwood (A&M), E. McKeighan (A&M) re
                                               the Deutsche Bank ACH payment issues and impact on suppliers
                                               and operations, including recommendations for mitigation
                                               strategies.
Sean Farrell             5/10/2017     0.5     Compile information on CenterPoint Energy Services, Inc. and
                                               provide to response to inquiry.




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Vendor Management
Professional                Date     Hours     Activity
Taylor Atwood            5/10/2017     1.0     Call with Machine Services team, B. Minch (AFG) to negotiate
                                               post-petition vendor terms, pre-petition amounts payable.
Taylor Atwood            5/10/2017     1.0     Various discussions with C. Samford (AFG), B. McConn (AFG),
                                               M. Frahm (AFG) and J. Grady (A&M), E. McKeighan (A&M) re the
                                               Deutsche Bank ACH payment issues and impact on suppliers and
                                               operations, including recommendations for mitigation strategies.
Taylor Atwood            5/10/2017     0.5     Call with M. Frahm (AFG), B. Minch (AFG) to discuss
                                               communications related to vendors involved in Deutsche Bank
                                               ACH payment errors.
Taylor Atwood            5/10/2017     1.5     Call with M. Frahm (AFG), B. Minch (AFG) to discuss vendor
                                               communications, current status of various supplier shipments.
Sarah Margaret Pittman   5/11/2017     0.5     Research questions from E. McKeighan (A&M) related to Initial
                                               Operating Report.
Taylor Atwood            5/11/2017     1.0     Call with Retail Business Products team, B. Minch (AFG) to
                                               discuss ch. 11 filing and vendor status.
Taylor Atwood            5/11/2017     0.5     Discussion with T. West (D&P) to walk through pre-petition
                                               invoice payments reconciliation.
Sarah Margaret Pittman   5/12/2017     0.5     Reconcile "Payments" tab of AP Post Petition Tracking file.

Sarah Margaret Pittman   5/12/2017     0.5     Review AP Post Petition Tracking file; submit to S. Farrell (A&M).

Sarah Margaret Pittman   5/12/2017     0.5     Reconcile "Payments Included" tab of AP Post Petition Tracking
                                               file.
Sarah Margaret Pittman   5/12/2017     1.0     Update "Pre-Petition AP Tracker" tab of AP Post Petition Tracking
                                               file.
Taylor Atwood            5/12/2017     1.0     Discussion with M. Frahm (AFG), B. Minch (AFG), J. Bludau
                                               (AFG) to discuss current status of vendor communications, pre-
                                               petition AP reconciliations, upcoming noticing issues.
Sean Farrell             5/15/2017     0.5     Correspondence with Guy Williams (AFG) regarding SHI vendor
                                               inquiries and game plan.
Taylor Atwood            5/15/2017     0.5     Call with A. Yoon (Citrix) to negotiate credit limit increase, trade
                                               terms.
Taylor Atwood            5/15/2017     0.5     Follow up discussion with M. Frahm (AFG) to discuss Citrix credit
                                               issues.
Landon Kenworthy         5/16/2017     0.5     Call with B. Minch (AFG) to discuss pre-petition and post-petition
                                               budgets for WE 5/19.
Sarah Margaret Pittman   5/16/2017     0.5     Review "Payments Included" tab of AP Tracking file.

Sarah Margaret Pittman   5/16/2017     0.5     Update "Payments" tab of AP Tracking file.

Sarah Margaret Pittman   5/16/2017     0.5     Update "Pre-Petition AP Tracker" tab of AP Tracking file.

Sarah Margaret Pittman   5/16/2017     0.5     Work in "Pre-Petition AP Tracker" tab of AP Tracking file.




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Vendor Management
Professional                Date     Hours     Activity
Sarah Margaret Pittman   5/16/2017     0.5     Update "Payments Included" tab of AP Tracking file.

Sean Farrell             5/16/2017     1.0     Meet with Guy Williams (AFG) to discuss the renewal of key IT
                                               licenses and vendor communication plan.
Sean Farrell             5/17/2017     0.5     Meeting with Guy Williams to discuss the Veritrust relationship
                                               related to vendor inquiry.
Sean Farrell             5/17/2017     0.5     Correspondence with Chris Hayes (K&E) regarding Duke
                                               Energy's adequate assurance payment request.
Taylor Atwood            5/17/2017     1.0     Call with B. Minch (AFG) to discuss current status of vendor
                                               negotiations related to post-petition credit account closures.
Jim Grady                5/18/2017     0.5     Follow-up discussions and correspondence with T. Atwood
                                               (A&M), S. Farrell (A&M) and J. Bludau (AFG) re questions from
                                               certain suppliers requesting credit information and background on
                                               AFG case.
Jim Grady                5/18/2017     0.5     Review of and comments to proposed correspondence prepared
                                               by S. Farrell (A&M) re questions from certain suppliers requesting
                                               credit information and background on AFG case.
Sean Farrell             5/18/2017     0.5     Series of telephone calls with representatives from Central Power
                                               to discuss the bankruptcy plan and impact on pending purchase
                                               order.
Sean Farrell             5/18/2017     0.5     Review of claims trading documentation including
                                               correspondence with Bryan Minch (AFG) regarding the same.
Taylor Atwood            5/18/2017     1.0     Call with B. Minch (AFG) to discuss current status of vendor
                                               communications for Jindal, Citrix, CMC.
Sarah Margaret Pittman   5/19/2017     0.5     Reconcile "Payments" tab of AP Post Petition Tracking file.

Sarah Margaret Pittman   5/19/2017     0.5     Reconcile "Payments Included" tab of AP Post Petition Tracking
                                               file.
Sarah Margaret Pittman   5/19/2017     1.0     Update "Pre-Petition AP Tracker" tab of AP Post Petition Tracking
                                               file.
Sarah Margaret Pittman   5/19/2017     0.5     Review AP Post Petition Tracking file; submit to S. Farrell (A&M).

Sean Farrell             5/19/2017     0.5     Correspondence with Bill Allen from Central Power regarding
                                               confirmation of the plan of reorganization.
Sean Farrell             5/23/2017     0.5     Correspondence with Bryan Minch regarding vendor
                                               communication.
Sean Farrell             5/24/2017     0.5     Compile information on transfer of claim from TRC Master Fund
                                               LLC bought Tire & Wheel Connection.
Sean Farrell             5/24/2017     0.5     Correspondence with Bryan Minch (AFG) regarding vendor issues.

Sean Farrell             5/25/2017     1.5     Prepare a vendor communication regarding transaction;
                                               correspondence with supply chain regarding the same.
Taylor Atwood            5/26/2017     0.5     Call with B. Minch (AFG) to discuss current vendor issues related
                                               to post-petition shipments, credit terms.


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Vendor Management
Professional           Date     Hours     Activity
Landon Kenworthy     6/1/2017      0.5    Call with B. Minch (AFG) to discuss supply chain and strategy for
                                          payments in coming weeks.
Taylor Atwood        6/5/2017      1.0    Call with B. Minch (AFG) to discuss vendor related issues
                                          pertaining to renewal of post-petition credit, current credit limits at
                                          large suppliers.
Taylor Atwood        6/6/2017      0.5    Correspondence with J. Bludau (AFG) regarding vendor trade
                                          terms.
Taylor Atwood        6/7/2017      1.0    Call with B. Minch (AFG) to discuss post-emergence
                                          communications plan related vendors that discontinued
                                          deliveries/services.

Subtotal                          62.5



Grand Total                     1,025.0




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                          EXHIBIT E

            EXPENSE DETAIL BY PROFESSIONAL
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                                                                                                   Exhibit E


                                  Ameriforge Group Inc., et al.,
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                                 May 1, 2017 through June 8, 2017


                                                  Airfare

Professional/Service        Date       Expense        Expense Description

Sarah Margaret Pittman    5/1/2017      $224.98       Airfare one-way coach Houston/Dallas.

Landon Kenworthy          5/4/2017      $392.20       Airfare one-way coach Houston/Atlanta.

Sean Farrell              5/4/2017      $223.98       Airfare one-way coach Houston/Chicago.

Taylor Atwood             5/4/2017      $224.20       Airfare one-way coach Houston/Dallas.

Sarah Margaret Pittman    5/6/2017      $224.98       Airfare one-way coach Dallas/Houston.

Landon Kenworthy          5/7/2017      $392.20       Airfare one-way coach Atlanta/Houston.

Sean Farrell              5/8/2017      $367.98       Airfare one-way coach Chicago/Houston.

Taylor Atwood             5/8/2017      $224.20       Airfare one-way coach Dallas/Houston.

Jim Grady                5/10/2017      $551.97       Roundtrip airfare New Orleans/Houston.

Jim Grady                5/10/2017      $275.98       Airfare one-way coach Houston/New Orleans.

Jim Grady                5/10/2017      $502.48       Airfare one-way coach Chicago/Houston.

Landon Kenworthy         5/11/2017      $392.20       Airfare one-way coach Houston/Atlanta.

Sarah Margaret Pittman   5/11/2017      $246.98       Airfare one-way coach Houston/Dallas

Sean Farrell             5/11/2017      $367.98       Airfare one-way coach Houston/Chicago.

Taylor Atwood            5/12/2017      $224.20       Airfare one-way coach Houston/Dallas.

Landon Kenworthy         5/14/2017      $392.20       Airfare one-way coach Atlanta/Houston.

Sarah Margaret Pittman   5/14/2017      $224.95       Airfare one-way coach Dallas/Houston.

Taylor Atwood            5/15/2017      $224.20       Airfare one-way coach Dallas/Houston.

Sarah Margaret Pittman   5/16/2017      $224.95       Airfare one-way coach Houston/Dallas.

Sean Farrell             5/16/2017      $223.95       Airfare one-way coach Chicago/Houston.

Taylor Atwood            5/17/2017      $224.20       Airfare one-way coach Houston/Dallas.

Landon Kenworthy         5/18/2017      $392.20       Airfare one-way coach Houston/Atlanta.

Sean Farrell             5/19/2017      $223.95       Airfare one-way coach Houston/Chicago.

Landon Kenworthy         5/25/2017      $394.20       Airfare one-way coach Houston/Atlanta.

Landon Kenworthy         5/29/2017      $394.20       Airfare one-way coach Atlanta/Houston.

Sarah Margaret Pittman   5/29/2017      $246.98       Airfare one-way coach Dallas/Houston.

Sean Farrell             5/30/2017      $223.95       Airfare one-way coach Chicago/Houston.

Taylor Atwood            5/30/2017      $224.20       Airfare one-way coach Dallas/Houston.

Landon Kenworthy          6/1/2017      $392.20       Airfare one-way coach Houston/Atlanta.

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                                                                                                Exhibit E


                                  Ameriforge Group Inc., et al.,
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                                 May 1, 2017 through June 8, 2017


                                                   Airfare

Professional/Service        Date        Expense        Expense Description

Sarah Margaret Pittman    6/1/2017      $224.95        Airfare one-way coach Houston/Dallas.

Sarah Margaret Pittman    6/1/2017      $246.98        Airfare one-way coach Dallas/Houston.

Sean Farrell              6/2/2017      $367.98        Airfare one-way coach Houston/Chicago.

Taylor Atwood             6/2/2017      $253.05        Airfare one-way coach Houston/Dallas.

Jim Grady                 6/3/2017      $563.96        Roundtrip airfare New Orleans/Houston.

Landon Kenworthy          6/4/2017      $392.20        Airfare one-way coach Atlanta/Houston.

Sean Farrell              6/5/2017      $223.95        Airfare one-way coach Chicago/Houston.

Sean Farrell              6/7/2017      $367.98        Airfare one-way coach Houston/Chicago.

Landon Kenworthy          6/8/2017      $392.20        Airfare one-way coach Houston/Atlanta.

Sarah Margaret Pittman    6/8/2017      $224.95        Airfare one-way coach Houston/Dallas.

Taylor Atwood             6/8/2017      $194.20        Airfare one-way coach Houston/Dallas.

   Expense Category Total             $12,295.24


                                                   Lodging

Professional/Service        Date        Expense        Expense Description

Jim Grady                 5/2/2017      $315.90        Hotel in Houston - 2 nights.

Sarah Margaret Pittman    5/3/2017      $796.77        Hotel in Houston - 3 nights.

Sean Farrell              5/3/2017      $926.64        Hotel in Houston - 3 nights.

Taylor Atwood             5/3/2017      $884.52        Hotel in Houston - 3 nights.

Landon Kenworthy          5/4/2017      $873.99        Hotel in Houston - 3 nights.

Landon Kenworthy         5/10/2017      $912.68        Hotel in Houston - 4 nights.

Sarah Margaret Pittman   5/10/2017      $992.16        Hotel in Houston - 4 nights.

Sean Farrell             5/10/2017      $716.04        Hotel in Houston - 3 nights.

Taylor Atwood            5/11/2017      $876.39        Hotel in Houston - 4 nights.

Taylor Atwood            5/16/2017      $437.58        Hotel in Houston - 2 nights.

Sarah Margaret Pittman   5/17/2017      $729.82        Hotel in Houston - 3 nights.

Landon Kenworthy         5/18/2017      $912.68        Hotel in Houston - 4 nights.

Sean Farrell             5/18/2017      $764.01        Hotel in Houston - 3 nights.


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                                                                                                      Exhibit E


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                                                   Lodging

Professional/Service        Date        Expense        Expense Description

Jim Grady                5/19/2017      $315.90        Hotel in Houston - 2 nights.

Jim Grady                5/24/2017      $535.86        Hotel in Houston - 2 nights.

Landon Kenworthy         5/24/2017      $479.28        Hotel in Houston - 2 nights.

Sarah Margaret Pittman   5/31/2017      $437.58        Hotel in Houston - 2 nights.

Landon Kenworthy          6/1/2017      $637.48        Hotel in Houston - 4 nights.

Sean Farrell              6/1/2017      $731.25        Hotel in Houston - 3 nights.

Taylor Atwood             6/1/2017      $656.37        Hotel in Houston - 3 nights.

Taylor Atwood             6/6/2017      $437.58        Hotel in Houston - 2 nights.

Jim Grady                 6/7/2017      $473.85        Hotel in Houston - 3 nights.

Sarah Margaret Pittman    6/7/2017      $661.34        Hotel in Houston - 3 nights.

Sean Farrell              6/7/2017      $733.59        Hotel in Houston - 3 nights.

Landon Kenworthy          6/8/2017      $821.00        Hotel in Houston - 4 nights.

   Expense Category Total             $17,060.26


                                                   Meals

Professional/Service        Date        Expense        Expense Description

Jim Grady                 5/1/2017       $15.08        Out of town breakfast - J. Grady.

Landon Kenworthy          5/1/2017         $4.64       Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    5/1/2017       $15.49        Out of town breakfast - S. Pittman.

Sean Farrell              5/1/2017         $2.71       Out of town breakfast - S. Farrell.

Taylor Atwood             5/1/2017      $216.45        Out of town dinner - T. Atwood, J. Grady, S. Pittman, L.
                                                       Kenworthy, S. Farrell - 5.
Jim Grady                 5/2/2017       $46.50        Out of town dinner - J. Grady

Landon Kenworthy          5/2/2017       $17.25        Out of town dinner - L. Kenworthy.

Landon Kenworthy          5/2/2017       $12.21        Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    5/2/2017         $8.42       Out of town breakfast - S. Pittman.

Sarah Margaret Pittman    5/2/2017       $37.75        Out of town dinner - S. Pittman.

Sean Farrell              5/2/2017       $20.00        Out of town dinner - S. Farrell.

Sean Farrell              5/2/2017       $11.29        Out of town breakfast - S. Farrell.

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                                                  Meals

Professional/Service        Date       Expense       Expense Description

Taylor Atwood             5/2/2017       $23.25      Out of town dinner - T. Atwood.

Taylor Atwood             5/2/2017       $36.08      Working lunch - T. Atwood, B. McConn, T. Giles (AF Global) -
                                                     3.
Jim Grady                 5/3/2017       $17.64      Out of town dinner - J. Grady

Jim Grady                 5/3/2017        $8.98      Out of town breakfast - J. Grady.

Landon Kenworthy          5/3/2017        $7.57      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    5/3/2017       $13.60      Out of town breakfast - S. Pittman.

Sarah Margaret Pittman    5/3/2017       $31.25      Out of town dinner - S. Pittman.

Sean Farrell              5/3/2017       $31.98      Out of town dinner - S. Farrell.

Sean Farrell              5/3/2017       $11.99      Out of town breakfast - S. Farrell.

Taylor Atwood             5/3/2017      $114.18      Out of town dinner - T. Atwood, L. Kenworthy, S. Pittman - 3.

Taylor Atwood             5/3/2017      $100.00      Out of town dinner - T. Atwood, B. McConn - 2.

Sarah Margaret Pittman    5/4/2017       $15.49      Out of town breakfast - S. Pittman.

Sean Farrell              5/4/2017        $2.44      Out of town breakfast - S. Farrell.

Sarah Margaret Pittman    5/7/2017       $13.23      Out of town dinner - S. Pittman.

Landon Kenworthy          5/8/2017       $32.00      Out of town dinner - L. Kenworthy.

Landon Kenworthy          5/8/2017       $12.21      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    5/8/2017       $15.49      Out of town breakfast - S. Pittman.

Sean Farrell              5/8/2017       $14.06      Out of town breakfast - S. Farrell.

Sean Farrell              5/8/2017       $26.62      Out of town dinner - S. Farrell.

Taylor Atwood             5/8/2017       $97.94      Out of town dinner - T. Atwood, S. Pittman - 2.

Landon Kenworthy          5/9/2017       $34.23      Out of town dinner - L. Kenworthy.

Landon Kenworthy          5/9/2017       $12.75      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    5/9/2017       $28.04      Out of town dinner - S. Pittman.

Sarah Margaret Pittman    5/9/2017       $50.00      Out of town dinner - S. Pittman.

Sean Farrell              5/9/2017        $2.44      Out of town breakfast - S. Farrell.

Landon Kenworthy         5/10/2017        $8.60      Out of town breakfast - S. Pittman.

Landon Kenworthy         5/10/2017       $12.21      Out of town breakfast - L. Kenworthy.

Sean Farrell             5/10/2017        $2.44      Out of town breakfast - S. Farrell.



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                                                  Meals

Professional/Service        Date       Expense       Expense Description

Sean Farrell             5/10/2017      $170.24      Out of town dinner - L. Kenworthy, S. Pittman, S. Farrell, T.
                                                     Atwood - 4.
Landon Kenworthy         5/11/2017       $12.75      Out of town breakfast - L. Kenworthy.

Sean Farrell             5/11/2017       $15.29      Out of town dinner - S. Farrell.

Sean Farrell             5/11/2017        $2.44      Out of town breakfast - S. Farrell.

Taylor Atwood            5/11/2017       $49.51      Out of town dinner - T. Atwood.

Landon Kenworthy         5/15/2017       $12.21      Out of town breakfast - L. Kenworthy.

Landon Kenworthy         5/15/2017       $34.77      Out of town dinner - L. Kenworthy.

Sarah Margaret Pittman   5/15/2017       $17.24      Out of town dinner - S. Pittman.

Sarah Margaret Pittman   5/15/2017        $3.98      Out of town breakfast - S. Pittman.

Taylor Atwood            5/15/2017       $31.82      Out of town dinner - T. Atwood.

Landon Kenworthy         5/16/2017       $12.75      Out of town breakfast - L. Kenworthy.

Landon Kenworthy         5/16/2017       $50.00      Out of town dinner - L. Kenworthy.

Sarah Margaret Pittman   5/16/2017       $18.47      Out of town breakfast - S. Pittman.

Sarah Margaret Pittman   5/16/2017       $36.33      Out of town dinner - S. Pittman.

Sean Farrell             5/16/2017       $40.56      Out of town dinner - S. Farrell.

Sean Farrell             5/16/2017       $14.06      Out of town breakfast - S. Farrell.

Taylor Atwood            5/16/2017       $77.66      Out of town dinner - T. Atwood, B. McConn - 2.

Jim Grady                5/17/2017        $8.31      Out of town breakfast - J. Grady.

Jim Grady                5/17/2017       $44.11      Out of town dinner - J. Grady.

Landon Kenworthy         5/17/2017       $12.75      Out of town breakfast - L. Kenworthy.

Landon Kenworthy         5/17/2017       $35.31      Out of town dinner - L. Kenworthy.

Sarah Margaret Pittman   5/17/2017       $21.12      Out of town breakfast - S. Pittman.

Sarah Margaret Pittman   5/17/2017       $36.33      Out of town dinner - S. Pittman.

Sean Farrell             5/17/2017       $11.99      Out of town breakfast - S. Farrell.

Sean Farrell             5/17/2017       $38.48      Out of town dinner - S. Farrell.

Jim Grady                5/18/2017       $91.86      Out of town dinner - J. Grady, S. Farrell - 2.

Jim Grady                5/18/2017       $10.28      Out of town breakfast - J. Grady.

Landon Kenworthy         5/18/2017       $12.21      Out of town breakfast - L. Kenworthy.



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                                                  Meals

Professional/Service        Date       Expense       Expense Description

Sarah Margaret Pittman   5/18/2017       $13.60      Out of town breakfast - S. Pittman.

Sean Farrell             5/18/2017       $13.99      Out of town breakfast - S. Farrell.

Jim Grady                5/23/2017       $42.97      Out of town dinner - J. Grady.

Landon Kenworthy         5/23/2017       $14.91      Out of town dinner - L. Kenworthy.

Jim Grady                5/24/2017       $10.28      Out of town breakfast - J. Grady.

Jim Grady                5/24/2017       $17.25      Out of town dinner - J. Grady.

Landon Kenworthy         5/24/2017       $32.06      Out of town dinner - L. Kenworthy.

Landon Kenworthy         5/24/2017       $12.21      Out of town breakfast - L. Kenworthy.

Jim Grady                5/25/2017       $23.00      Out of town dinner - J. Grady.

Jim Grady                5/25/2017       $12.18      Out of town breakfast - J. Grady.

Landon Kenworthy         5/25/2017       $12.21      Out of town breakfast - L. Kenworthy.

Landon Kenworthy         5/25/2017       $14.07      Out of town dinner - L. Kenworthy.

Landon Kenworthy         5/30/2017       $32.06      Out of town dinner - L. Kenworthy.

Landon Kenworthy         5/30/2017       $12.75      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman   5/30/2017        $7.24      Out of town breakfast - S. Pittman.

Sean Farrell             5/30/2017       $34.76      Out of town dinner - S. Farrell.

Taylor Atwood            5/30/2017       $92.53      Out of town dinner - T. Atwood, S. Pittman - 2.

Landon Kenworthy         5/31/2017       $12.21      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman   5/31/2017       $19.55      Out of town breakfast - S. Pittman.

Taylor Atwood            5/31/2017      $148.91      Out of town dinner - T. Atwood, S. Pittman, L. Kenworthy, S.
                                                     Farrell - 4.
Landon Kenworthy          6/1/2017       $14.54      Out of town dinner - L. Kenworthy.

Landon Kenworthy          6/1/2017       $12.54      Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    6/1/2017       $19.28      Out of town breakfast - S. Pittman.

Sean Farrell              6/1/2017        $2.87      Out of town breakfast - S. Farrell.

Sean Farrell              6/1/2017       $47.06      Out of town dinner - S. Farrell.

Sean Farrell              6/2/2017        $2.87      Out of town breakfast - S. Farrell.

Landon Kenworthy          6/4/2017       $32.85      Out of town dinner - L. Kenworthy.

Jim Grady                 6/5/2017       $43.61      Out of town dinner - J. Grady.



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                                                   Meals

Professional/Service        Date        Expense       Expense Description

Landon Kenworthy          6/5/2017       $12.21       Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    6/5/2017        $7.24       Out of town breakfast - S. Pittman.

Sean Farrell              6/5/2017       $13.10       Out of town breakfast - S. Farrell.

Jim Grady                 6/6/2017      $272.33       Out of town dinner - J. Grady, L. Kenworthy, S. Pittman, S.
                                                      Farrell, T. Atwood - 5.
Jim Grady                 6/6/2017        $8.98       Out of town breakfast - J. Grady.

Landon Kenworthy          6/6/2017       $12.21       Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    6/6/2017       $21.71       Out of town breakfast - S. Pittman.

Sean Farrell              6/6/2017        $2.44       Out of town breakfast - S. Farrell.

Jim Grady                 6/7/2017        $8.98       Out of town breakfast - J. Grady.

Landon Kenworthy          6/7/2017       $12.75       Out of town breakfast - L. Kenworthy.

Landon Kenworthy          6/7/2017       $32.06       Out of town dinner - L. Kenworthy.

Sarah Margaret Pittman    6/7/2017       $21.71       Out of town breakfast - S. Pittman.

Sarah Margaret Pittman    6/7/2017       $20.51       Out of town dinner - S. Pittman.

Sean Farrell              6/7/2017        $2.44       Out of town breakfast - S. Farrell.

Sean Farrell              6/7/2017       $72.63       Out of town dinner - S. Farrell, J. Grady - 2.

Jim Grady                 6/8/2017        $8.98       Out of town breakfast - J. Grady.

Landon Kenworthy          6/8/2017       $12.75       Out of town breakfast - L. Kenworthy.

Sarah Margaret Pittman    6/8/2017       $17.66       Out of town breakfast - S. Pittman.

Sean Farrell              6/8/2017       $14.06       Out of town breakfast - S. Farrell.

   Expense Category Total              $3,436.44


                                            Miscellaneous

Professional/Service        Date        Expense       Expense Description

Landon Kenworthy          5/1/2017       $80.04       Wireless usage charges.

Landon Kenworthy          5/4/2017       $17.27       Internet online fee on flight.

Landon Kenworthy          5/7/2017       $14.95       Wifi charge on flight.

Abria Martin             5/12/2017       $11.03       Wireless usage charges.

Jeff Stegenga            5/12/2017       $16.93       Wireless usage charges.

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                                           Miscellaneous

Professional/Service        Date       Expense     Expense Description

Jim Grady                5/12/2017       $78.90    Wireless usage charges.

Nick Tammerine           5/12/2017        $8.95    Wireless usage charges.

Taylor Atwood            5/12/2017       $63.00    Wireless usage charges.

Landon Kenworthy         5/18/2017       $17.27    Internet online fee on flight.

Taylor Atwood            5/18/2017       $19.00    In flight wi-fi charge.

Landon Kenworthy         5/23/2017       $19.95    Internet online fee on flight.

Erin McKeighan            6/1/2017       $11.03    Wireless usage charges.

Erin McKeighan            6/1/2017       $63.16    Wireless usage charges.

Landon Kenworthy          6/1/2017       $80.04    Wireless usage charges.

Sarah Margaret Pittman    6/1/2017       $39.14    Wireless usage charges.

Sarah Margaret Pittman    6/1/2017      $123.96    Wireless usage charges.

Sean Farrell              6/1/2017       $15.03    Wireless usage charges.

Sean Farrell              6/1/2017       $86.16    Wireless usage charges.

                         6/12/2017        $4.34    Wireless usage charges.

Jim Grady                6/12/2017       $34.64    Wireless usage charges.

   Expense Category Total               $804.79


                                           Transportation

Professional/Service        Date       Expense     Expense Description

Erin McKeighan            5/1/2017       $58.65    Taxi from airport to hotel.

Jim Grady                 5/1/2017       $24.48    Taxi in Houston.

Landon Kenworthy          5/1/2017       $15.50    Taxi from client to hotel.

Landon Kenworthy          5/1/2017       $12.65    Taxi to Atlanta Airport.

Landon Kenworthy          5/1/2017       $40.35    Taxi from Houston Airport to hotel.

Landon Kenworthy          5/1/2017       $16.17    Taxi from hotel to client.

Sarah Margaret Pittman    5/1/2017       $16.97    Taxi from hotel to client.

Sarah Margaret Pittman    5/1/2017       $12.45    Taxi from dinner to hotel.

Sean Farrell              5/1/2017       $17.42    Taxi from client to hotel.


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                                          Transportation

Professional/Service       Date       Expense     Expense Description

Sean Farrell             5/1/2017       $21.93    Taxi from hotel to client.

Taylor Atwood            5/1/2017       $80.00    Taxi from Houston Airport to hotel.

Jim Grady                5/2/2017       $18.10    Taxi from client to hotel.

Landon Kenworthy         5/2/2017       $10.86    Taxi from hotel to client.

Landon Kenworthy         5/2/2017       $17.49    Taxi from client to hotel.

Sarah Margaret Pittman   5/2/2017       $13.20    Taxi from client to hotel.

Sarah Margaret Pittman   5/2/2017       $13.88    Taxi from hotel to client.

Sarah Margaret Pittman   5/2/2017       $47.64    Taxi to hotel.

Sean Farrell             5/2/2017       $30.66    Taxi from client to court.

Sean Farrell             5/2/2017       $18.17    Taxi from hotel to client.

Sean Farrell             5/2/2017        $5.43    Taxi from court to hotel.

Taylor Atwood            5/2/2017       $23.47    Taxi from dinner to hotel.

Taylor Atwood            5/2/2017       $28.29    Taxi from hotel to client.

Taylor Atwood            5/2/2017       $11.68    Taxi from court to hotel.

Jim Grady                5/3/2017       $58.28    Parking at New Orleans Airport.

Jim Grady                5/3/2017       $21.89    Taxi in Houston.

Jim Grady                5/3/2017       $33.86    Taxi from client to Houston Airport.

Landon Kenworthy         5/3/2017       $16.57    Taxi from client to hotel.

Landon Kenworthy         5/3/2017       $13.75    Taxi from hotel to client.

Sarah Margaret Pittman   5/3/2017       $17.74    Taxi to hotel.

Sarah Margaret Pittman   5/3/2017       $16.33    Taxi from hotel to client.

Sarah Margaret Pittman   5/3/2017       $12.40    Taxi from hotel to client.

Sarah Margaret Pittman   5/3/2017       $12.62    Taxi from client to hotel.

Sean Farrell             5/3/2017       $18.05    Taxi from client to hotel.

Sean Farrell             5/3/2017       $25.33    Taxi from hotel to client.

Taylor Atwood            5/3/2017       $12.15    Taxi from client to hotel.

Taylor Atwood            5/3/2017       $12.15    Taxi from dinner to hotel (Atwood/Pittman).

Landon Kenworthy         5/4/2017       $37.07    Taxi from hotel to Houston Airport.

Sarah Margaret Pittman   5/4/2017       $56.95    Taxi from client to Houston Airport.

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                                          Transportation

Professional/Service       Date       Expense     Expense Description

Sarah Margaret Pittman   5/4/2017       $27.49    Taxi from hotel to client.

Sarah Margaret Pittman   5/4/2017       $25.89    Taxi from DFW Airport to home.

Sean Farrell             5/4/2017       $28.68    Taxi from client to Houston Airport.

Sean Farrell             5/4/2017       $44.37    Taxi from Chicago Airport to home.

Sean Farrell             5/4/2017       $32.33    Taxi from hotel to client.

Taylor Atwood            5/4/2017       $27.64    Taxi from hotel to client.

Taylor Atwood            5/4/2017       $27.64    Taxi from hotel to client (Atwood/Pittman).

Sarah Margaret Pittman   5/7/2017       $10.45    Taxi form home to Dallas Airport.

Sarah Margaret Pittman   5/7/2017       $34.95    Taxi from Houston Airport to hotel.

Landon Kenworthy         5/8/2017       $36.27    Taxi from Houston Airport to hotel.

Landon Kenworthy         5/8/2017       $12.01    Taxi from hotel to client.

Sarah Margaret Pittman   5/8/2017       $16.49    Taxi from hotel to client.

Sarah Margaret Pittman   5/8/2017       $17.31    Taxi from dinner to hotel.

Sean Farrell             5/8/2017       $12.22    Taxi in Houston.

Sean Farrell             5/8/2017       $28.71    Taxi from Houston Airport to client.

Sean Farrell             5/8/2017       $46.67    Taxi from home to Chicago Airport.

Taylor Atwood            5/8/2017       $65.37    Taxi from home to DFW Airport.

Taylor Atwood            5/8/2017        $5.43    Taxi from client to hotel.

Taylor Atwood            5/8/2017       $29.68    Taxi from Houston Airport to hotel.

Taylor Atwood            5/8/2017        $5.43    Taxi from client to hotel.

Landon Kenworthy         5/9/2017       $12.52    Taxi from hotel to client.

Landon Kenworthy         5/9/2017       $10.13    Taxi from client to dinner.

Landon Kenworthy         5/9/2017        $9.75    Taxi from client to dinner.

Sarah Margaret Pittman   5/9/2017       $13.84    Taxi from client to hotel.

Sarah Margaret Pittman   5/9/2017       $14.54    Taxi: Transportation

Sarah Margaret Pittman   5/9/2017       $26.50    Taxi from hotel to client.

Sean Farrell             5/9/2017       $15.62    Taxi from client to hotel.

Sean Farrell             5/9/2017       $12.24    Taxi from hotel to client.

Taylor Atwood            5/9/2017        $5.43    Taxi from hotel to client.

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                                           Transportation

Professional/Service        Date       Expense     Expense Description

Landon Kenworthy         5/10/2017       $12.01    Taxi from hotel to client.

Sean Farrell             5/10/2017       $12.44    Taxi from hotel to client.

Sean Farrell             5/10/2017        $8.47    Taxi from client to dinner.

Taylor Atwood            5/10/2017        $5.43    Taxi from hotel to client

Landon Kenworthy         5/11/2017       $13.29    Taxi from dinner to hotel.

Landon Kenworthy         5/11/2017       $12.94    Taxi from hotel to client.

Landon Kenworthy         5/11/2017       $39.04    Taxi from client to Houston Airport.

Landon Kenworthy         5/11/2017       $37.80    Taxi from Atlanta Airport to home.

Sarah Margaret Pittman   5/11/2017       $13.24    Taxi from Dallas Airport to home.

Sarah Margaret Pittman   5/11/2017       $22.99    Taxi from hotel to Houston Airport.

Sean Farrell             5/11/2017       $40.78    Taxi from Chicago Airport to home.

Sean Farrell             5/11/2017       $41.07    Taxi from client to Houston Airport.

Sean Farrell             5/11/2017       $12.23    Taxi from hotel to client.

Taylor Atwood            5/11/2017        $5.43    Taxi from hotel to client

Taylor Atwood            5/12/2017       $29.04    Taxi from client to hotel.

Taylor Atwood            5/12/2017        $5.43    Taxi from hotel to client

Taylor Atwood            5/12/2017       $29.04    Taxi from client to Houston Airport.

Landon Kenworthy         5/14/2017       $13.47    Taxi from home to Atlanta Airport.

Landon Kenworthy         5/14/2017       $38.07    Taxi from Houston Airport to hotel.

Sarah Margaret Pittman   5/14/2017       $24.70    Taxi from hotel to client.

Landon Kenworthy         5/15/2017       $12.67    Taxi from hotel to client.

Landon Kenworthy         5/15/2017       $11.10    Taxi from client to dinner.

Sarah Margaret Pittman   5/15/2017       $29.92    Taxi from Houston Airport to client.

Sarah Margaret Pittman   5/15/2017       $10.91    Taxi from home to Dallas Airport.

Taylor Atwood            5/15/2017        $5.43    Taxi from hotel to client.

Taylor Atwood            5/15/2017       $20.11    Taxi from home to DFW Airport.

Taylor Atwood            5/15/2017       $30.56    Taxi from Houston Airport to client.

Landon Kenworthy         5/16/2017       $12.69    Taxi from hotel to client.

Landon Kenworthy         5/16/2017       $11.90    Taxi from client to dinner.

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                                           Transportation

Professional/Service        Date       Expense     Expense Description

Sarah Margaret Pittman   5/16/2017        $6.96    Taxi from hotel to client.

Sarah Margaret Pittman   5/16/2017        $5.67    Taxi from client to hotel.

Sean Farrell             5/16/2017       $28.42    Taxi from home to Chicago Airport.

Sean Farrell             5/16/2017       $28.33    Taxi from Houston to client.

Jim Grady                5/17/2017       $70.25    Taxi from Houston Airport to client.

Jim Grady                5/17/2017       $17.99    Taxi in Houston.

Landon Kenworthy         5/17/2017       $10.08    Taxi from client to dinner.

Landon Kenworthy         5/17/2017       $12.25    Taxi from hotel to client.

Sarah Margaret Pittman   5/17/2017        $5.43    Taxi from hotel to client.

Sean Farrell             5/17/2017       $17.76    Taxi from client to hotel.

Sean Farrell             5/17/2017       $17.51    Taxi from client to hotel.

Sean Farrell             5/17/2017       $17.12    Taxi from hotel to client.

Taylor Atwood            5/17/2017        $5.43    Taxi from hotel to client.

Taylor Atwood            5/17/2017       $29.52    Taxi from client to Houston Airport.

Taylor Atwood            5/17/2017       $29.52    Taxi in Houston.

Taylor Atwood            5/17/2017       $41.26    Taxi from DFW Airport to home.

Jim Grady                5/18/2017       $17.19    Taxi in Houston.

Landon Kenworthy         5/18/2017       $38.35    Taxi from client to Houston Airport.

Landon Kenworthy         5/18/2017       $33.73    Taxi from Atlanta Airport to home.

Landon Kenworthy         5/18/2017       $11.80    Taxi from hotel to client.

Sarah Margaret Pittman   5/18/2017       $13.11    Taxi from Dallas Airport to home.

Sarah Margaret Pittman   5/18/2017        $5.43    Taxi from hotel to client.

Sarah Margaret Pittman   5/18/2017       $28.85    Taxi from client to Houston Airport.

Sean Farrell             5/18/2017       $17.09    Taxi from hotel to client.

Sean Farrell             5/18/2017       $17.19    Taxi from client to hotel.

Jim Grady                5/19/2017       $48.86    Parking at New Orleans Airport.

Jim Grady                5/19/2017        $5.42    Taxi in Houston.

Sean Farrell             5/19/2017       $16.35    Taxi from court to Houston Airport.

Sean Farrell             5/19/2017       $33.17    Taxi from Chicago Airport to home.

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                                           Transportation

Professional/Service        Date       Expense     Expense Description

Sean Farrell             5/19/2017        $5.42    Taxi from hotel to court.

Landon Kenworthy         5/21/2017       $15.78    Taxi to Atlanta Airport.

Jim Grady                5/23/2017       $40.05    Taxi from Houston Airport to hotel.

Landon Kenworthy         5/23/2017       $37.57    Taxi from Houston Airport to hotel.

Jim Grady                5/24/2017       $16.40    Taxi in Houston.

Jim Grady                5/24/2017       $21.41    Taxi in Houston.

Landon Kenworthy         5/24/2017       $15.32    Taxi from hotel to client.

Landon Kenworthy         5/24/2017        $9.82    Taxi from client to dinner.

Jim Grady                5/25/2017       $51.99    Parking at New Orleans Airport.

Jim Grady                5/25/2017       $41.17    Taxi in Houston.

Jim Grady                5/25/2017       $21.07    Taxi in Houston.

Landon Kenworthy         5/25/2017       $40.04    Taxi from client to Houston Airport.

Landon Kenworthy         5/25/2017       $24.24    Taxi from hotel to client.

Landon Kenworthy         5/25/2017       $41.88    Taxi from Atlanta Airport to home.

Landon Kenworthy         5/29/2017       $43.23    Taxi from Houston Airport to hotel.

Landon Kenworthy         5/30/2017        $9.68    Taxi from client to dinner.

Landon Kenworthy         5/30/2017       $11.74    Taxi from hotel to client.

Sarah Margaret Pittman   5/30/2017        $9.99    Taxi from home to Dallas Airport.

Sarah Margaret Pittman   5/30/2017       $27.16    Taxi from Houston Airport to client.

Sean Farrell             5/30/2017       $60.60    Taxi from home to Chicago Airport.

Sean Farrell             5/30/2017       $21.86    Taxi from Houston Airport to hotel.

Taylor Atwood            5/30/2017       $19.89    Taxi from home to DFW Airport.

Taylor Atwood            5/30/2017       $28.13    Taxi from Houston Airport to client.

Landon Kenworthy         5/31/2017       $12.29    Taxi from hotel to client.

Sarah Margaret Pittman   5/31/2017        $5.32    Taxi from hotel to client.

Sarah Margaret Pittman   5/31/2017        $5.32    Taxi from client to hotel.

Sean Farrell             5/31/2017       $11.95    Taxi from client to hotel.

Sean Farrell             5/31/2017       $12.26    Taxi from hotel to client.

Landon Kenworthy          6/1/2017       $41.88    Taxi from Atlanta Airport to home.

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                                                                                           Exhibit E


                                 Ameriforge Group Inc., et al.,
                                  Expense Detail by Category
                                May 1, 2017 through June 8, 2017


                                          Transportation

Professional/Service       Date       Expense     Expense Description

Landon Kenworthy         6/1/2017       $37.78    Taxi from client to Houston Airport.

Landon Kenworthy         6/1/2017       $12.20    Taxi from hotel to client.

Sarah Margaret Pittman   6/1/2017       $13.14    Taxi from Dallas Airport to home.

Sarah Margaret Pittman   6/1/2017       $30.99    Taxi from client to Houston Airport.

Sarah Margaret Pittman   6/1/2017        $5.32    Taxi from hotel to client.

Sean Farrell             6/1/2017       $11.92    Taxi from hotel to client.

Sean Farrell             6/1/2017       $11.28    Taxi from client to hotel.

Sean Farrell             6/2/2017       $12.08    Taxi from hotel to client.

Sean Farrell             6/2/2017       $25.42    Taxi from Chicago Airport to home.

Sean Farrell             6/2/2017       $41.20    Taxi from client to Houston Airport.

Taylor Atwood            6/2/2017        $5.32    Taxi from hotel to client.

Taylor Atwood            6/2/2017       $35.71    Taxi from DFW Airport to home.

Taylor Atwood            6/2/2017       $76.90    Taxi from Houston to Intercontinental.

Taylor Atwood            6/2/2017       $29.02    Taxi from client to Houston Airport.

Landon Kenworthy         6/4/2017       $82.61    Taxi from Houston Airport to hotel.

Landon Kenworthy         6/4/2017       $14.25    Taxi from home to Atlanta Airport.

Jim Grady                6/5/2017       $37.26    Taxi from Houston Airport to hotel.

Landon Kenworthy         6/5/2017       $12.53    Taxi from hotel to client.

Landon Kenworthy         6/5/2017       $14.36    Taxi from dinner to hotel.

Sarah Margaret Pittman   6/5/2017       $12.63    Taxi from home to Dallas Airport.

Sarah Margaret Pittman   6/5/2017        $5.32    Taxi from dinner to hotel.

Sarah Margaret Pittman   6/5/2017       $28.68    Taxi from Houston Airport to client.

Sean Farrell             6/5/2017       $18.96    Taxi from dinner to hotel.

Sean Farrell             6/5/2017       $26.91    Taxi from Houston Airport to hotel.

Sean Farrell             6/5/2017       $31.21    Taxi from home to Chicago Airport.

Taylor Atwood            6/5/2017       $19.39    Taxi from home to DFW Airport.

Taylor Atwood            6/5/2017       $55.20    Taxi from Houston Airport to client.

Taylor Atwood            6/5/2017       $11.22    Taxi from client to restaurant
                                                  (Pittman/Farrell/Kenworthy/Atwood).


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                                                                                                 Exhibit E


                                 Ameriforge Group Inc., et al.,
                                  Expense Detail by Category
                                May 1, 2017 through June 8, 2017


                                           Transportation

Professional/Service        Date       Expense     Expense Description

Jim Grady                6/6/2017       $16.37     Taxi in Houston.

Landon Kenworthy         6/6/2017       $12.09     Taxi from hotel to client.

Sarah Margaret Pittman   6/6/2017       $22.83     Taxi from client to dinner.

Sarah Margaret Pittman   6/6/2017        $5.32     Taxi from hotel to client.

Sean Farrell             6/6/2017       $16.51     Taxi from client to hotel.

Sean Farrell             6/6/2017       $12.29     Taxi from dinner to hotel.

Taylor Atwood            6/6/2017       $14.36     Taxi from restaurant to hotel (Atwood/Pittman).

Jim Grady                6/7/2017       $19.04     Taxi in Houston.

Landon Kenworthy         6/7/2017       $12.54     Taxi from hotel to client.

Sarah Margaret Pittman   6/7/2017        $5.32     Taxi from hotel to client.

Sarah Margaret Pittman   6/7/2017        $5.32     Taxi from client to hotel.

Sean Farrell             6/7/2017       $17.21     Taxi from client to hotel.

Sean Farrell             6/7/2017       $16.70     Taxi from client to hotel.

Taylor Atwood            6/7/2017       $22.54     Taxi from DFW Airport to home.

Taylor Atwood            6/7/2017       $38.54     Taxi from client to Houston Airport.

Jim Grady                6/8/2017       $35.93     Taxi in Houston.

Jim Grady                6/8/2017       $51.99     Parking at New Orleans Airport.

Jim Grady                6/8/2017       $19.32     Taxi in Houston.

Landon Kenworthy         6/8/2017       $12.01     Taxi from hotel to client.

Landon Kenworthy         6/8/2017       $39.68     Taxi from Atlanta Airport to home.

Landon Kenworthy         6/8/2017       $10.64     Taxi from client to dinner.

Landon Kenworthy         6/8/2017       $37.34     Taxi from client to Houston Airport.

Sarah Margaret Pittman   6/8/2017       $56.88     Taxi from client to Houston Airport.

Sarah Margaret Pittman   6/8/2017       $28.45     Taxi from Dallas Airport to home.

Sarah Margaret Pittman   6/8/2017        $5.32     Taxi from hotel to client.

Sean Farrell             6/8/2017       $16.61     Taxi from client to hotel.

Sean Farrell             6/8/2017       $36.16     Taxi from client to Houston Airport.

   Expense Category Total             $4,778.00



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                      Ameriforge Group Inc., et al.,
                       Expense Detail by Category
                     May 1, 2017 through June 8, 2017

Grand Total               $38,374.73




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